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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                           §
 In re:                                                    §            Chapter 11
                                                           §
 INSTANT BRANDS ACQUISITION                                §            Case No. 23-90716 (DRJ)
 HOLDINGS INC., et al.,                                    §
                                                           §
                     Debtors.1                             §            Jointly Administered
                                                           §

   NOTICE OF POTENTIAL ASSUMPTION AND ASSIGNMENT OF EXECUTORY
         CONTRACTS OR UNEXPIRED LEASES AND CURE AMOUNT

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the Southern District of Texas (the “Court”) on June 12, 2023.

        PLEASE TAKE FURTHER NOTICE that, on June 30, 2023, the Debtors filed a motion
(the “Motion”) 2 with the Court seeking entry of orders, among other things, approving
(a) procedures for the solicitation of bids in connection with the Sale Transaction and the Auction
(the “Bidding Procedures”), (b) the form and manner of notice related to the Sale Transaction,
and (c) procedures for the assumption and assignment of contracts and leases in connection with
the Sale Transaction (the “Assumption and Assignment Procedures”).

       PLEASE TAKE FURTHER NOTICE that, on June 12, 2023, the Court entered an order
(the “Bidding Procedures Order”) approving, among other things, the Bidding Procedures,
which establish the key dates and times related to the Sale Transaction, the Auction, and the
Assumption and Assignment Procedures. The Bidding Procedures also provide that the Debtors
may consider competing bids in the form of Chapter 11 Plan Bids that contemplate Chapter 11
Plan Transactions.



          1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers or registration numbers in the applicable jurisdictions, are as follows:
Instant Brands (Texas) Inc. (2526); Instant Brands Acquisition Holdings Inc. (9089); Instant Brands Acquisition
Intermediate Holdings Inc. (3303); Instant Brands Holdings Inc. (3318); URS-1 (Charleroi) LLC (7347); Instant
Brands LLC (0566); URS-2 (Corning) LLC (8085); Corelle Brands (Latin America) LLC (8862); EKCO Group, LLC
(7167); EKCO Housewares, Inc. (0216); EKCO Manufacturing of Ohio, Inc. (7300); Corelle Brands (Canada) Inc.
(5817); Instant Brands (Canada) Holding Inc. (4481); Instant Brands Inc. (8272); and Corelle Brands (GHC) LLC
(9722). The address of the debtors’ corporate headquarters is 3025 Highland Parkway, Suite 700, Downers Grove, IL
60515.
          2
              Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Motion.
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         PLEASE TAKE FURTHER NOTICE that, upon the closing of the Sale Transaction, the
Debtors intend to assume and assign to the Successful Bidder(s) (whether or not a Stalking Horse
Bidder) the Potential Assumed Contracts. A schedule listing the Potential Assumed Contracts (the
“Potential Assumed Contracts Schedule”) is attached hereto and may also be accessed free of
charge on the Debtors’ case information website located at https://dm.epiq11.com/InstantBrands
or can be requested by email at InstantBrandsInfo@epiqglobal.com. In addition, the “Cure
Costs,” if any, necessary for the assumption and assignment of the Potential Assumed Contracts
are set forth on the Potential Assumed Contracts Schedule. Each Cure Cost listed on the Potential
Assumed Contracts Schedule represents all liabilities of any nature of the Debtors arising under
an Assumed Contract or Assumed Lease prior to the closing of the Sale Transaction, or other
applicable date upon which such assumption and assignment will become effective, whether
known or unknown, whether due or to become due, whether accrued, absolute, contingent, or
otherwise, so long as such liabilities arise out of or relate to events occurring prior to the closing
of the Sale Transaction or other applicable date upon which such assumption and assignment
will become effective.

         YOU ARE RECEIVING THIS NOTICE BECAUSE YOU HAVE BEEN
IDENTIFIED AS A COUNTERPARTY TO A POTENTIAL ASSUMED CONTRACT.
Under the terms of the Assumption and Assignment Procedures, (a) at or prior to the closing of
the Sale Transaction, a Successful Bidder may elect, in its sole and absolute discretion, (i) to
exclude any contract or lease on the Potential Assumed Contracts Schedule as an Assumed
Contract or Assumed Lease, as applicable (in which case it shall become an Excluded Contract or
Excluded Lease, as applicable), or (ii) to include on the Proposed Assumed Contracts Schedule
any contract or lease listed on the Potential Assumed Contracts Schedule, by providing to the
Debtors written notice of its election to exclude or include such contract or lease, as applicable,
(b) if the Debtors or any Successful Bidder identify during the pendency of the Chapter 11 Cases
(before or after the closing of the Sale Transaction) any contract or lease that is not listed on the
Proposed Assumed Contracts Schedule, and such contract or lease has not been rejected by the
Debtors, the Successful Bidder may in its sole and absolute discretion elect by written notice to
the Debtors to treat such contract or lease as an Assumed Contract or Assumed Lease, as
applicable, and the Debtors shall seek to assume and assign such Assumed Contract or Assumed
Lease in accordance with the Assumption and Assignment Procedures, and (c) following the
Auction, the Debtors may, in accordance with the applicable purchase agreement, or as otherwise
agreed by the Debtors and the Successful Bidder(s), at any time before the closing of the Sale
Transaction, modify the previously stated Cure Costs associated with any Proposed Assumed
Contract. The Assumption and Assignment Procedures further provide that any Counterparty
whose previously-stated Cure Cost is modified will receive notice thereof and an opportunity to
file a Supplemental Assumption and Assignment Objection. The assumption and assignment
of the Contracts and Leases on the Potential Assumed Contracts Schedule is not guaranteed
and is subject to approval by the Court and the Debtors’ or Successful Bidder’s right to
remove an Assumed Contract or Assumed Lease from the Potential Assumed Contracts
Schedule and Proposed Assumed Contracts Schedule.

                               Obtaining Additional Information

        Copies of the Motion and the Bidding Procedures Order, as well as all related exhibits
(including the Bidding Procedures) and all other documents filed with the Court, are available free



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of      charge    on    the    Debtors’    case            information    website         located     at
https://dm.epiq11.com/InstantBrands     or   can             be    requested    by          email     at
InstantBrandsInfo@epiqglobal.com.

                         Filing Assumption and Assignment Objections

        Pursuant to the Assumption and Assignment Procedures, objections to the potential
assumption and assignment of an Assumed Contract or Assumed Lease (an “Assumption and
Assignment Objection”) with respect to the ability of a Successful Bidder to provide adequate
assurance of future performance must (a) be in writing, (b) comply with the Bankruptcy Code,
Bankruptcy Rules, Local Rules, and Complex Procedures, (c) state, with specificity, the legal and
factual bases thereof, including, if applicable, the Cure Cost that the Counterparty believes are
required to cure defaults under the relevant Assumed Contract or Assumed Lease, (d) by no later
than September 13, 2023 at 4:00 p.m. (prevailing Central Time) (the “Assumption and
Assignment Objection Deadline”), (i) be filed with the Court and (ii) be served on (1) proposed
counsel to the Debtors, (y) Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New
York 10017, Attn: Brian M. Resnick, Steven Z. Szanzer, and Joanna McDonald and (z) Haynes &
Boone, LLP, 1221 McKinney Street, Suite 4000, Houston, Texas 77010, Attn: Charles A.
Beckham, Jr., Arsalan Muhammad, and David A. Trausch, (2) counsel to the Term DIP Secured
Parties, Ropes & Gray LLP, 1211 Avenue of the Americas, New York, New York 10036, Attn:
Ryan Preston Dahl, Matthew M. Roose, Daniel Gwen, Lindsay C. Barca, and Eric P. Schriesheim,
(3) counsel to the ABL DIP Agent, Skadden, Arps, Slate, Meagher & Flom LLP, 155 N. Wacker
Drive, Chicago, Illinois 60606, Attn: James J. Mazza, Jr. and Robert E. Fitzgerald, (4) proposed
counsel to the Committee, DLA Piper LLP (US), 1251 Avenue of the Americas, 27th Floor, New
York, New York 10020, Attn: Dennis O’Donnell and Oksana Lashko, and (5) the U.S. Trustee,
515 Rusk Street, Suite 3516, Houston, Texas 77002, Attn: Jayson B. Ruff and Vianey Garza
(collectively, the “Objection Notice Parties”).

         Pursuant to the Assumption and Assignment Procedures, an Assumption and Assignment
Objection relating to a proposed Cure Cost (a “Cure Objection”) must (a) be in writing,
(b) comply with the Bankruptcy Code, Bankruptcy Rules, Local Rules, and Complex Procedures,
(c) state, with specificity, the legal and factual bases thereof, including, if applicable, the Cure Cost
that the Counterparty believes are required to cure defaults under the relevant Assumed Contract
or Assumed Lease, and (d) by no later than August 25, 2023 at 4:00 p.m. (the “Cure Objection
Deadline”), (i) be filed with the Court and (ii) be served on the Objection Notice Parties.

        Pursuant to the Assumption and Assignment Procedures, objections to the potential
assumption and assignment of an Assumed Contract or Assumed Lease by a party whose contract
or lease is listed on a Supplemental Assumed Contracts Schedule (a “Supplemental Assumption
and Assignment Objection”) with respect to the ability of a Successful Bidder to provide
adequate assurance of future performance or relating to the Cure Costs (to the extent modified
form the previously-stated amount) must (a) be in writing, (b) comply with the Bankruptcy Code,
Bankruptcy Rules, Local Rules, and Complex Procedures, (c) state, with specificity, the legal and
factual bases thereof, and (d) by no later than 14 days from the date of service of such
Supplemental Assumption and Assignment Notice, (i) be filed with the Court and (ii) be served
on the Objection Notice Parties.




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        Objections to the Sale Order, the conduct of the Auction, or the Sale Transaction
(collectively, the “Sale Objections”) must (a) be in writing, (b) state, with specificity, the legal
and factual bases thereof, (c) comply with the Bankruptcy Code, Bankruptcy Rules, Local Rules,
and Complex Procedures, and (d) by no later than September 13, 2023 at 4:00 p.m. (prevailing
Central Time) (the “Sale Objection Deadline”) be (i) filed with the Court and (ii) served on the
Objection Notice Parties.

       If a Successful Bid is a Chapter 11 Plan Bid, the Plan may contain a set of assumption and
assignment procedures that have been amended to reflect the chapter 11 plan context and timeline.

            CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

Any Counterparty to a contract or lease who fails to timely make an objection to the potential
assumption and assignment of such contract or lease on or before the Assumption and
Assignment Objection Deadline in accordance with the Assumption and Assignment
Procedures, the Bidding Procedures Order, and this Notice (or in the case of a Supplemental
Assumption and Assignment Objection, by 14 days from the date of service of such
Supplemental Assumption and Assignment Notice) shall be deemed to have consented to the
assumption and assignment of such contract or lease, including the Cure Costs (if any), set forth
on a Potential Assumed Contracts Schedule or a Supplemental Assumed Contracts Schedule,
and shall be forever barred from asserting any objection or claims against the Debtors, the
Successful Bidder, or the property of any such parties relating to the assumption and assignment
of such contract or lease, including asserting additional Cure Costs with respect to such contract
or lease. Notwithstanding anything to the contrary in such contract or lease, or any other
document, the Cure Costs set forth on a Potential Assumed Contracts Schedule or a
Supplemental Assumed Contracts Schedule shall be controlling and will be the only amount
necessary to cure outstanding defaults under the applicable Assumed Contract or Assumed
Lease under section 365(b) of the Bankruptcy Code arising out of or related to any events
occurring prior to the closing of the Sale Transaction or other applicable date upon which such
assumption and assignment will become effective, whether known or unknown, whether due or
to become due, whether accrued, absolute, contingent, or otherwise, so long as such liabilities
arise out of or relate to events occurring prior to the closing of the Sale Transaction or other
applicable date upon which such assumption and assignment will become effective.

                                Other Important Dates and Deadlines3

In addition to the dates and deadlines described above with respect to filing Assumption and
Assignment Objections, Cure Objections, and Supplemental Assumption and Assignment
Objections, note the following important dates and deadlines:

    1. Auction. In the event that the Debtors timely receive more than one Qualified Bid for Bid
       Assets, and subject to the satisfaction of any further conditions set forth in the Bidding
       Procedures, the Debtors intend to conduct an Auction for the Bid Assets. The Auction, if
       one is held, will commence on September 11, 2023 at 10:00 a.m. (prevailing Eastern

        3
           The following dates and deadlines may be extended by the Debtors or the Court pursuant to the terms of
the Bidding Procedures and the Bidding Procedures Order.




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         Time) at the offices of Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York,
         New York 10017.

   2. Sale Hearing. A hearing (the “Sale Hearing”) to consider the proposed Sale Transaction
      will be held before the Court on September 14, 2023 at 9:00 a.m. (prevailing Central
      Time) or such other date as determined by the Court.

Dated:     July 25, 2023
          Houston, Texas


                                       HAYNES AND BOONE, LLP

                                       /s/ Charles A. Beckham, Jr.
                                       Charles A. Beckham, Jr. (TX Bar No. 02016600)
                                       Arsalan Muhammad (TX Bar No. 24074771)
                                       David A. Trausch (TX Bar No. 24113513)
                                       1221 McKinney Street, Suite 4000
                                       Houston, Texas 77010
                                       Tel.: (713) 547-2000
                                       Email: charles.beckham@haynesboone.com
                                              arsalan.muhammad@haynesboone.com
                                              david.trausch@haynesboone.com

                                       -and-

                                       DAVIS POLK & WARDWELL LLP

                                       Brian M. Resnick (admitted pro hac vice)
                                       Steven Z. Szanzer (admitted pro hac vice)
                                       Joanna McDonald (admitted pro hac vice)
                                       450 Lexington Avenue
                                       New York, New York 10017
                                       Tel.: (212) 450-4000
                                       Email: brian.resnick@davispolk.com
                                              steven.szanzer@davispolk.com
                                              joanna.mcdonald@davispolk.com

                                       Counsel to the Debtors and Debtors in Possession




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                                                               Schedule of Potential Assumed Contracts
#        Debtor Entity                                  Counterparty             Agreement Type                                Agreement Description           Proposed Cure Costs
1   Instant Brands LLC     10263591 Canada Inc.                               Service and Supply     Pacificall ‐ Remote Agent Call Center Support Agreement                     ‐
                           ATTN: WILLIAM LESNIOWSKI                           Agreements
                           PACIFICALL
                           224‐1743 ST. LAURENT BLVD.
                           OTTAWA, ON K1G 3V4
                           CANADA

2   Instant Brands Inc.    10263591 Canada Inc.                               Service and Supply     1st Amendment to Remote Agent Agreement                                    ‐
                           ATTN: WILLIAM LESNIOWSKI                           Agreements
                           PACIFICALL
                           224‐1743 ST. LAURENT BLVD.
                           OTTAWA, ON K1G 3V4
                           CANADA

3   Instant Brands LLC     1WorldSync, Inc.                                   Service and Supply     Sales Order                                                                ‐
                           300 S. RIVERSIDE PLAZA                             Agreements
                           SUITE 1400
                           CHICAGO, IL 60606

4   Instant Brands LLC     5280 Bond LLC                                      Service and Supply     MSA                                                                 47,500.00
                           235 S REEVES DR. SUITE 101                         Agreements
                           ATTN: JORDAN POLLAK
                           BEVERLY HILLS, CA 90212

5   Instant Brands LLC     5280 BOND                                          Service and Supply     Addendum to SOW_IB x 5280 BOND                                             ‐
                           235 S REEVES DR. SUITE 101                         Agreements
                           ATTN: JORDAN POLLAK
                           BEVERLY HILLS, CA 90212

6   Instant Brands LLC     593 HORSEBARN, LLC                                 Real Property Leases   593 Horsebarn Road Lease                                             7,569.73
                           ATTN: DR. TODD WULF
                           593 HORSEBARN ROAD
                           SUITE 101
                           ROGERS, AR 72758

7   Instant Brands LLC     A. Duie Pyle                                       Service and Supply     Rate Agreement                                                       1,106.97
                           650 WESTTOWN ROAD                                  Agreements
                           PO BOX 564
                           WEST CHESTER, PA 19381‐0564

8   Instant Brands LLC     AB to C, LLC/ Snake River                          Confidentiality        NDA                                                                        ‐
                           1555 W. Shoreline Drive                            Agreements
                           Suite 320
                           BOISE, ID 83702

9   Instant Brands LLC     ACCESS INFORMATION MANAGEMENT                      Service and Supply     Master Agreement                                                           ‐
                           1200 HUMBRACHT CIRCLE                              Agreements
                           ATTN: GENERAL MANAGER
                           BARTLETT, IL 60103

10 Instant Brands LLC      AccessIT Group, Inc.                               IT Agreements          Renewal                                                                    ‐
                           20106 VALLEY FORGE CIRCLE
                           KING OF PRUSSIA, PA 19406

11 Instant Brands Holdings AccuTec                                            Confidentiality        Mutual NDA                                                                 ‐
   Inc.                    One Razor Blade Lane                               Agreements
                           VERONA, VA 24482

12 Instant Brands LLC      Ace Hardware Corporation ‐ Norcal                  Customer Agreements NORCAL 2022 Print                                                             ‐
                           HOUSING
                           PLANO, TX 75086

13 Instant Brands Inc.     Ace Hardware Corporation                           Customer Agreements Agreement 56490‐ADV‐3100007716                                                ‐
                           200 KENSINGTON COURT
                           OAK BROOK, IL 60523

14 Instant Brands LLC      Ace Hardware Corporation                           Customer Agreements 6362_NSA_AHD_01‐01‐2013                                                       ‐
                           200 KENSINGTON COURT
                           OAK BROOK, IL 60523

15 Instant Brands LLC      Ace Hardware                                       Customer Agreements 06362‐CERT‐3100003763                                                         ‐
                           200 KENSINGTON COURT
                           OAK BROOK, IL 60523

16 Instant Brands LLC      ACE Hardware                                       Customer Agreements 56490‐CERT‐3100007833                                                         ‐
                           200 KENSINGTON COURT
                           OAK BROOK, IL 60523

17 Instant Brands LLC      ACE HARDWARE/EMERY JENSEN DISTRIBUTION             Customer Agreements 56490_NSA&CE_AHD&EJD_01‐11‐2023                                               ‐
                           2200 Kensington Ct
                           OAK BROOK, IL 60523

18 Instant Brands LLC      Acquia Inc.                                        Service and Supply     Amendment No. 1 to Order Form                                              ‐
                           3003 TASMAN DRIVE                                  Agreements
                           SANTA CLARA, CA 95054

19 Instant Brands LLC      Acquia Inc.                                        IT Agreements          Subscription and Services Agreement                                        ‐
                           3003 TASMAN DRIVE
                           SANTA CLARA, CA 95054

20 Instant Brands LLC      Acquia Inc.                                        Confidentiality        Mutual Non Disclosure Agreement                                            ‐
                           3003 TASMAN DRIVE                                  Agreements
                           SANTA CLARA, CA 95054
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#       Debtor Entity                                  Counterparty               Agreement Type                             Agreement Description                               Proposed Cure Costs
21 Instant Brands LLC     Acquia Inc.                                         IT Agreements        Subscription and Service Agreement                                                     327,000.00
                          3003 TASMAN DRIVE
                          SANTA CLARA, CA 95054

22 Instant Brands LLC     Actalent Inc.                                       Service and Supply   Service Agreement_with ExhibitA                                                                ‐
                          Attn: Contracts Department                          Agreements
                          7301 Parkway Dr.
                          South Hanover, MD 21076

23 Instant Brands Inc.    Adams Media, an Imprint of Simon & Schuster, Inc.   License Agreements   Trademark License Addendum 2                                                                   ‐
                          100 Technology Center Drive
                          Suite 501
                          Attention: Karen Cooper, Publisher
                          STOUGHTON, MA 02072

24 Instant Brands LLC     Adams Media, an Imprint of Simon & Schuster, Inc.   License Agreements   Trademark License Addendum 3                                                                   ‐
                          100 Technology Center Drive
                          Suite 501
                          Attention: Karen Cooper, Publisher
                          STOUGHTON, MA 02072

25 Instant Brands Inc.    Adams Media, an Imprint of Simon & Schuster, Inc.   License Agreements   Addendum to Trademark License Agreement                                                        ‐
                          57 Littlefield St.
                          Attn: Karen Cooper, Publisher
                          AVON, MA 02322

26 Instant Brands Inc.    Adams Media, an Imprint of Simon & Schuster, Inc.   License Agreements   Trademark License for 'I Love My Instant Pot' Affordable Meals Recipe Book                     ‐
                          57 Littlefield St.
                          Attn: Karen Cooper, Publisher
                          AVON, MA 02322

27 Instant Brands LLC     ADAMS MEDIA, AN IMPRINT OF SIMON & SCHUSTER, INC.   License Agreements   Trademark License for I love my IP Keto DietI love my instant pot Keto Diet                    ‐
                          57 Littlefield St.
                          Attn: Karen Cooper, Publisher
                          AVON, MA 02322

28 Instant Brands Inc.    Adams Media, an Imprint of Simon & Schuster, Inc.   License Agreements   Amendment No. 1 to Trademark License                                                           ‐
                          57 Littlefield St.
                          Attn: Karen Cooper, Publisher
                          AVON, MA 02322

29 Instant Brands Inc.    Adams Media, an Imprint of Simon & Schuster, Inc.   License Agreements   Trademark License                                                                              ‐
                          57 Littlefield St.
                          Attn: Karen Cooper, Publisher
                          AVON, MA 02322

30 Instant Brands Inc.    Adams Media, an Imprint of Simon & Schuster, Inc.   License Agreements   Addendum to Trademark License                                                                  ‐
                          57 Littlefield St.
                          Attn: Karen Cooper, Publisher
                          AVON, MA 02322

31 Instant Brands LLC     Adams Media. an Imprint of Simon & Schuster, Inc.   License Agreements   Trademark License for 'I Love My Instant Pot' Gluten Freeen‐Free Diet                          ‐
                          57 Littlefield St.                                                       Recipe Book ‐ Trademark Agreement
                          Attn: Karen Cooper, Publisher
                          AVON, MA 02322

32 Instant Brands LLC     Adaptec Solutions                                   Service and Supply   Equipment Purchasing Master Agreement                                                   12,182.93
                          Attn: Brian McGrath                                 Agreements
                          140 Commerce Drive
                          Rochester, NY 14623

33 Instant Brands LLC     Adaptics Limited                                    IT Agreements        Babel Subscription                                                                             ‐
                          ATT: GRAHAM OSULLIVAN
                          THE PRIORY, JOHN STREET WEST
                          DUBLIN 8
                          IRELAND

34 Instant Brands Inc.    ADAPTICS LIMITED                                    Confidentiality      NDA                                                                                            ‐
                          ATT: GRAHAM OSULLIVAN                               Agreements
                          THE PRIORY, JOHN STREET WEST
                          DUBLIN 8
                          IRELAND

35 Instant Brands LLC     Adaptics Limited                                    IT Agreements        SoW 11 ‐ AWS Cognito Migration and Integration                                                 ‐
                          ATT: GRAHAM OSULLIVAN
                          THE PRIORY, JOHN STREET WEST
                          DUBLIN 8
                          IRELAND

36 Instant Brands Inc.    ADAPTICS LTD (t/a DROP)                             IT Agreements        Connected Appliances Collaboration Agreement                                                   ‐
                          ATT: GRAHAM OSULLIVAN
                          THE PRIORY, JOHN STREET WEST
                          DUBLIN 8
                          IRELAND

37 Instant Brands Inc.    Adaptics ltd                                        IT Agreements        Agreement effective Jan 1 2022                                                                 ‐
                          ATT: GRAHAM OSULLIVAN
                          THE PRIORY, JOHN STREET WEST
                          DUBLIN 8
                          IRELAND

38 Instant Brands LLC     Adaptive Insights LLC                               Service and Supply   Amendment #1 to SOW #246495                                                                    ‐
                          DEPT LA 23246                                       Agreements
                          PASADENA, CA 91706‐1300
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#       Debtor Entity                                 Counterparty      Agreement Type                              Agreement Description                        Proposed Cure Costs
39 Instant Brands LLC    Adaptive Insights LLC                       Service and Supply   Statement of Work                                                                        ‐
                         DEPT LA 23246                               Agreements
                         PASADENA, CA 91706‐1300

40 Instant Brands LLC    Adaptive Insights                           Service and Supply   Planning Additional Terms and Conditions Addendum                                       ‐
                         DEPT LA 23246                               Agreements
                         PASADENA, CA 91706‐1300

41 Instant Brands LLC    Adaptive Insights                           Service and Supply   Professional Services Agreement for WAP v20.6                                           ‐
                         DEPT LA 23246                               Agreements
                         PASADENA, CA 91706‐1300

42 Instant Brands LLC    ADAPTIVE INSIGHTS, INC.                     Confidentiality      Non Disclosure Agreement                                                                ‐
                         DEPT LA 23246                               Agreements
                         PASADENA, CA 91706‐1300

43 Instant Brands LLC    Advanced Fluid Systems Inc                  Confidentiality      NDA                                                                                     ‐
                         245 Campbell Rd                             Agreements
                         YORK, PA 17402

44 Instant Brands LLC    Advantage Sales & Marketing LLC             Service and Supply   Amended and Restated Agreement                                                          ‐
                         18100 VON KARMAN SUITE 1000                 Agreements
                         IRVINE, CA 92612




45 Instant Brands LLC    Advantage Sales & Marketing LLC             Service and Supply   Amendment No. 1 to A&R Ind. Rep. Agree.                                                 ‐
                         18100 VON KARMAN SUITE 1000                 Agreements
                         IRVINE, CA 92612

46 Instant Brands LLC    Advantage Sales & Marketing LLC             Service and Supply   2nd Amendment and Restated Domestic Independent Sales Representative                    ‐
                         18100 VON KARMAN SUITE 1000                 Agreements           Agreement
                         IRVINE, CA 92612

47 Instant Brands LLC    Advantage Sales & Marketing LLC             Service and Supply   Master Services Agreement                                                        91,388.45
                         18100 VON KARMAN SUITE 1000                 Agreements
                         IRVINE, CA 92612




48 Instant Brands LLC    ADVENT, LLP                                 Confidentiality      NDA                                                                                     ‐
                         The Advent Building                         Agreements
                         17838 Burke St, #200
                         Omaha, NE 68118

49 Instant Brands LLC    Aerotek Inc.                                Service and Supply   Amendment to Staffing Agreement (Background Check Addendum)                             ‐
                         7000 GOODLETT FARMS PARKWAY                 Agreements
                         SUITE 100
                         CORDOVA, TN 38106

50 Instant Brands LLC    AEROTEK Inc.                                Service and Supply   Contingency Recruiting Master Services Agreement                                        ‐
                         7000 GOODLETT FARMS PARKWAY                 Agreements
                         SUITE 100
                         CORDOVA, TN 38106

51 Instant Brands LLC    AEROTEK Inc.                                Service and Supply   Staffing Services Agreement                                                             ‐
                         7301 PARKWAY DR                             Agreements
                         HANOVER, MD 21075

52 Instant Brands LLC    AEROTEK, INC.                               Service and Supply   Ex. B (Request for Drug Testing Services)                                               ‐
                         7000 GOODLETT FARMS PARKWAY                 Agreements
                         SUITE 100
                         CORDOVA, TN 38106

53 Instant Brands LLC    AEROTEK, INC.                               Service and Supply   Service Agreement                                                               339,733.74
                         7000 GOODLETT FARMS PARKWAY                 Agreements
                         SUITE 100
                         CORDOVA, TN 38106

54 Instant Brands LLC    AEROTEK, INC.                               Service and Supply   Staffing Services Agreement                                                             ‐
                         7301 PARKWAY DR                             Agreements
                         HANOVER, MD 21075

55 Instant Brands LLC    AFFLINK                                     Confidentiality      Mutual Confidentiality Agreement                                                        ‐
                         1400 Afflink Place                          Agreements
                         TUSCALOOSA, AL 35406

56 Instant Brands LLC    AFIMAC US, Inc.                             Service and Supply   Terms and Conditions Agreement                                                          ‐
                         15830 FOLTZ PARKWAY                         Agreements
                         ATTN: JOE SCHOLLAERT
                         STRONGSVILLE, OH 44149

57 Instant Brands LLC    AFIMAC US, Inc.                             Service and Supply   Work Order                                                                              ‐
                         15830 FOLTZ PARKWAY                         Agreements
                         ATTN: JOE SCHOLLAERT
                         STRONGSVILLE, OH 44149

58 Instant Brands LLC    AFL‐CIO‐CLC,                                Service and Supply   Corning Agreement 2021 ‐2024                                                            ‐
                         Local 1034 of Corning New York              Agreements
                         P.O Box 769
                         Corning, NY 14830
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#       Debtor Entity                                   Counterparty               Agreement Type                           Agreement Description                 Proposed Cure Costs
59 Instant Brands LLC     Aglye Advantage LLC                                   Service and Supply    Media Buy Engagement Letter                                                   ‐
                          Corporation Trust Center                              Agreements
                          1209 Orange St
                          WILMINGTON, DE 19801

60 Instant Brands LLC     AL OTHMAN & AL BISHER TRADING CO WLL                  Service and Supply    Distribution Agreement                                                       ‐
                          ATTN: MR. JATIN SAHANI ‐ GENERAL MANAGER              Agreements
                          TRUE VALUE BLDG, MEZ FL, STREET 14
                          AL RAI (NEAR AVENUES) PO BOX 22984
                          SAFAT 13090
                          KUWAIT

61 Instant Brands LLC     Albertsons Companies, Inc.                            Service and Supply    Continuing Commodity Guaranty and Indemnity Agreement                        ‐
                          250 E. Parkcenter Blvd                                Agreements
                          Attn: Don Davidson
                          BOISE, ID 83706

62 Instant Brands LLC     ALBERTSONS COMPANIES, LLC                             Confidentiality       NDA                                                                          ‐
                          250 E. Parkcenter Blvd                                Agreements
                          Attn: Don Davidson
                          BOISE, ID 83706

63 Instant Brands LLC     Alfred University                                     Confidentiality       NDA                                                                          ‐
                          1 Saxon Dr                                            Agreements
                          Alfred, NY 14802

64 Instant Brands LLC     ALGOLIA                                               IT Agreements         Order under MSA                                                              ‐
                          ATTN: GENERAL COUNSEL
                          301 HOWARD STREET
                          SUITE 300
                          SAN FRANCISCO, CA 94105

65 Instant Brands LLC     Algolia, Inc.                                         IT Agreements         Master Subscription Agreement                                                ‐
                          ATTN: GENERAL COUNSEL
                          301 HOWARD STREET
                          SUITE 300
                          SAN FRANCISCO, CA 94105

66 Instant Brands LLC     Allied Media Inc.                                     IT Agreements         Master Subscription Agreement                                                ‐
                          2, ROBERT SPECK PARKWAY
                          SUITE 750
                          MISSISSAUGA, ON L4Z 1H4
                          CANADA

67 Instant Brands LLC     Allied Media Inc.                                     IT Agreements         SOW to MSA for BAAR                                                          ‐
                          2, ROBERT SPECK PARKWAY
                          SUITE 750
                          MISSISSAUGA, ON L4Z 1H4
                          CANADA

68 Instant Brands LLC     AllTek Staffing and Resource Group, Inc.,             Service and Supply    Contingency Recruiting Master Services Agreement                             ‐
                          600 Davidson Road                                     Agreements
                          PITTSBURGH, PA 15239

69 Instant Brands Inc.    Alpha Books, a division of Penguin Random House LLC   License Agreements    Amendment No. 1 to Trademark License Agreement                               ‐
                          345 Hudson Street
                          NEW YORK, NY 10014

70 Instant Brands LLC     Alpha Books, a division of Penguin Random House LLC   License Agreements    Trademark License Agreement                                                  ‐
                          345 Hudson Street
                          NEW YORK, NY 10014

71 Instant Brands LLC     Alquemy                                               Service and Supply    Design Proposal Pyrex Reusable Storage                                       ‐
                          10060 Jasper Ave                                      Agreements
                          EDMONTON, AB T5J 3R8
                          CANADA

72 Instant Brands LLC     Alquemy                                               Service and Supply    IP Assignment from Alquemy to Corelle Brands LLC                             ‐
                          10060 Jasper Ave                                      Agreements
                          EDMONTON, AB T5J 3R8
                          CANADA

73 Instant Brands LLC     AltaTherm Systems LLC                                 Confidentiality       NDA 2022                                                                     ‐
                          3333 Richmond Rd                                      Agreements
                          Ste 370
                          Beachwood, OH 44122

74 Instant Brands LLC     Altria Group                                          Service and Supply    IP Owner's Letter                                                            ‐
                          6601 W Broad St                                       Agreements
                          RICHMOND, VA 23230

75 Instant Brands LLC     Amanda Wolfson Productions                            Confidentiality       NDA                                                                          ‐
                          3263 N Washtenaw Ave                                  Agreements
                          CHICAGO, IL 60618

76 Instant Brands LLC     Amazon.com Services LLC                               Customer Agreements FORM ‐ VF 2020 Master Terms and Conditions                                     ‐
                          410 Terry Ave N
                          SEATTLE, WA 98109

77 Instant Brands LLC     Amazon.com Services LLC                               Customer Agreements Vendor New Terms and Conditions Effective December 15, 2022                    ‐
                          410 Terry Ave N
                          SEATTLE, WA 98109
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#       Debtor Entity                                   Counterparty                           Agreement Type                           Agreement Description               Proposed Cure Costs
78 Instant Brands LLC     Amazon.com                                                        Customer Agreements 2018 Financial T&C Agreement                                                  ‐
                          PO BOX 80463
                          SEATTLE, WA 98108

79 Instant Brands LLC     Amazon.com.ca LLC                                                 Customer Agreements Freight Allowance Agreement                                                  ‐
                          410 Terry Ave N
                          SEATTLE, WA 98109

80 Instant Brands LLC     AMERICAN CAPITAL FINANCIAL SERVICES, INC.                         Confidentiality        NDA                                                                       ‐
                          2015 Ogden Avenue #400                                            Agreements
                          LISLE, IL 60532

81 Instant Brands Inc.    America's Test Kitchen Limited Partnership                        License Agreements     Trademark License Agreement                                               ‐
                          21 Dry Dock Avenue
                          Attn: Sara Domville
                          BOSTON, MA 02210

82 Instant Brands Inc.    America's Test Kitchen Limited Partnership                        License Agreements     Amendment No. 1 Trademark License Agreement                               ‐
                          21 Dry Dock Avenue
                          Attn: Sara Domville
                          BOSTON, MA 02210

83 Instant Brands Holdings AmWINS Brokerage of the Midwest, LLC                             Confidentiality        NDA                                                                       ‐
   Inc.                    10 S Lasalle St                                                  Agreements
                           Ste 200
                           CHICAGO, IL 60603

84 Instant Brands LLC     An Gia Tien Joint Stock Company                                   Service and Supply     Amendment for Name Change                                                 ‐
                          15 Dinh Tien Hoang                                                Agreements
                          Da Kao Ward
                          Dist. 1
                          Ho Chi Minh
                          VIETNAM

85 Instant Brands LLC     Animoto                                                           Service and Supply     Subscription Purchase                                                     ‐
                          436 Lafayette St                                                  Agreements
                          NEW YORK, NY 10003

86 Instant Brands LLC     Anthony S. Pane                                                   Service and Supply     Indemnification Agreement                                                 ‐
                          100 EIGHTH STREET                                                 Agreements
                          CHARLEROI, PA 15022

87 Instant Brands LLC     Applied Industrial Technologies Inc.                              Confidentiality        NDA                                                                       ‐
                          ATTN: STRATEGIC ACCOUNT MANAGER                                   Agreements
                          ONE APPLIED PLAZA
                          EAST 36TH AND EUCLID AVENUE
                          CLEVELAND, OH 44115‐5092

88 Instant Brands LLC     Applied Industrial Technologies, Inc.                             Service and Supply     Supply Agreement                                                  255,364.94
                          ATTN: STRATEGIC ACCOUNT MANAGER                                   Agreements
                          ONE APPLIED PLAZA
                          EAST 36TH AND EUCLID AVENUE
                          CLEVELAND, OH 44115‐5092

89 Instant Brands LLC     Applied Industrial Technologies, Inc.                             Confidentiality        NDA for Content                                                           ‐
                          ATTN: STRATEGIC ACCOUNT MANAGER                                   Agreements
                          ONE APPLIED PLAZA
                          EAST 36TH AND EUCLID AVENUE
                          CLEVELAND, OH 44115‐5092

90 Instant Brands LLC     ARAMARK                                                           Service and Supply     Service Agreement                                                     352.07
                          PO BOX 9106                                                       Agreements
                          HINGHAM, MA 02043‐9106

91 Instant Brands Holdings ARC France                                                       Financial Agreements   Loan Facility and Commercial Agreement                                    ‐
   Inc.                    ATTN: SERVICE JURIDIQUE
                           104 AVENUE DE GENERAL DE CAULLE
                           ARQUES 62510
                           FRANCE

92 Instant Brands LLC     Arise Product Development LLC                                     Confidentiality        Mutual NDA                                                                ‐
                          237 LOCUST RD                                                     Agreements
                          WILMETTE, IL 60091

93 Instant Brands LLC     Arno Industries, LLC dba Natural Storage & Preservation Systems   Confidentiality        NDA                                                                       ‐
                          13895 Industrial Park Blvd.                                       Agreements
                          Suite 100
                          Attn: Gary Growden
                          PLYMOUTH, MN 55441

94 Instant Brands LLC     Artydea                                                           License Agreements     Assignment of Copyright                                                   ‐
                          Via Contrada Grande, 6, 22070
                          Casante ‐ Como
                          ITALY

95 Instant Brands LLC     Ascential Inc.                                                    Service and Supply     WGSN Renewal Advice Corelle Brands ‐ OPP186446                            ‐
                          1801 PORTER STREET                                                Agreements
                          BALTIMORE, MD 21230

96 Instant Brands LLC     Ascential                                                         Service and Supply     Terms WGSN_Unified_Terms_English_WGSN‐Limited_Inc_GmbH                    ‐
                          1801 PORTER STREET                                                Agreements
                          BALTIMORE, MD 21230
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#       Debtor Entity                                      Counterparty          Agreement Type                               Agreement Description                             Proposed Cure Costs
97 Instant Brands LLC       ASI Datamyte Inc                                 IT Agreements          Digital Clipboard                                                                     13,728.00
                            2800 Campus Drive
                            Suite 60
                            PLYMOUTH, MN 55441

98 Instant Brands LLC       ASI DataMyte Inc.                                IT Agreements          Digital Clipboard ‐ 3 year agreement for 7 users                                             ‐
                            2800 Campus Drive
                            Suite 60
                            PLYMOUTH, MN 55441

99 Instant Brands LLC       Association of Home Appliance Manufacturers      License Agreements     Air Cleaner Certification Program License Agreement                                          ‐
                            1111 19th Street NW
                            Suite 402
                            WASHINGTON, DC 20036

100 Instant Brands Holdings Automation Anywhere, Inc.                        IT Agreements          Data Processing Addendum                                                                     ‐
    Inc.                    633 RIVER OAKS PARKWAY
                            SAN JOSE, CA 95134

101 Instant Brands Holdings Automation Anywhere, Inc.                        IT Agreements          Cloud Automation Agreement                                                                   ‐
    Inc.                    633 RIVER OAKS PARKWAY
                            SAN JOSE, CA 95134

102 Instant Brands Holdings AUTOMATION ANYWHERE, INC.                        IT Agreements          Order Form                                                                                   ‐
    Inc.                    633 RIVER OAKS PARKWAY
                            SAN JOSE, CA 95134

103 Instant Brands LLC      Avalara                                          IT Agreements          Service Terms and Conditions                                                                 ‐
                            255 S KING STREE, SUITE 1800
                            SEATTLE, WA 98104

104 Instant Brands LLC      Avalara                                          IT Agreements          2023‐2024 Revised Order Form                                                                 ‐
                            255 S KING STREE, SUITE 1800
                            SEATTLE, WA 98104

105 Instant Brands LLC      Aviva Metals, Inc.                               Confidentiality        Mutual Confidentiality Agreement                                                             ‐
                            2729 W. 12th Street                              Agreements
                            HOUSTON, TX 77008

106 Instant Brands LLC      Aviva Metals, Inc.                               Confidentiality        NDA                                                                                          ‐
                            2929 West 12th Street                            Agreements
                            HOUSTON, TX 77008

107 Instant Brands Inc.     AYLA NETWORKS INC.                               Confidentiality        NDA                                                                                          ‐
                            4250 Burton Drive, Santa Clara, CA 95054         Agreements
                            Santa Clara, CA 95054

108 Instant Brands Holdings BANK OF MONTREAL                                 Financial Agreements   Precious Metals Financing Guarantee                                                          ‐
    Inc.                    115 S. LASALLE ST., 20W
                            CHICAGO, IL 60603

109 Instant Brands LLC      Bank of Montreal                                 Service and Supply     Lease Schedule 33783                                                                         ‐
                            115 S. LASALLE ST., 20W                          Agreements
                            CHICAGO, IL 60603

110 Instant Brands LLC      BANK OF MONTREAL                                 Service and Supply     Precious Metals Lease Agreement                                                              ‐
                            3 Times Square                                   Agreements
                            27 th Floor New York
                            Attn: Harry Lampart
                            NEW YORK, NY 10036




111 Instant Brands          Barbican Transaction Liability Consortium 9804   Financial Agreements   Aon ‐ Barbican consortium Liability insurance                                                ‐
    Acquisition Holdings    30 Woodbourne Avenue
    Inc.                    Pembroke HM08
                            Bermuda

112 Instant Brands          Barbican Transaction Liability Consortium 9804   Financial Agreements   Barbican, Liberty and RLI ‐ Insurance Policy binder 8,470,588 po 30 xs 70                    ‐
    Acquisition Holdings    30 Woodbourne Avenue
    Inc.                    Pembroke HM08
                            Bermuda

113 Instant Brands LLC      Bastian Solutions                                Confidentiality        NDA                                                                                          ‐
                            10585 N. Meridian Street                         Agreements
                            CARMEL, IN 46290

114 Instant Brands LLC      BAYFORCE Technology Solutions, Inc.              Service and Supply     Contingency Recruiting Master Services Agreement                                             ‐
                            5100 W. Kennedy Boulevard                        Agreements
                            Suite 425
                            Tampa, FL 33609
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 #       Debtor Entity                                      Counterparty       Agreement Type                              Agreement Description                Proposed Cure Costs
115 Instant Brands LLC        Bazaarvoice, Inc.                            IT Agreements          2023 Renewal                                                                    ‐
                              10901 STONELAKE BLVD
                              AUSTIN, TX 78759

116 Instant Brands LLC        Bazaarvoice, Inc.                            Service and Supply     Service Order                                                                  ‐
                              10901 STONELAKE BLVD                         Agreements
                              AUSTIN, TX 78759

117 Instant Brands LLC        Beacon Hill Staffing Group                   Service and Supply     Temporary Service, Direct Hire and Conversion Fee Agreement                    ‐
                              PO BOX 846193                                Agreements
                              BOSTON, MA 02284‐6193

118 Instant Brands LLC        BearingPoint Consulting Inc                  Real Property Leases   Office Sublease                                                                ‐
                              222 MERCHANDISE MART PLAZA
                              SUITE 2200
                              CHICAGO, IL 60654

119 Instant Brands LLC        Bed Bath & Beyond                            Customer Agreements BBBY Vendor Acknowlegement Letter                                                 ‐
                              650 LIBERTY AVENUE
                              UNION, NJ 07083

120 Instant Brands LLC        Behaviorally, Inc.                           Service and Supply     Master Client Services Agreement                                               ‐
                              500 FRANK W. BURR BLVD, SUITE 5              Agreements
                              ATTN: GENERAL COUNSEL
                              TEANECK, NJ 07666

121 Instant Brands LLC        Belk Inc.                                    Customer Agreements Vendor Replenishment Contract ‐ D825                                              ‐
                              2801 W. Tyvola Road
                              CHARLOTTE, NC 28217

122 Instant Brands Holdings Benchmark Design                               Confidentiality        NDA                                                                            ‐
    Inc.                    413 West Poplar Street                         Agreements
                            ROGERS, AR 72756

123 Instant Brands Inc.       Benoit Sjoholm                               License Agreements     Font License Agreement                                                         ‐
                              107 Rue Marceau, 93100
                              Montreuil
                              FRANCE

124 Instant Brands Inc.       Best Buy                                     Customer Agreements FY23 VPA Class 106 SKE                                                            ‐
                              7601 Penn Ave S
                              Richfield, MN 55423

125 Instant Brands LLC        BeyondTrust Corporation                      IT Agreements          Renewal Notice                                                                 ‐
                              PO BOX 843482
                              LOS ANGELES, CA 90084‐3482

126 Instant Brands LLC        Biodegradable Products Institute             License Agreements     Sublicense Agreement                                                           ‐
                              888c 8th Ave
                              #141
                              NEW YORK, NY 10019

127 Instant Brands Holdings BlackLine Systems, Inc.                        IT Agreements          Amendment Order Form                                                           ‐
    Inc.                    21300 VICTORY BLVD. 12TH FLOOR
                            ATTN: LEGAL DEPARTMENT
                            WOODLAND HILLS, CA 91367

128 Instant Brands Holdings BLACKLINE SYSTEMS, INC.                        IT Agreements          MSA                                                                            ‐
    Inc.                    21300 VICTORY BLVD. 12TH FLOOR
                            ATTN: LEGAL DEPARTMENT
                            WOODLAND HILLS, CA 91367

129 Instant Brands Holdings BlackLine Systems, Inc.                        IT Agreements          Order Form                                                                     ‐
    Inc.                    21300 VICTORY BLVD. 12TH FLOOR
                            ATTN: LEGAL DEPARTMENT
                            WOODLAND HILLS, CA 91367

130 Instant Brands LLC        Bloomingdale's                               Confidentiality        Mutual NDA                                                                     ‐
                              28‐07 Jackson Avenue 23rd floor              Agreements
                              LONG ISLAND CITY, NY 11101

131 Instant Brands Holdings BLUE CROSS AND BLUE SHIELD OF ILLINOIS         Service and Supply     Updated 2022 to 2024 Medical PPO PG Exhibit                                    ‐
    Inc.                    300 EAST RANDOLPH                              Agreements
                            CHICAGO, IL 60601‐5099

132 Instant Brands Holdings BLUE CROSS AND BLUE SHIELD OF ILLINOIS         Service and Supply     Administrative Services Agreement                                              ‐
    Inc.                    300 EAST RANDOLPH                              Agreements
                            CHICAGO, IL 60601‐5099

133 Instant Brands Holdings Blue Cross and Blue Shield of Illinois         Service and Supply     Benefit Program Application Addendum                                           ‐
    Inc.                    300 EAST RANDOLPH                              Agreements
                            CHICAGO, IL 60601‐5099

134 Instant Brands LLC        BlueMorpho, Inc.                             License Agreements     Tradeout Agreement                                                             ‐
                              63 Flushing Ave
                              Unit 268
                              BROOKLYN, NY 11205

135 Instant Brands LLC        BLUJAY SOLUTIONS INC.                        IT Agreements          Addendum 2022 Revised                                                   15,624.69
                              915 E 32nd St
                              Holland, MI 49423

136 Instant Brands Holdings BMO Harris Equipment Finance Company           Financial Agreements   Continuing Guaranty                                                            ‐
    Inc.                    250 E. WISCONSIN AVE., SUITE 400
                            MILWAUKEE, WI 53202
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 #       Debtor Entity                                  Counterparty                        Agreement Type                             Agreement Description      Proposed Cure Costs
137 Instant Brands Holdings BMO Harris Equipment Finance Company                         Service and Supply   Master Lease of Personal Property Closing Package                     ‐
    Inc.                    250 E. WISCONSIN AVE., SUITE 400                             Agreements
                            MILWAUKEE, WI 53202

138 Instant Brands LLC     BMO Harris Equipment Finance Company                          Service and Supply   Master Lease of Personal Property                                    ‐
                           250 E. WISCONSIN AVE., SUITE 400                              Agreements
                           MILWAUKEE, WI 53202

139 Instant Brands LLC     Bobino                                                        Service and Supply   Terms and Conditions ‐ Reseller                                      ‐
                           505 W. Riverside                                              Agreements
                           Suite 545
                           Spokane, WA 99201

140 Instant Brands LLC     Bouille Electric Inc                                          Confidentiality      NDA                                                                  ‐
                           154 East 5th Street                                           Agreements
                           ELMIRA, NY 14901

141 Instant Brands LLC     Box Inc.                                                      IT Agreements        Service Agreement                                                    ‐
                           900 JEFFERSON AVE
                           REDWOOD CITY, CA 94063

142 Instant Brands LLC     Brandstock Domains GmbH                                       Confidentiality      Mutual NDA                                                           ‐
                           RUCKERTSTR.1/ D‐80336                                         Agreements
                           MUNICH
                           GERMANY

143 Instant Brands LLC     Brinks Global Services USA, Inc.                              Service and Supply   Transportation Agreement                                             ‐
                           580 5TH AVENUE                                                Agreements
                           SUITE 400
                           NEW YORK, NY 10036

144 Instant Brands LLC     Brink's Global Services                                       Service and Supply   Valuables Transport Agreement                                        ‐
                           580 5TH AVENUE                                                Agreements
                           SUITE 400
                           NEW YORK, NY 10036

145 Instant Brands LLC     BRUKER NANO INC.                                              Confidentiality      NDA                                                                  ‐
                           415 N. Quay Street                                            Agreements
                           KENNEWICK, WA 99336

146 Instant Brands LLC     BTI Communications Group Ltd.                                 IT Agreements        Terms                                                                ‐
                           1441 Branding Lane
                           Suite #200
                           Downers Grove, IL 60515

147 Instant Brands LLC     BTI Communications Group Ltd.                                 IT Agreements        Proposal                                                             ‐
                           Great America Networks, Inc.
                           12155 Mora Drive
                           Ste. 1
                           Santa Fe Springs, CA 90670

148 Instant Brands LLC     BTM Global Consulting                                         Confidentiality      Mutual Confidentiality Agreement                                     ‐
                           330 Second Ave. South                                         Agreements
                           Suite 450
                           MINNEAPOLIS, MN 55401

149 Instant Brands Holdings Buck Global, LLC                                             Service and Supply   Extension Agreement                                                  ‐
    Inc.                    420 Lexington Ave                                            Agreements
                            Suite 2220
                            NEW YORK, NY 10170

150 Instant Brands LLC     Bureau Veritas Consumer Products Services Shenzhen Co., Ltd   Service and Supply   Consumer Product Services Inspection Agreement                64,535.00
                           Rm#301, 3/F, South Tower                                      Agreements
                           Huale Building, No. 55‐57, Huale Road
                           Yuexiu District
                           GUANGZHOU 510060
                           CHINA

151 Instant Brands Holdings ButcherBox OpCo, LLC                                         Service and Supply   Partnership Agreement and SOW #1                                     ‐
    Inc.                    PO BOX 35730                                                 Agreements
                            BRIGHTON, MA 02135‐0013

152 Instant Brands LLC     Buzz Products Pty Ltd                                         Confidentiality      NDA                                                                  ‐
                           18 Studley Street                                             Agreements
                           Abbotsford, VIC 3067
                           AUSTRALIA

153 Instant Brands LLC     CA Inc.                                                       IT Agreements        Broadcom‐CA Inc. ‐ Quotation for Renewal                             ‐
                           ONE CA PLAZA
                           ISLANDIA, NY 11749

154 Instant Brands Holdings CAER, INC.                                                   Confidentiality      NDA                                                                  ‐
    Inc.                    8070 Melrose Ave                                             Agreements
                            LOS ANGELES, CA 90046

155 Instant Brands Holdings Caer, Inc.                                                   Confidentiality      NDA                                                                  ‐
    Inc.                    8070 Melrose Ave                                             Agreements
                            LOS ANGELES, CA 90046

156 Instant Brands Inc.    Callisto Media                                                License Agreements   Trademark License Agreement ‐1                                       ‐
                           ATTN: BASTIEN VIDAL
                           6005 SHELLMOUND ST.
                           SUITE 175
                           EMERYVILLE, CA 94608
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 #       Debtor Entity                                  Counterparty       Agreement Type                          Agreement Description           Proposed Cure Costs
157 Instant Brands Inc.   Callisto Media, Inc.                         License Agreements   Trademark License Agreement ‐2                                           ‐
                          ATTN: BASTIEN VIDAL
                          6005 SHELLMOUND ST.
                          SUITE 175
                          EMERYVILLE, CA 94608

158 Instant Brands Inc.   Callisto Media, Inc.                         License Agreements   Trademark License Agreement ‐3                                          ‐
                          ATTN: BASTIEN VIDAL
                          6005 SHELLMOUND ST.
                          SUITE 175
                          EMERYVILLE, CA 94608

159 Instant Brands LLC    CAMP CASUAL, INC                             Confidentiality       NDA                                                                    ‐
                          1203 Flynn Road                              Agreements
                          Suite 160
                          CAMARILLO, CA 93012

160 Corelle Brands (Canada) Canac                                      Service and Supply    Supplier Buying Agreement                                              ‐
    Inc.                    6245, BOUL, WILFRID‐HAMEL                  Agreements
                            LANCIENNE‐LORETTE, QC G2E 5W2
                            CANADA

161 Instant Brands Inc.   Canadian Tire Corporation, Limited (CTC)     Service and Supply    Purchase_Agreement_Instant Brands Inc Canada_102722                    ‐
                          2180 YONGE STREET                            Agreements
                          ATTN: LINE OF BUSINESS DIRECTOR OR VP
                          TORONTO, ON M4S 2B9
                          CANADA

162 Instant Brands Inc.   Canadian Tire Corporation. Ltd               Service and Supply    Purchase Agreement                                                     ‐
                          2180 YONGE STREET                            Agreements
                          ATTN: LINE OF BUSINESS DIRECTOR OR VP
                          TORONTO, ON M4S 2B9
                          CANADA

163 Instant Brands LLC    Carrier Rental Systems                       Service and Supply    Quotation                                                              ‐
                          5657 FEDERAL AVE.                            Agreements
                          MEMPHIS, TN 38118‐7918

164 Instant Brands LLC    Cascade Wholesale Hardware                   Customer Agreements Customer Agreement                                                       ‐
                          5650 NE WAGON DRIVE
                          HILLSBORO, OR 97124

165 Instant Brands LLC    CBRE, Inc.                                   Confidentiality       NDA                                                                    ‐
                          6070 Poplar Ave.                             Agreements
                          Suite 500
                          MEMPHIS, TN 38119

166 Instant Brands LLC    CDW Direct                                   IT Agreements         Quotation for Adobe                                            118,700.26
                          200 N. MILWAUKEE AVENUE
                          VERNON HILLS, IL 60061

167 Instant Brands LLC    Cento Anni, LLC                              Confidentiality       Mutual NDA                                                             ‐
                          136 E. 6th Street                            Agreements
                          HOLLAND, MI 49423

168 Instant Brands LLC    CenturyLink                                  IT Agreements         Service Order Form                                               3,783.12
                          PO BOX 4300
                          CAROL STREAM, IL 60197‐4300

169 Instant Brands LLC    Certified Laboratories of the Midwest        Confidentiality       NDA                                                                    ‐
                          2505 Diehl Road                              Agreements
                          AURORA, IL 60502

170 Instant Brands LLC    CEVA Logistics Limited                       Confidentiality       Mutual Non‐Disclosure Agreement                                        ‐
                          PO Box 8663, CEVA House                      Agreements
                          Excelsior Road
                          Ashby de la Zouch
                          Leicestershire LE65 9BA
                          UNITED KINGDOM

171 Instant Brands LLC    CFE Inc.                                     Service and Supply    Master Services Agreement                                      157,183.00
                          Attn: Chris Parsons                          Agreements
                          35 Industrial Park Blvd.
                          Elmira, NY 14901

172 Instant Brands LLC    CGP                                          Customer Agreements 2023 Blain CGPContract Appliaces                                         ‐
                          Blain Supply, Inc.
                          3507 E. Racine St
                          Janesville, WI 53546

173 Instant Brands LLC    Chambersburg Waste Paper Co., Inc.           Service and Supply    Services Agreement                                              12,879.02
                          2047 LOOP ROAD                               Agreements
                          PO BOX 975
                          CHAMBERSBURG, PA 17201

174 Instant Brands LLC    ChannelSight                                 Service and Supply    Renewal                                                         40,000.00
                          42 Perse Street                              Agreements
                          DUBLIN D02 YX88
                          IRELAND

175 Instant Brands LLC    ChannelSight                                 IT Agreements         Terms and Conditions                                                   ‐
                          42 Perse Street
                          DUBLIN D02 YX88
                          IRELAND
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 #       Debtor Entity                                   Counterparty      Agreement Type                                 Agreement Description     Proposed Cure Costs
176 Instant Brands LLC     Checker Distributors                         Customer Agreements Agreement                                                                 ‐
                           400 W. DUSSEL DR.
                           STE B
                           MAUMEE, OH 43537‐1636

177 Instant Brands Inc.    Checker Distributors                         Customer Agreements Checker Distributors Co‐Op                                               ‐
                           400 W. DUSSEL DR.
                           STE B
                           MAUMEE, OH 43537‐1636

178 Instant Brands LLC     Chef Latinos                                 Confidentiality        NDA                                                                   ‐
                           SWATV ENTERTAINMENT                          Agreements
                           2181 CAMINITO NORINNA
                           SUITE 133
                           CHULA VISTA, CA 91945

179 Instant Brands LLC     Chefs Latino                                 Service and Supply     Production Services Agreement                                         ‐
                           SWATV ENTERTAINMENT                          Agreements
                           2181 CAMINITO NORINNA
                           SUITE 133
                           CHULA VISTA, CA 91945

180 Instant Brands LLC     CHEP USA                                     Service and Supply     CHEP Pallet Agreement                                          41,559.67
                           8517 South Park Circle                       Agreements
                           ORLANDO, FL 32819‐9040

181 Instant Brands LLC     CHEP USA                                     Service and Supply     CHEP Pricing Amendment                                                ‐
                           8517 South Park Circle                       Agreements
                           ORLANDO, FL 32819‐9040

182 Instant Brands LLC     Chickasaw Electric Cooperative               Service and Supply     Agreement for the Purchase of Power                            94,939.63
                           17970 HIGHWAY 64                             Agreements
                           SOMERVILLE, TN 38068

183 Instant Brands LLC     Chickasaw Electric Cooperative               Service and Supply     Investment Credit Agreement                                           ‐
                           17970 HIGHWAY 64                             Agreements
                           SOMERVILLE, TN 38068




184 Instant Brands LLC     CINTAS First Aid & Safety                    Service and Supply     Standard Rental Services Agreement                              5,154.88
                           1870 BRUMMEL DRIVE                           Agreements
                           ELK GROVE VILLAGE, IL 60007

185 Instant Brands LLC     CITIGROUP ENERGY INC.                        Financial Agreements   ISDA Master Agreement Multicurrency ‐ Cross Border                    ‐
                           2700 Post Oak Blvd
                           Suite 400
                           HOUSTON, TX 77056‐5734




186 Instant Brands LLC     Citrix Systems                               IT Agreements          Renewal                                                               ‐
                           PO BOX 931686
                           ATLANTA, GA 31193‐1686

187 Instant Brands LLC     Claims Compensation Bureau LLC               Service and Supply     Claims Service Agreement                                              ‐
                           1100 E. HECTOR STREET                        Agreements
                           SUITE 250
                           CONSHOHOCKEN, PA 19428

188 Instant Brands LLC     Class Trade OU                               Customer Agreements Distribution Agreement                                                   ‐
                           Maakri tn 36‐24
                           Kesklinna district
                           Tallinn city
                           Harju County 10145
                           ESTONIA

189 Instant Brands LLC     Cleveland Research Company LLC               Service and Supply     Research Subscription Agreement                                       ‐
                           1375 East 9th Street                         Agreements
                           Suite 2700
                           CLEVELAND, OH 44114

190 Instant Brands Holdings ClickHere2Shop LLC                          Confidentiality        NDA                                                                   ‐
    Inc.                    881 WEST STATE STREET 140‐321               Agreements
                            PLEASANT GROVE, UT 84062

191 Instant Brands LLC     ClickHere2Shop, LLC                          Customer Agreements Nonexclusive Distributor Agreement                                       ‐
                           881 WEST STATE STREET 140‐321
                           PLEASANT GROVE, UT 84062
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 #       Debtor Entity                                      Counterparty                      Agreement Type                              Agreement Description                    Proposed Cure Costs
192 Instant Brands LLC       Club Coffee LP                                                Service and Supply   IB Supply Agreement                                                          50,329.50
                             55 Carrier Drive Toronto                                      Agreements
                             TORONTO, ON M9W 5V9
                             CANADA



193 Instant Brands LLC       Club Coffee LP                                                License Agreements   SS Trademark Sublicense Canada and USA                                              ‐
                             55 Carrier Drive Toronto
                             TORONTO, ON M9W 5V9
                             CANADA

194 Instant Brands LLC       Cogent Entertainment Marketing LLC                            Service and Supply   Master Service Agreement                                                            ‐
                             244 MADISON AVENUE                                            Agreements
                             ATTN: JOHANA WALLED
                             NEW YORK, NY 10016

195 Instant Brands LLC       Collaborations Licensing LLC                                  Confidentiality      Non‐Disclosure Agreement                                                            ‐
                             4300 Sunnyslope Ave                                           Agreements
                             SHERMAN OAKS, CA 91423

196 Instant Brands LLC       Colle & McVoy LLC                                             Confidentiality      NDA                                                                                 ‐
                             400 N 1st Ave                                                 Agreements
                             Ste 700
                             MINNEAPOLIS, MN 55401

197 Instant Brands Holdings Colliers Bennett & Kahnweiler dba Colliers International       Service and Supply   Amendment Master RE Agreement                                                       ‐
    Inc.                    6250 N. River Rd                                               Agreements
                            Suite 11‐100
                            ROSEMONT, IL 60018

198 Instant Brands (Canada) Colliers Bennett & Kahnweiler LLC dba Colliers International   Service and Supply   Master Real Estate Services Agreement                                               ‐
    Holding Inc.            6250 N. River Rd                                               Agreements
                            Suite 11‐100
                            ROSEMONT, IL 60018

199 Instant Brands Holdings Colliers Bennett & Kahnweiler LLC                              Service and Supply   Master Services Agreement Extension                                                 ‐
    Inc.                    6250 N. River Rd                                               Agreements
                            Suite 11‐100
                            ROSEMONT, IL 60018

200 Instant Brands LLC       Colliers Bennett and Kahnweiler, LLC                          Confidentiality      Non‐Disclosure Agreement                                                            ‐
                             6250 N. River Rd                                              Agreements
                             Suite 11‐100
                             ROSEMONT, IL 60018

201 Instant Brands LLC       Colliers International, Greater Los Angeles, Inc              Confidentiality      Non‐Disclosure Agreement                                                            ‐
                             2121 Rosecrans Ave                                            Agreements
                             Ste 3301
                             EL SEGUNDO, CA 90245

202 Instant Brands LLC       Colliflower                                                   Equipment Leases     Equipment Lease Agreement                                                     1,117.52
                             9320 PULASKI HWY
                             BALTIMORE, MD 21220

203 Instant Brands Holdings Colonie Media LLC                                              Confidentiality      Mutual NDA                                                                          ‐
    Inc.                    610 N. FAIRBANKS CT. 3RD FLOOR                                 Agreements
                            CHICAGO, IL 60611

204 Instant Brands LLC       Columbia Gas of Pennsylvania, Inc.                            Service and Supply   General Distribution Application and Agreement                                      ‐
                             290 W. NATIONWIDE BLVD                                        Agreements
                             ATTN: GAS TRANSPORTATION
                             COLUMBUS, OH 43215

205 Instant Brands LLC       Columbia Gas of Pennsylvania, Inc.                            Service and Supply   Distribution Agreement 2013                                                  28,902.12
                             290 W. NATIONWIDE BLVD                                        Agreements
                             ATTN: GAS TRANSPORTATION
                             COLUMBUS, OH 43215

206 Instant Brands LLC       Comcast Cable Communications Management, LLC                  IT Agreements        Master Services Agreement                                                    14,675.67
                             1701 JFK BOULEVARD
                             PHILADELPHIA, PA 19103

207 Instant Brands LLC       Comcast Enterprise                                            Service and Supply   SO 20176826 Instant Brands Molly Pitcher Hwy Greencastle 1GB EDI                    ‐
                             1701 JFK BOULEVARD                                            Agreements
                             PHILADELPHIA, PA 19103

208 Instant Brands LLC       Comcast                                                       IT Agreements        Service Agreement Corning ‐ Horsebarn Rd                                            ‐
                             1701 JFK BOULEVARD
                             PHILADELPHIA, PA 19103

209 Instant Brands LLC       Comcast                                                       IT Agreements        Service Agreement Corning ‐ Steuben St                                              ‐
                             1701 JFK BOULEVARD
                             PHILADELPHIA, PA 19103

210 Instant Brands LLC       Commission Junction                                           Service and Supply   Affiliate Marketing Insertion Order                                          29,350.00
                             4140 SOLUTIONS CENTER LOCKBOX 7741                            Agreements
                             774140
                             CHICAGO, IL 60677

211 Instant Brands LLC       Computer Services, Inc.                                       Service and Supply   Amendment B ‐ Dec2022                                                         4,119.32
                             3901 TECHNOLOGY DRIVE                                         Agreements
                             PADUCAH, KY 42001
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 #       Debtor Entity                               Counterparty                    Agreement Type                            Agreement Description                       Proposed Cure Costs
212 Instant Brands LLC     Concur Technologies, Inc.                              Service and Supply   Concur 2022 ‐ 2023 Renewal                                                    15,008.98
                           62157 COLLECTIONS CENTER DRIVE                         Agreements
                           CHICAGO, IL 60693

213 Instant Brands LLC     Concur Technologies, Inc.                              Service and Supply   Sales Order Form                                                                     ‐
                           62157 COLLECTIONS CENTER DRIVE                         Agreements
                           CHICAGO, IL 60693

214 Instant Brands LLC     Concur Technologies, Inc.                              Service and Supply   Sales Order                                                                          ‐
                           62157 COLLECTIONS CENTER DRIVE                         Agreements
                           CHICAGO, IL 60693

215 Instant Brands Holdings Conde Nast                                            Confidentiality      Mutual Confidentiality Agreement                                                     ‐
    Inc.                    One World Trade Center                                Agreements
                            NEW YORK, NY 10007

216 Instant Brands LLC     Conifer Research, LLC                                  Confidentiality      NDA                                                                                  ‐
                           67 E. Madison                                          Agreements
                           Suite 1900
                           CHICAGO, IL 60603

217 Instant Brands LLC     Constellation NewEnergy                                Service and Supply   Amendment 1 to Master Agreement                                                      ‐
                           1221 LAMAR ST.                                         Agreements
                           SUITE 750
                           HOUSTON, TX 77010



218 Instant Brands LLC     Constellation NewEnergy, Inc.                          Service and Supply   Master Electricity Supply Agreement                                          376,157.72
                           1221 LAMAR ST.                                         Agreements
                           SUITE 750
                           HOUSTON, TX 77010

219 Instant Brands LLC     Content Square SAS                                     IT Agreements        Order Form                                                                    70,800.00
                           53 Beach Street
                           6th Fl
                           New York, NY 10013

220 Instant Brands LLC     Continental Broadband LLC                              Confidentiality      Mutual NDA                                                                           ‐
                           150 Granby St.                                         Agreements
                           Norfolk, VA 23510

221 Instant Brands LLC     Contoural, Inc                                         Confidentiality      Mutual NDA                                                                           ‐
                           335 Main Street                                        Agreements
                           Suite B
                           LOS ALTOS, CA 94022

222 Instant Brands LLC     CookingPal Ltd.                                        Confidentiality      Mutual NDA                                                                           ‐
                           19703 US Claymont                                      Agreements
                           Claymont, DE 19703

223 Instant Brands LLC     Corelle Brands (Asia Pacific) Pte Ltd                  Intercompany         Amended Restated Sales Agreement                                                     ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

224 Instant Brands LLC     Corelle Brands (Asia Pacific) Pte Ltd, Taiwan Branch   Intercompany         Sales Representative Agreement                                                       ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

225 Instant Brands LLC     Corelle Brands (Asia Pacific) Pte. Ltd                 Intercompany         Intercompany Services Agreement CB LLC with CB Singapore                             ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

226 Instant Brands LLC     Corelle Brands (Australia) Pty Ltd                     Intercompany         DA CB 1 Distribution Agreement CB LLC with CB Australia                              ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

227 Instant Brands Inc.    Corelle Brands (Australia) Pty Ltd                     Intercompany         DA IB 3 Distribution Agreement IB Inc with CB Australia                              ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

228 Instant Brands Inc.    Corelle Brands (Canada) Inc.                           Intercompany         Intercompany Note between 10770299 Canada Inc. and Corelle Brands                    ‐
                           3025 HIGHLAND PARKWAY                                  Agreements           (Canada) Inc
                           SUITE 700
                           DOWNERS GROVE, IL 60515

229 Instant Brands LLC     Corelle Brands (Korea) Co. Ltd.                        Intercompany         Amendment No. 1 to True Up Agreement (CB LLC to CB Korea)                            ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

230 Instant Brands LLC     Corelle Brands (Korea) Co. Ltd.                        Intercompany         Amendment No. 1 to True Up Agreement (CB LLC to CB Korea)                            ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

231 Instant Brands LLC     Corelle Brands (Korea) Co. Ltd.                        Intercompany         Transfer Pricing True‐up                                                             ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515
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 #       Debtor Entity                                       Counterparty            Agreement Type                               Agreement Description                        Proposed Cure Costs
232 Instant Brands LLC     Corelle Brands (Korea) Co. Ltd.                       Intercompany           2021 Transfer Pricing True‐up                                                            ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

233 Instant Brands Inc.    Corelle Brands (Korea) Co. Ltd.                       Intercompany           DA IB 4 Distributor Agreement IB Inc (Canada) to CB Korea                               ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

234 Instant Brands LLC     Corelle Brands (Korea) Co. Ltd.                       Intercompany           Netting Agreement (CB Korea and IB LLC)                                                 ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

235 Instant Brands LLC     Corelle Brands (Shanghai) Co Ltd                      Intercompany           DA AS 3 Distributor Agreement ‐ Singapore ‐ China                                       ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

236 Instant Brands LLC     Corelle Brands (Shanghai) Co, Ltd,                    Intercompany           Non‐exclusive Distributor Agreement                                                     ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

237 Instant Brands LLC     Corelle Brands (Shanghai) Co, Ltd,                    Intercompany           Distributor Agreement 2019                                                              ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

238 Instant Brands LLC     Corelle Brands (Shanghai) Co. Ltd                     Intercompany           Non‐Exclusive Distributor Agreement                                                     ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

239 Instant Brands Inc.    Corelle Brands (Shanghai) Co., Ltd                    Intercompany           International Services Agreement                                                        ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

240 Instant Brands Inc.    Corelle Brands (Shanghai) Co., Ltd. Hangzhou Branch   Intercompany           Services Agreement between Instant Brands and CB (Shanghai) Hangzhou                    ‐
                           3025 HIGHLAND PARKWAY                                 Agreements             Branch
                           SUITE 700
                           DOWNERS GROVE, IL 60515

241 Instant Brands Inc.    Corelle Brands (Shanghai) Co., Ltd.                   Intercompany           International Services Agreement                                                        ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

242 Instant Brands Inc.    Corelle Brands Holdings Inc                           Intercompany           Intercompany Note                                                                       ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

243 Instant Brands LLC     Corelle Brands Korea Co. Ltd.,                        Intercompany           Non‐exclusive Distributor Agreement                                                     ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

244 Instant Brands Inc.    Corelle Brands LLC                                    Intercompany           DA IB 1 Distribution Agreement (CB as Distributor for IB)                               ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

245 Instant Brands Inc.    Corelle Brands LLC                                    Intercompany           Intercompany Note ‐ PLOI                                                                ‐
                           3025 HIGHLAND PARKWAY                                 Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

246 Instant Brands Holdings Cornell Capital LLC                                  Service and Supply     Amended and Restated Services Agreement                                                 ‐
    Inc.                    499 PARK AVENUE                                      Agreements
                            NEW YORK, NY 10022

247 Instant Brands LLC     Corning Inc.                                          Service and Supply     Amendment No. 2 to Metals Fabrication Services Agreement                                ‐
                           25805 NETWORK PLACE                                   Agreements
                           CHICAGO, IL 60673‐1258

248 Instant Brands LLC     Corning Incorporated                                  Service and Supply     Fourth Amendment to Metals Fabrication Agreement                                        ‐
                           25805 NETWORK PLACE                                   Agreements
                           CHICAGO, IL 60673‐1258

249 Instant Brands LLC     CORNING INCORPORATED                                  Service and Supply     Metals Fabrication Services Agreement                                            21,068.65
                           25805 NETWORK PLACE                                   Agreements
                           CHICAGO, IL 60673‐1258

250 Instant Brands LLC     CORNING INCORPORATED                                  Financial Agreements   Restated Shared Facilities Agreement                                                    ‐
                           25805 NETWORK PLACE
                           CHICAGO, IL 60673‐1258

251 Instant Brands LLC     Corning Natural Gas Company                           Service and Supply     Negotiated Transportation Service Agreement                                      22,035.88
                           ATTN: STANLEY G. SLEVE                                Agreements
                           VICE PRESIDENT ‐ ADMINISTRATION
                           330 WEST WILLIAMS STREET
                           CORNING, NY 14830
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 #       Debtor Entity                                    Counterparty       Agreement Type                             Agreement Description                            Proposed Cure Costs
252 Instant Brands LLC      Corning Natural Gas Corporation               Service and Supply     Amendment No 3 to Transportation Services Agreement                                       ‐
                            ATTN: RUSSELL S. MILLER                       Agreements
                            330 WEST WILLIAM STREET
                            CORNING, NY 14830

253 Instant Brands LLC      Corning Natural Gas Corporation               Service and Supply     Natural Gas Amendment 4                                                                  ‐
                            ATTN: RUSSELL S. MILLER                       Agreements
                            330 WEST WILLIAM STREET
                            CORNING, NY 14830

254 Instant Brands LLC      Corning, Inc.                                 Service and Supply     Amendment 1 to Corning Metals Fabrication Agreement                                      ‐
                            25805 NETWORK PLACE                           Agreements
                            CHICAGO, IL 60673‐1258

255 Instant Brands LLC      Corning, Inc.                                 Service and Supply     Amendment 3 to Corning Metals Fabrication Agreement                                      ‐
                            25805 NETWORK PLACE                           Agreements
                            CHICAGO, IL 60673‐1258

256 Instant Brands LLC      Corporate IT Solutions, INC.                  IT Agreements          Service Agreement                                                                    600.00
                            26970 ALISO VIEJO PARKWAY
                            SUITE 250
                            ALISO VIEGO, CA 92656

257 Instant Brands (Canada) Corporate Relocation Services                 Service and Supply     Relocation Management Services Agreement                                                 ‐
    Holding Inc.            8001 FORBES PLACE                             Agreements
                            SUITE 103
                            SPRINGFIELD, VA 22151

258 Instant Brands LLC      COSCO SHIPPING Lines Co., Ltd                 Financial Agreements   Cosco Shipping Lines 2023                                                                ‐
                            C/O COSCO SHIPPING LINES (NA) INC.
                            100 LIGHTING WAY
                            SECAUCUS, NJ 07094

259 Instant Brands LLC      Costco Wholesale Canada Ltd                   Customer Agreements Costco Canada Basic Supplier Agreement (Housewares & Appliances from                        ‐
                            COSTCO'S VENDOR MAINTENANCE DEPT                                  US)
                            999 LAKE DRIVE
                            ISSAQUAH, WA 98027

260 Instant Brands LLC      Costco Wholesale Canada LTD                   Customer Agreements E‐Comm Addendum                                                                             ‐
                            COSTCO'S VENDOR MAINTENANCE DEPT
                            999 LAKE DRIVE
                            ISSAQUAH, WA 98027

261 Instant Brands LLC      Costco Wholesale Canada Ltd                   Customer Agreements Costco Canada Vendor Agreement and Standard Terms                                           ‐
                            COSTCO'S VENDOR MAINTENANCE DEPT
                            999 LAKE DRIVE
                            ISSAQUAH, WA 98027

262 Instant Brands Inc.     Costco Wholesale Canada Ltd.                  Customer Agreements Costco Canada Basic Supplier Agreement ‐ (Appliances from Canada                            ‐
                            COSTCO'S VENDOR MAINTENANCE DEPT                                  Warehouse)
                            999 LAKE DRIVE
                            ISSAQUAH, WA 98027

263 Instant Brands Inc.     Costco Wholesale Corporation & Subsidiaries   Customer Agreements Wholesale Global Import Supplier Agreement                                                  ‐
                            COSTCO'S VENDOR MAINTENANCE DEPT
                            999 LAKE DRIVE
                            ISSAQUAH, WA 98027

264 Instant Brands LLC      Costco Wholesale Corporation                  Customer Agreements 2022 Basic Supplier Agreement and Standard Terms (US Effective 10.01.22)                    ‐
                            COSTCO'S VENDOR MAINTENANCE DEPT
                            999 LAKE DRIVE
                            ISSAQUAH, WA 98027

265 Instant Brands LLC      Costco Wholesale Corporation                  Customer Agreements Costco Basic Supplier Agreement                                                             ‐
                            COSTCO'S VENDOR MAINTENANCE DEPT
                            999 LAKE DRIVE
                            ISSAQUAH, WA 98027

266 Instant Brands LLC      Costco Wholesale Corporation                  Customer Agreements E‐Comm Addendum                                                                             ‐
                            COSTCO'S VENDOR MAINTENANCE DEPT
                            999 LAKE DRIVE
                            ISSAQUAH, WA 98027

267 Instant Brands LLC      Costco Wholesale Corporation                  Customer Agreements Revised Global Import Supplier Agreement                                                    ‐
                            COSTCO'S VENDOR MAINTENANCE DEPT
                            999 LAKE DRIVE
                            ISSAQUAH, WA 98027

268 Instant Brands LLC      Costco Wholesale Corporation                  Customer Agreements SCS Policy Agreement                                                                        ‐
                            COSTCO'S VENDOR MAINTENANCE DEPT
                            999 LAKE DRIVE
                            ISSAQUAH, WA 98027

269 Instant Brands LLC      Costco Wholesale Corporation                  Customer Agreements SCS Policy Agreement                                                                        ‐
                            COSTCO'S VENDOR MAINTENANCE DEPT
                            999 LAKE DRIVE
                            ISSAQUAH, WA 98027

270 Instant Brands LLC      Costco Wholesale Corporation                  Customer Agreements Global Import Supplier Agreement                                                            ‐
                            COSTCO'S VENDOR MAINTENANCE DEPT
                            999 LAKE DRIVE
                            ISSAQUAH, WA 98027
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 #       Debtor Entity                               Counterparty        Agreement Type                       Agreement Description                           Proposed Cure Costs
271 Instant Brands LLC       Costco Wholesale                         Customer Agreements E‐Commerce Addendum                                                                   ‐
                             COSTCO'S VENDOR MAINTENANCE DEPT
                             999 LAKE DRIVE
                             ISSAQUAH, WA 98027

272 Instant Brands LLC       Costco Wholesale                         Customer Agreements Item Confirmation Overview ‐ Pyrex 8‐Piece Mixing Bowls with Lids                    ‐
                             COSTCO'S VENDOR MAINTENANCE DEPT
                             999 LAKE DRIVE
                             ISSAQUAH, WA 98027

273 Instant Brands LLC       Costco Wholesale                         Customer Agreements Quote ‐ Duo Gourmet Final BOM                                                        ‐
                             COSTCO'S VENDOR MAINTENANCE DEPT
                             999 LAKE DRIVE
                             ISSAQUAH, WA 98027

274 Instant Brands Inc.      Costco                                   Customer Agreements Costco.com Online Item Agreement                                                     ‐
                             COSTCO'S VENDOR MAINTENANCE DEPT
                             999 LAKE DRIVE
                             ISSAQUAH, WA 98027

275 Instant Brands LLC       CP Logistics Marshall Building 7, LLC    Real Property Leases   First Amendment to Lease (MMDC)                                                   ‐
                             C/O MOYE WHITE LLP
                             ATTEN: DOMINICK SEKICH
                             1400 16TH STREET, SUITE 600
                             DENVER, CO 80202

276 Instant Brands LLC       CP Logistics Marshall Building 7, LLC    Real Property Leases   Second Amendment to Lease (MMDC)                                                  ‐
                             C/O MOYE WHITE LLP
                             ATTEN: DOMINICK SEKICH
                             1400 16TH STREET, SUITE 600
                             DENVER, CO 80202

277 Instant Brands Holdings CP Logistics Marshall Building 7, LLC,    Real Property Leases   Guaranty from Corelle Brands Holdings Inc.                                        ‐
    Inc.                    C/O MOYE WHITE LLP
                            ATTEN: DOMINICK SEKICH
                            1400 16TH STREET, SUITE 600
                            DENVER, CO 80202

278 Instant Brands LLC       CP Logistics Marshall Building 7, LLC,   Real Property Leases   Lease Agreement (MMDC)                                                            ‐
                             C/O MOYE WHITE LLP
                             ATTEN: DOMINICK SEKICH
                             1400 16TH STREET, SUITE 600
                             DENVER, CO 80202




279 Instant Brands LLC       CPA Global Limited                       Service and Supply     Patent Annuity Payments                                                    19,320.48
                             ATTN: CFO/GC                             Agreements
                             LIBERATION HOUSE
                             CASTEL STREET
                             ST. HELIER JE1 1BL
                             JERSEY

280 Instant Brands LLC       CPE IT Solutions, Inc.                   Service and Supply     Agreement                                                                  12,000.00
                             141 FRONT STREET SUITE 103               Agreements
                             ADDISON, NY 14801

281 Instant Brands LLC       CPGToolBox, Inc                          Service and Supply     Statement of Work Blueprinting                                                    ‐
                             125 TOWNPARK DR NW                       Agreements
                             KENNESAW, GA 30144

282 Instant Brands LLC       CPGToolBox, Inc.                         Service and Supply     Master Services Agreement                                                         ‐
                             125 TOWNPARK DR NW                       Agreements
                             KENNESAW, GA 30144

283 Instant Brands LLC       CPGToolBox, Inc.                         Service and Supply     Master Service Agreement (with CPGToolBox as Reseller)                            ‐
                             125 TOWNPARK DR NW                       Agreements
                             KENNESAW, GA 30144

284 Instant Brands LLC       CQL, Inc.                                Service and Supply     MSA                                                                               ‐
                             3344 GRAND RIDGE DRIVE                   Agreements
                             ATTN: KEVIN ANTEL ACCOUNTNGCQLCORP.COM
                             GRAND RAPIDS, MI 49525

285 Instant Brands LLC       Crate & Barrel Holdings, Inc.,           Customer Agreements Vendor Operations Guide Vendor Acknowledgement Form                                  ‐
                             1250 Techny Rd
                             NORTHBROOK, IL 60062

286 Instant Brands Inc.      CREATIVE NICHE INC.                      Service and Supply     General Staffing Services Agreement                                               ‐
                             57 RICHMOND STREET WEST                  Agreements
                             SUITE 301
                             TORONTO, ON M5V 1Y6
                             CANADA

287 Instant Brands LLC       CRITEO CORP                              Service and Supply                                                                                       ‐
                             387 Park Avenue South                    Agreements
                             New York, NY 10016
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 #       Debtor Entity                                  Counterparty       Agreement Type                           Agreement Description      Proposed Cure Costs
288 Instant Brands LLC    CrowdStrike                                  IT Agreements        Complete Product Description w SLA                                   ‐
                          150 Mathilda Place
                          Suite 300
                          Sunnyvale, CA 94086

289 Instant Brands LLC    CrowdStrike, Inc.                            IT Agreements        Falcon Complete Limited Warranty                                    ‐
                          150 Mathilda Place
                          Suite 300
                          Sunnyvale, CA 94086

290 Instant Brands LLC    CROWDSTRIKE, INC.                            IT Agreements        Terms and Conditions                                                ‐
                          150 Mathilda Place
                          Suite 300
                          Sunnyvale, CA 94086

291 Instant Brands LLC    CROWDSTRIKE, INC.                            Service and Supply   Falcon Complete Warranty Agreement 051221v4                         ‐
                          150 Mathilda Place                           Agreements
                          Suite 300
                          Sunnyvale, CA 94086

292 Instant Brands LLC    CSN Stores LLC (Wayfair?)                    Customer Agreements Supplier Agreement                                                   ‐
                          800 Boylston Street
                          Suite 1600
                          BOSTON, MA 02199

293 Instant Brands LLC    CT Corporation System                        Service and Supply   CT Assurance Order Form                                      12,226.75
                          208 S. LASALLE STREET                        Agreements
                          CHICAGO, IL 60604

294 Instant Brands LLC    CT Corporation System                        Service and Supply   Services Agreement Canada Registered Agent                          ‐
                          208 S. LASALLE STREET                        Agreements
                          CHICAGO, IL 60604

295 Instant Brands Inc.   CUBRC, INC.                                  Confidentiality      Non‐Disclosure Agreement                                            ‐
                          4455 Genesee Street                          Agreements
                          Suite 106
                          BUFFALO, NY 14225‐1955

296 Instant Brands LLC    Cupcake Films Inc.                           License Agreements   Materials Release Agreement                                         ‐
                          C/O REDFRAME LAW
                          10187 104 ST. NW
                          200
                          EDMONTON, AB T5J 0Z9
                          CANADA

297 Instant Brands LLC    Curion LLC                                   Service and Supply   Master Services Agreement                                           ‐
                          ATTN: GENERAL COUNSEL                        Agreements
                          111 SOUTH PFINGSTEN
                          SUITE 450
                          DEERFILED, IL 60015

298 Instant Brands LLC    Curzon Company                               Service and Supply   Amendment No 3 to Sales Representative Agreement                    ‐
                          7110 SW BEVELAND STREET                      Agreements
                          TIGARD, OR 97223

299 Instant Brands LLC    Curzon Company                               Service and Supply   Sales Representative Agreement                                      ‐
                          7110 SW BEVELAND STREET                      Agreements
                          TIGARD, OR 97223

300 Instant Brands LLC    CyberSource Corporation                      Service and Supply   Payment Solutions Agreement                                         ‐
                          POST OFFICE BOX 8999                         Agreements
                          ATTN: CYBERSOURCE LEGAL
                          SAN FRANCISCO, CA 94128‐8999

301 Instant Brands LLC    DAFT Productions Inc.                        License Agreements   Daft Productions ‐ Materials Release Agreement                      ‐
                          330 N Brand Blvd
                          Ste 700
                          Glendale, CA 91203

302 Instant Brands LLC    Dalry Trading Co. Ltd.,                      Service and Supply   Manufacturers Rep Agreement                                         ‐
                          10 EAST KIRKLAND                             Agreements
                          DALRY KA24 4LP
                          UNITED KINGDOM

303 Instant Brands LLC    Daniel J. Edelman, Inc. d/b/a Edelman        Service and Supply   Contract (April 2017)                                               ‐
                          111 N Canal St                               Agreements
                          CHICAGO, IL 60606

304 Instant Brands LLC    David M. Lewis Company, LLC                  Independent           Independent Contractor engagement                           21,000.00
                          21800 OXNARD ST., STE 980                    Contractor Agreements
                          WOODLAND HILLS, CA 91367

305 Instant Brands LLC    Davis‐Ulmer Fire Protection                  Service and Supply   Data Center Contract                                          4,809.00
                          1 Commerce Dr                                Agreements
                          AMHERST, NY 14228

306 Instant Brands LLC    Davis‐Ulmer Fire Protection                  Service and Supply   Tank Controls Contract                                              ‐
                          1 Commerce Dr                                Agreements
                          AMHERST, NY 14228

307 Instant Brands Inc.   Debing Inc.                                  Confidentiality      NDA                                                                 ‐
                          27 W. Wacker Dr.                             Agreements
                          #705
                          CHICAGO, IL 60606
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 #       Debtor Entity                                  Counterparty             Agreement Type                           Agreement Description   Proposed Cure Costs
308 Instant Brands LLC    DECODED ADVERTISING LLC                             Confidentiality      Non‐Disclosure Agreement                                         ‐
                          32 Olds Slip                                        Agreements
                          Suite 705
                          NEW YORK, NY 10005

309 Instant Brands LLC    Delaney Workman Consulting, LLC                     Service and Supply   Amendment to Professional Services Agreement                    ‐
                          21313 N. WOODLAND AVENUE                            Agreements
                          BARRINGTON, IL 60010

310 Instant Brands Inc.   Delve, Inc.                                         Confidentiality      Non‐Disclosure Agreement                                        ‐
                          1010 East Washington Ave.                           Agreements
                          MADISON, WI 53703

311 Instant Brands LLC    DemandPDX LLC                                       Service and Supply   Services Agreement                                       77,718.29
                          ATTN: CHRIS BERGEMANN                               Agreements
                          1000 S.W. BROADWAY
                          SUITE 1140
                          PORTLAND, OR 97205

312 Instant Brands LLC    Demandware                                          IT Agreements        Order Form                                                      ‐
                          5 Wall Street
                          Attn: Chief Financial Officer and General Counsel
                          BURLINGTON, MA 01803

313 Instant Brands LLC    Demandware, Inc                                     IT Agreements        Master Subscription and Services Agreement                      ‐

                          5 Wall Street
                          Attn: Chief Financial Officer and General Counsel
                          BURLINGTON, MA 01803

314 Instant Brands LLC    DeMarte Companies, Inc.                             Confidentiality      Non‐Disclosure Agreement                                        ‐
                          6 Turner Drive                                      Agreements
                          SPENCERPORT, NY 14559

315 Instant Brands LLC    Demetra Design Group, LLC                           Confidentiality      Non‐Disclosure Agreement                                        ‐
                          2880 LEONARD LANE                                   Agreements
                          NORTH AURORA, IL 60542

316 Instant Brands Inc.   Dependable Solutions, Inc.                          IT Agreements        Software Service Agreement                                      ‐
                          841 Apollo Street
                          Suite 324
                          EL SEGUNDO, CA 90245

317 Instant Brands LLC    Design Bridge New York, LLC                         Service and Supply   Consulting Agreement                                            ‐
                          45 WEST 27TH STREET                                 Agreements
                          7TH FLOOR
                          NEW YORK, NY 10001

318 Instant Brands Inc.   DESIGN INTEGRITY, INC.                              Confidentiality      Non‐Disclosure Agreement                                        ‐
                          1528 W Adams St                                     Agreements
                          Unit 1
                          CHICAGO, IL 60607

319 Instant Brands LLC    DHL                                                 IT Agreements        Mutual Network Access Agreement (AUS)                           ‐
                          Solstice House
                          251 Midsummer Boulevard
                          Milton Keynes MK9 1EA
                          UNITED KINGDOM

320 Instant Brands LLC    Digital Defense, Inc.                               IT Agreements        Proposal                                                        ‐
                          9000 TESORO DRIVE, SUITE 100
                          SAN ANTONIO, TX 78217

321 Instant Brands LLC    Dillard's Inc.                                      Customer Agreements Damages Agreement                                                ‐
                          1600 Cantrell Rd
                          Little Rock, AR 72201

322 Instant Brands LLC    Dillard's Inc.                                      Customer Agreements Late Shipment CB                                                 ‐
                          1600 Cantrell Rd
                          Little Rock, AR 72201

323 Instant Brands LLC    Dillard's Inc.                                      Customer Agreements Late Shipment IB                                                 ‐
                          1600 Cantrell Rd
                          Little Rock, AR 72201

324 Instant Brands LLC    Dillard's Inc.                                      Customer Agreements Vendor Agreement                                                 ‐
                          1600 Cantrell Rd
                          Little Rock, AR 72201

325 Instant Brands LLC    Direct Energy Business, LLC                         Confidentiality      Mutual NDA                                                      ‐
                          1001 LIBERTY AVENUE                                 Agreements
                          12TH FLOOR
                          PITTSBURGH, PA 15222

326 Instant Brands LLC    Direct Energy Business, LLC                         Confidentiality      NDA                                                             ‐
                          1001 LIBERTY AVENUE                                 Agreements
                          12TH FLOOR
                          PITTSBURGH, PA 15222

327 Instant Brands LLC    Direct Supply, Inc.                                 Service and Supply   Amendment No. 1                                                 ‐
                          800 Schneider Dr                                    Agreements
                          South Elgin, IL 60177
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 #       Debtor Entity                                  Counterparty        Agreement Type                             Agreement Description                       Proposed Cure Costs
328 Instant Brands LLC     Direct Travel                                 Service and Supply    Corporate Travel Agreement                                                            ‐
                           7430 East Caley Ave                           Agreements
                           Suite 320E
                           CENTENNIAL, OH 80111

329 Instant Brands LLC     Directions Research, Inc.                     Service and Supply    Master Services Agreement                                                            ‐
                           401 EAST COURT STREET                         Agreements
                           CINCINNATI, OH 45202

330 Instant Brands LLC     DIRECTIONS RESEARCH, INC.                     Confidentiality       NDA                                                                                  ‐
                           401 EAST COURT STREET                         Agreements
                           CINCINNATI, OH 45202

331 Instant Brands LLC     Directions Research, Inc.                     Service and Supply    SOW                                                                                  ‐
                           401 EAST COURT STREET                         Agreements
                           CINCINNATI, OH 45202

332 Instant Brands Holdings DISCOVERY LICENSING, INC.                    Confidentiality       Non‐Disclosure Agreement                                                             ‐
    Inc.                    8403 Colesville Rd.                          Agreements
                            SILVER SPRING, MD 20910‐3354

333 Instant Brands Holdings DISNEY CONSUMER PRODUCTS, INC.               License Agreements    3rd Amendment to Schedule to License Agreement                                       ‐
    Inc.                    500 S. BUENA VISTA ST.
                            BURBANK, CA 91521

334 Instant Brands Holdings DISNEY CONSUMER PRODUCTS, INC.               License Agreements    3rd Amendment to Standard Terms and Conditions                                       ‐
    Inc.                    500 S. BUENA VISTA ST.
                            BURBANK, CA 91521

335 Instant Brands LLC     DISNEY CONSUMER PRODUCTS, INC.                License Agreements    Second Amendment to Feb 4 2020 License Agreement                                     ‐
                           500 S. BUENA VISTA ST.
                           BURBANK, CA 91521

336 Instant Brands Holdings DISNEY CONSUMER PRODUCTS, INC.               License Agreements    4th Amendment to Schedule to License Agreement for Star Wars Home                    ‐
    Inc.                    500 S. BUENA VISTA ST.                                             Furnishings
                            BURBANK, CA 91521

337 Instant Brands Holdings DISNEY CONSUMER PRODUCTS, INC.               License Agreements    5th Amendment to Schedule to License Agreement                                55,149.41
    Inc.                    500 S. BUENA VISTA ST.
                            BURBANK, CA 91521

338 Instant Brands LLC     Distrivalto USA Inc.                          Customer Agreements Notice of Appointment of Distributorship                                               ‐
                           8400 NW 36 ST. SUITE 200
                           DORAL, FL 33178

339 Instant Brands LLC     Do it Best Corp.                              Customer Agreements Terms and Conditions Sheet                                                             ‐
                           PO BOX 868
                           FORT WAYNE, IN 46801

340 Instant Brands LLC     DOLLAR GENERAL CORPORATION                    Confidentiality       Non‐Disclosure Agreement                                                             ‐
                           100 Mission Ridge                             Agreements
                           Goodlettsville, TN 37072

341 Instant Brands LLC     Dollarama LP                                  Customer Agreements Code of Conduct                                                                        ‐
                           5805 Royalmount Ave
                           Montreal, QC H4P 0A1
                           CANADA

342 Instant Brands LLC     Dollarama                                     Customer Agreements Engagement Form                                                                        ‐
                           5805 Royalmount Ave
                           Montreal, QC H4P 0A1
                           CANADA

343 Instant Brands LLC     Dolphin Enterprise Solutions Corporation      IT Agreements         Dolphin Support Services Agreement                                                   ‐
                           17485 Monterey Rd
                           Suite 201
                           MORGAN HILL, CA 95037

344 Instant Brands LLC     Dolphin Enterprise Solutions Corporation      IT Agreements         Software License Agreement                                                           ‐
                           17485 Monterey Rd
                           Suite 201
                           MORGAN HILL, CA 95037

345 Instant Brands LLC     DOMAIN HOLDINGS GROUP LLC                     Service and Supply    Domain Name Acquisition Agreement                                                    ‐
                           2365 HAMPTON BRIDGE ROAD                      Agreements
                           DELRAY BEACH, FL 33445

346 Instant Brands LLC     Doublewide Publishing LLC dba Chop Secrets    Confidentiality       Non‐Disclosure Agreement                                                             ‐
                           14681 Midway Rd.                              Agreements
                           2nd Floor
                           Attn: Elaine O'Gorman, Managing Partner
                           ADDISON, TX 75001

347 Instant Brands Inc.    Doublewide Publishing, LLC dba Chop Secrets   License Agreements    License and Video Agreement                                                          ‐
                           14681 Midway Rd.
                           2nd Floor
                           Attn: Elaine O'Gorman, Managing Partner
                           ADDISON, TX 75001

348 Instant Brands LLC     Dow Jones & Company Inc                       Service and Supply    Subscription Renewal                                                                 ‐
                           1211 Ave of the Americas                      Agreements
                           NEW YORK, NY 10036
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 #       Debtor Entity                                    Counterparty      Agreement Type                              Agreement Description                    Proposed Cure Costs
349 Instant Brands LLC      Dow Jones & Company Inc                      Service and Supply   Subscription Renewal                                                                 ‐
                            1211 Ave of the Americas                     Agreements
                            NEW YORK, NY 10036

350 Instant Brands Holdings Drafted Commerce                             Confidentiality      NDA                                                                                 ‐
    Inc.                    4197 W Cedar Hills Dr                        Agreements
                            Cedar Hills, UT 84062

351 Instant Brands LLC      DSV Solutions Inc.                           Confidentiality      NDA                                                                                 ‐
                            Scandinavia House                            Agreements
                            Parkeston Harwich
                            ESSEX CO12 4QG
                            GREAT BRITAIN

352 Instant Brands LLC      DUN & BRADSTREET, INC.                       Confidentiality      Mutual Non‐Disclosure Agreement                                                     ‐
                            101 JFK Parkway                              Agreements
                            Short Hills, NJ 07078

353 Instant Brands LLC      EAN Services, LLC                            Service and Supply   Agreement ‐ Rental Car Pricing                                                      ‐
                            ATTN: BUSINESS RENTAL SALES DEPARTMENT       Agreements
                            600 CORPORATE PARK DRIVE
                            ST. LOUIS, MO 63105




354 Instant Brands Inc.     Earlyview Limited                            Intercompany         DA IB 2 Distribution Agreement ‐ Double Insights Inc ‐ Earlyview                    ‐
                            3025 HIGHLAND PARKWAY                        Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

355 Instant Brands Inc.     Earlyview Limited                            Intercompany         DA IB 2 Distributor Agreement Amendment IB to UK.pdf                                ‐
                            3025 HIGHLAND PARKWAY                        Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

356 Instant Brands Inc.     Easy Bake Productions, LLC                   License Agreements   Tradeout Agreement                                                                  ‐
                            2700 Pennsylvania Ave
                            Suite 1000
                            SANTA MONICA, CA 90404

357 Instant Brands LLC      Easy Ice, LLC                                Equipment Leases     Lease                                                                               ‐
                            232 AVENUE G
                            GWINN, MI 49841

358 Instant Brands LLC      Eccomation, LLC                              Customer Agreements Consignment Agreement                                                                ‐
                            12041 N. CYPRUS DR.
                            ATTN: GARRETT BLUHM
                            HIGHLAND, UT 84003

359 Instant Brands LLC      ECO CREDIT TRADERS LLC                       Confidentiality      DNA                                                                                 ‐
                            315 10th Ave S #204                          Agreements
                            KIRKLAND, WA 98033

360 Instant Brands LLC      Eco Credit Traders LLC                       Service and Supply   Low Carbon Fuel Standard Program Opt‐In Agreement                                   ‐
                            315 10th Ave S #204                          Agreements
                            KIRKLAND, WA 98033

361 Instant Brands LLC      Ecommation, LLC                              Customer Agreements Consignment Agreement                                                                ‐
                            12041 N. CYPRUS DR.
                            ATTN: GARRETT BLUHM
                            HIGHLAND, UT 84003

362 Instant Brands LLC      EDI Staffing                                 Service and Supply   Recruiting Agreement                                                                ‐
                            31 BELLOWS ROAD                              Agreements
                            PO BOX 116
                            RAYNHAM, MA 02767

363 Instant Brands LLC      Edward Don & Company                         Customer Agreements Supplier Terms Agreement                                                             ‐
                            9801 Adam Don Parkway
                            Attn: Vendor Compliance
                            WOODRIDGE, IL 60517

364 Instant Brands LLC      Elijah Ltd.                                  Service and Supply   Preferred Provider Agreement                                                592,013.10
                            205 W WACKER DR., STE 1950                   Agreements
                            CHICAGO, IL 60606

365 Instant Brands LLC      Emarsys North America, Inc.                  Service and Supply   SOW                                                                                 ‐
                            10 W. MARKET STREET                          Agreements
                            SUITE 1350
                            INDIANAPOLIS, IN 46204

366 Instant Brands LLC      Emarsys                                      IT Agreements        Commercial Agreement 2023                                                   105,080.00
                            10 W. MARKET STREET
                            SUITE 1350
                            INDIANAPOLIS, IN 46204

367 Instant Brands          Employee 1                                   Employment           Employment Agreement                                                                ‐
    Acquisition Holdings    3025 HIGHLAND PARKWAY                        Agreement
    Inc.                    SUITE 700
                            DOWNERS GROVE, IL 60515

368 Instant Brands Inc.     Employee 10                                  Employment           Employment Agreement                                                                ‐
                            3025 HIGHLAND PARKWAY                        Agreement
                            SUITE 700
                            DOWNERS GROVE, IL 60515
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 #       Debtor Entity                                Counterparty      Agreement Type                          Agreement Description   Proposed Cure Costs
369 Instant Brands Inc.   Employee 11                                Employment          Employment Agreement                                             ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

370 Instant Brands Inc.   Employee 12                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

371 Instant Brands Inc.   Employee 13                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

372 Instant Brands Inc.   Employee 14                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

373 Instant Brands Inc.   Employee 15                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

374 Instant Brands Inc.   Employee 16                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

375 Instant Brands Inc.   Employee 17                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

376 Instant Brands Inc.   Employee 18                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

377 Instant Brands Inc.   Employee 19                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

378 Instant Brands Holdings Employee 2                               Employment          Employment Agreement                                            ‐
    Inc.                    3025 HIGHLAND PARKWAY                    Agreement
                            SUITE 700
                            DOWNERS GROVE, IL 60515

379 Instant Brands Inc.   Employee 20                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

380 Instant Brands Inc.   Employee 21                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

381 Instant Brands Inc.   Employee 22                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

382 Instant Brands Inc.   Employee 23                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

383 Instant Brands Inc.   Employee 24                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

384 Instant Brands Inc.   Employee 25                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

385 Instant Brands Inc.   Employee 26                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

386 Instant Brands Inc.   Employee 27                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515

387 Instant Brands Inc.   Employee 28                                Employment          Employment Agreement                                            ‐
                          3025 HIGHLAND PARKWAY                      Agreement
                          SUITE 700
                          DOWNERS GROVE, IL 60515
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 #       Debtor Entity                                     Counterparty            Agreement Type                             Agreement Description   Proposed Cure Costs
388 Instant Brands Holdings Employee 3                                          Employment             Employment Agreement                                             ‐
    Inc.                    3025 HIGHLAND PARKWAY                               Agreement
                            SUITE 700
                            DOWNERS GROVE, IL 60515

389 Instant Brands Holdings Employee 4                                          Employment             Employment Agreement                                            ‐
    Inc.                    3025 HIGHLAND PARKWAY                               Agreement
                            SUITE 700
                            DOWNERS GROVE, IL 60515

390 Instant Brands Holdings Employee 5                                          Employment             Employment Agreement                                            ‐
    Inc.                    3025 HIGHLAND PARKWAY                               Agreement
                            SUITE 700
                            DOWNERS GROVE, IL 60515

391 Instant Brands Holdings Employee 6                                          Employment             Employment Agreement                                            ‐
    Inc.                    3025 HIGHLAND PARKWAY                               Agreement
                            SUITE 700
                            DOWNERS GROVE, IL 60515

392 Instant Brands Holdings Employee 7                                          Employment             Employment Agreement                                            ‐
    Inc.                    3025 HIGHLAND PARKWAY                               Agreement
                            SUITE 700
                            DOWNERS GROVE, IL 60515

393 Instant Brands Holdings Employee 8                                          Employment             Employment Agreement                                            ‐
    Inc.                    3025 HIGHLAND PARKWAY                               Agreement
                            SUITE 700
                            DOWNERS GROVE, IL 60515

394 Instant Brands Holdings Employee 9                                          Employment             Employment Agreement                                            ‐
    Inc.                    3025 HIGHLAND PARKWAY                               Agreement
                            SUITE 700
                            DOWNERS GROVE, IL 60515

395 Instant Brands LLC       Entertainment One Reality Productions, LLC         License Agreements     Tradeout Agreement                                              ‐
                             720 14th Street
                             Sacramento, CA 95814

396 Instant Brands LLC       Envoy                                              IT Agreements          Order                                                       515.00
                             410 TOWNSEND STREET, SUITE 410
                             SAN FRANCISCO, CA 94107

397 Instant Brands LLC       EPI‐USE America, Inc.                              Confidentiality        Mutual Non‐Disclosure Agreement                                 ‐
                             2002 Summit Blvd                                   Agreements
                             Suite 300
                             ATLANTA, GA 30319

398 Instant Brands LLC       Equinix LLC                                        Confidentiality        NDA_17‐Apr‐2023                                                 ‐
                             Worldwide Corporate Headquarters                   Agreements
                             One Lagoon Drive
                             4th Floor
                             REDWOOD CITY, CA 94065

399 Instant Brands Inc.      ETERNAL (GUANGDONG) TECH ELECTRIC CO.,LTD          Confidentiality        Non‐Disclosure Agreement                                        ‐
                             B5 South, Longzhou Road                            Agreements
                             Longjiang Residential Committee, Longjiang Town
                             Shunde District
                             FOSHAN CITY
                             CHINA

400 Instant Brands LLC       Etheric Networks, Inc.                             IT Agreements          Sales Order                                                     ‐
                             PO BOX 2266
                             REDWOOD CITY, CA 94064

401 Instant Brands           Euclid Transactional, LLC,                         Financial Agreements   Binder Agreement (#ET111‐001‐176)                               ‐
    Acquisition Holdings     1 Park Ave
    Inc.                     18th Floor
                             NEW YORK, NY 10016

402 Instant Brands LLC       Euler Hermes North America Insurance Company       Confidentiality        Non‐Disclosure Agreement                                        ‐
                             800 Red Brook Blvd                                 Agreements
                             OWINGS MILLS, MD 21117

403 Instant Brands LLC       Eurofins Microbiology Laboratories, Inc.           Confidentiality        NDA                                                             ‐
                             2200 Rittenhouse Street                            Agreements
                             Suite 175
                             DES MOINES, IA 50321

404 Instant Brands LLC       EXPEDITORS INTERNATIONAL OF WASHINGTON, INC.       Confidentiality        Non‐Disclosure Agreement                                        ‐
                             1015 Third Avenue                                  Agreements
                             SEATTLE, WA 98104

405 Instant Brands (Canada) Experis US, Inc. d/b/a Jefferson Wells              Service and Supply     SOW for MSA for IPO Readiness                                   ‐
    Holding Inc.            100 Manpower Place                                  Agreements
                            MILWAUKEE, WI 53212

406 Instant Brands Holdings EXPERIS US, INC. FOR ITS JEFFERSON WELLS DIVISION   Service and Supply     Master Services Agreement                                52,518.75
    Inc.                    100 Manpower Place                                  Agreements
                            MILWAUKEE, WI 53212

407 Instant Brands LLC       Express Employment Professionals                   Service and Supply     Rate Agreement                                                  ‐
                             11705 MOLLY PITCHER HWY                            Agreements
                             GREENCASTLE, PA 17225
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 #       Debtor Entity                                  Counterparty        Agreement Type                                Agreement Description   Proposed Cure Costs
408 Instant Brands LLC      Express Employment Professionals,            Service and Supply      Staffing Agreement                                                 ‐
                            11705 MOLLY PITCHER HWY                      Agreements
                            GREENCASTLE, PA 17225

409 Instant Brands Inc.     Extend, Inc.                                 Confidentiality         Non‐Disclosure Agreement                                          ‐
                            301 Spear St.                                Agreements
                            Suite 1410
                            SAN FRANCISCO, CA 94941

410 Instant Brands LLC      Fairkeep Ltd                                 Service and Supply      2016 Agreement                                                    ‐
                            FLAT/UNIT 1816                               Agreements
                            FO TAN INDUSTRIAL CENTRE
                            26‐28 AU PUI WAN STREET, FO TAN
                            HONG KONG
                            CHINA

411 Instant Brands LLC      FAIRMONT SUPPLY COMPANY                      Confidentiality         NDA                                                               ‐
                            437 Jefferson Ave.                           Agreements
                            WASHINGTON, PA 15301

412 Instant Brands LLC      Farcent Enterprise Co., Ltd.                 Customer Agreements 2020 Distribution Agreement                                           ‐
                            13F, No 230, Cheng Teh Rd, Sec 3
                            Taipei
                            TAIWAN

413 Instant Brands LLC      Farcent Enterprise Co., Ltd.                 Customer Agreements Renewal of Non‐Exclusive Distributor Agreement                        ‐
                            13F, No 230, Cheng Teh Rd, Sec 3
                            Taipei
                            TAIWAN

414 Instant Brands LLC      Fashion Electrical Appliances Mfg. Co. Ltd   Service and Supply      Product Development Agreement and SOW                             ‐
                            No. 24‐2, Fuan Industrial Zone Phase 1       Agreements
                            Liandu Village, Leliu town
                            Shunde District
                            FOSHAN CITY
                            CHINA

415 Instant Brands LLC      Fast Solutions                               Service and Supply      Fastenal Vending Agreement                                        ‐
                            2001 Theurer Blvd                            Agreements
                            Winona, MN 55987

416 Instant Brands LLC      Fastenal Company                             Service and Supply      Affiliation Agreement                                     161,549.31
                            PO BOX 1286                                  Agreements
                            WINONA, MN 55987‐1286

417 Instant Brands LLC      FAT QUARTER SHOP                             Service and Supply      Agreement                                                         ‐
                            2899 BUSINESS PARK DRIVE                     Agreements
                            BUDA, TX 78610

418 Instant Brands LLC      FEA Pro Technical Consulting Services        Confidentiality         NDA                                                               ‐
                            69080 County Rte. 10                         Agreements
                            BATH, NY 14810

419 Instant Brands LLC      FEApro Technical Consulting Services LLC     Service and Supply      MSA                                                               ‐
                            ATTN: GREGORY A. HENSHAW                     Agreements
                            6080 COUNTY ROUTE 10
                            BATH, NY 14810

420 Instant Brands LLC      FerniaCreek LLC                              Confidentiality         Non‐Disclosure Agreement                                          ‐
                            1200 NW South Outer Rd                       Agreements
                            Ste 324
                            Blue Springs, MO 64015

421 Instant Brands LLC      Ferrum Technology Corp                       Confidentiality         Non‐Disclosure Agreement                                          ‐
                            3555 SW SQUIRES WAY                          Agreements
                            MCMINNVILLE, OR 97128

422 Instant Brands LLC      FERRUM TECHNOLOGY                            Service and Supply      20220331082400_001.pdf                                            ‐
                            3555 SW SQUIRES WAY                          Agreements
                            MCMINNVILLE, OR 97128

423 Instant Brands LLC      FICS Incorporated                            Confidentiality         Non‐Disclosure Agreement                                          ‐
                            25 Community Drive                           Agreements
                            ADDISON, NY 14801

424 Instant Brands          FIRST Insurance Funding,                     Service and Supply      Amendment to Premium Financing Agreement                          ‐
    Acquisition Holdings    450 Skokie Blvd                              Agreements
    Inc.                    Suite 1000
                            NORTHBROOK, IL 60062

425 Instant Brands Holdings Fitch Ratings, Inc.                          Service and Supply      Fee Agreement re Debt Monitoring Service                          ‐
    Inc.                    70 WEST MADISON STREET                       Agreements
                            CHICAGO, IL 60602

426 Instant Brands LLC      Five Blocks Inc.                             Independent           Five Blocks ‐ Instant Brands ‐fully executed                 97,000.00
                            1562 FIRST AVE 205‐2880                      Contractor Agreements
                            NEW YORK, NY 10028‐4004

427 Instant Brands Holdings FIVES STEIN LIMITED                          Confidentiality         Mutual Non‐Disclosure Agreement                                   ‐
    Inc.                    4A Churchward                                Agreements
                            Southmead Park
                            Didcot
                            Oxon OX11 7HB
                            UNITED KINGDOM
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 #       Debtor Entity                                  Counterparty                           Agreement Type                            Agreement Description     Proposed Cure Costs
428 Instant Brands LLC    Flower City Printing                                              Service and Supply     Second Amendment to Restated Supply Agreement             37,035.40
                          1725 MT READ BOULEVARD                                            Agreements
                          60680
                          ROCHESTER, NY 14606

429 Instant Brands LLC    Foodservice Equipment                                             Confidentiality        NDA                                                              ‐
                          2906 Central Street                                               Agreements
                          Suite 175
                          EVANSTON, IL 60201

430 Instant Brands LLC    FOREST HARLEM PROPERTIES LIMITED PARTNERSHIP                      Real Property Leases   First Amendment to Lease ‐ #277, Norridge, IL                    ‐
                          C/O THE HARLEM IRVING COS, INC.
                          ATTN: GENERAL MANAGER
                          4104 NORTH HARLEM AVENUE
                          NORRIDGE, IL 60706

431 Instant Brands LLC    Forest Harlem Properties LP                                       Real Property Leases   Lease ‐#277, Norridge, IL                                 40,247.58
                          C/O THE HARLEM IRVING COS, INC.
                          ATTN: GENERAL MANAGER
                          4104 NORTH HARLEM AVENUE
                          NORRIDGE, IL 60706




432 Instant Brands LLC    Fortune Tech Home Appliances Co., Ltd                             Service and Supply     Fortune Auto Tamping Exclusivity Agreement                 3,246.48
                          JOINT FACTORY BUILDING 2, NO. 21 KE                               Agreements
                          ZHUHAI 519085
                          CHINA

433 Instant Brands Inc.   FoShan ShunDe Midea Electrical Heating Appliances Manufacturing   Confidentiality        Non‐Disclosure Agreement                                         ‐
                          Company Limited                                                   Agreements
                          O.19 SAN LE ROAD BEIJIAO
                          SHUNDE
                          FOSHAN CITY 528311
                          CHINA

434 Instant Brands Inc.   Foshan Weking HOME Appliances Co., Ltd.                           Service and Supply     Supply Agreement Template                                        ‐
                          NO. 6 SHUNYUAN NORTH ROAD                                         Agreements
                          FOSHAN 528300
                          CHINA

435 Instant Brands LLC    Frank de Paula Inc.                                               Confidentiality        Mutual NDA                                                       ‐
                          757 North Greenway Drive                                          Agreements
                          CORAL GABLES, FL 33134

436 Instant Brands LLC    Frarom International                                              Customer Agreements Distribution Letter Agreement                                       ‐
                          Petre Vancea 3, 700107, lasi 707515

                          ROMANIA

437 Instant Brands LLC    Frarom International                                              Customer Agreements Distribution Letter Agreement                                       ‐
                          Petre Vancea 3, 700107, lasi 707515

                          ROMANIA

438 Instant Brands LLC    Fujian Longtai Bamboo Industry Incorporated Company               Service and Supply     Supply Agreement                                                 ‐
                          No. 37‐1 Huang Hua Shan Road                                      Agreements
                          Jian Yang
                          FUJIANN
                          CHINA

439 Instant Brands LLC    Fusion Ceramics Inc.                                              Confidentiality        Non‐Disclosure Agreement                                         ‐
                          PO Box 127                                                        Agreements
                          CARROLTON, OH 44615

440 Instant Brands LLC    FUTONG INDUSTRIES CO., LTD                                        Service and Supply     Supply Agreement                                                 ‐
                          NO. 3, JINTIAN RD                                                 Agreements
                          NAHUO INDUSTRIAL ZONE
                          YANGDONG, YANGJIANG CITY
                          GUANGDONG
                          CHINA

441 Instant Brands LLC    FUTURE RETAIL LIMITED                                             Customer Agreements Customer Agreement                                                  ‐
                          Knowledge House, Shyam Nagar
                          Off. Joeshwari‐Vikroli Link Road, Jogeshwari
                          Mumbai 400060
                          INDIA

442 Instant Brands LLC    Gama Elit EDOO                                                    Customer Agreements Distributor Letter Agreement                                        ‐
                          Blvd. "Cherni vrah" 100, 1407 Hladilnika
                          Sofia
                          BULGARIA

443 Instant Brands Inc.   Gartner, Inc.                                                     IT Agreements          SERVICE ORDER (Q‐00044069)                                       ‐
                          56 TOP GALLANT ROAD
                          STAMFORD, CT 06902

444 Instant Brands LLC    Gartner, Inc.                                                     IT Agreements          Service Agreement                                         78,957.75
                          56 TOP GALLANT ROAD
                          STAMFORD, CT 06902

445 Instant Brands LLC    Gartner, Inc.                                                     Service and Supply     SO January 2023                                                  ‐
                          56 TOP GALLANT ROAD                                               Agreements
                          STAMFORD, CT 06902
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 #       Debtor Entity                                   Counterparty      Agreement Type                               Agreement Description   Proposed Cure Costs
446 Instant Brands LLC     GEMINI GROUP INC.                            Confidentiality        NDA                                                                ‐
                           Attn: T.L. Bushey                            Agreements
                           175 Thompson Road
                           Bad Axe, MI 48413

447 Instant Brands LLC     GEN3 Marketing, LLC                          Service and Supply     Instant Brands Agreement 091422                            70,000.00
                           960B HARVEST DRIVE                           Agreements
                           SUITE 210
                           BLUE BELL, PA 19422

448 Instant Brands LLC     Genesis Energy, LP (d/b/a Genesis Alkali)    Service and Supply     Amendment to 2005 Supply Agreement                          1,600.00
                           1735 Market Street                           Agreements
                           PHILADELPHIA, PA 19103

449 Instant Brands Inc.    GenoPalate, Inc.                             Confidentiality        Mutual Non‐Disclosure Agreement                                   ‐
                           10437 W. Innovation Dr.                      Agreements
                           Suite 518
                           MILWAUKEE, WI 53226

450 Instant Brands LLC     Georgia SoftWorks                            IT Agreements          Estimate                                                          ‐
                           PO BOX 567
                           DAWSONVILLE, GA 30534

451 Instant Brands Inc.    Get Drop                                     IT Agreements          Escrow Agreement                                                  ‐
                           600 CALIFORNIA STREET
                           14TH FLOOR
                           SAN FRANCISCO, CA 94108

452 Instant Brands Holdings Gileno Distribution Services                Real Property Leases   Amendment 3 to Sublease (Eff. Date 2023 02 01)                    ‐
    Inc.                    7130 SYCAMORE CANYON BIVD.
                            SUITE A
                            RIVERSIDE, CA 92508

453 Instant Brands Holdings Gileno Distribution Services                Real Property Leases   Amendment 1 to Sublease                                           ‐
    Inc.                    7130 SYCAMORE CANYON BIVD.
                            SUITE A
                            RIVERSIDE, CA 92508

454 Instant Brands Holdings Gileno Distribution Services                Real Property Leases   Sublease Parking Area Riverside                                   ‐
    Inc.                    7130 SYCAMORE CANYON BIVD.
                            SUITE A
                            RIVERSIDE, CA 92508

455 Instant Brands Holdings Gileno Distribution Services                Real Property Leases   Sublease                                                          ‐
    Inc.                    7130 SYCAMORE CANYON BIVD.
                            SUITE A
                            RIVERSIDE, CA 92508

456 Instant Brands Holdings Gileno Distribution Services.               Real Property Leases   SRS‐INVENTO22113008520                                            ‐
    Inc.                    7130 SYCAMORE CANYON BIVD.
                            SUITE A
                            RIVERSIDE, CA 92508

457 Instant Brands LLC     Glen House                                   Service and Supply     SOW                                                               ‐
                           3399 SCAR HILL ROAD                          Agreements
                           GREENCASTLE, PA 17225

458 Instant Brands LLC     Global Data Consultants, LLC                 Service and Supply     Application Support Services_20220519004                          ‐
                           ATTENTION: THOMAS J. TRGOVAC                 Agreements
                           1144 KENNEBEC DRIVE
                           CHAMBERSBURG, PA 17201

459 Instant Brands LLC     Global Data Consultants, LLC                 IT Agreements          Information Technology Service Agreement                          ‐
                           ATTENTION: THOMAS J. TRGOVAC
                           1144 KENNEBEC DRIVE
                           CHAMBERSBURG, PA 17201

460 Instant Brands LLC     Global Data Consultants, LLC                 IT Agreements          SOW                                                               ‐
                           ATTENTION: THOMAS J. TRGOVAC
                           1144 KENNEBEC DRIVE
                           CHAMBERSBURG, PA 17201

461 Instant Brands LLC     Golin/Harris International                   Confidentiality        Mutual NDA                                                        ‐
                           875 N. Michigan Ave, Chicago, IL 60611       Agreements
                           CHICAGO, IL 60611

462 Instant Brands LLC     Good Moose LLC                               Confidentiality        MNDA ‐ v.1.12.21                                                  ‐
                           20 Jay Street                                Agreements
                           Suite 420
                           BROOKLYN, NY 11201

463 Instant Brands Inc.    Gournay Consulting LLC                       Service and Supply     Statement of Work                                                 ‐
                           24 FORREST BLEND DRIVE                       Agreements
                           TITUSVILLE, NJ 08560

464 Instant Brands LLC     GP CORRUGATED LLC                            Confidentiality        Mutual Non‐Disclosure Agreement                                   ‐
                           133 Peachtree St. ne                         Agreements
                           ATLANTA, GA 30303

465 Instant Brands LLC     Grantek                                      Confidentiality        Non Disclosure Agreement                                          ‐
                           1651 N. Cedar Crest Blvd                     Agreements
                           Suite 205
                           ALLENTOWN, PA 18104
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 #       Debtor Entity                                    Counterparty                            Agreement Type                            Agreement Description         Proposed Cure Costs
466 Instant Brands Holdings Grocery Delivery E‐Services USA Inc. d/b/a HelloFresh              Confidentiality       Mutual NDA                                                             ‐
    Inc.                    Attn: US Legal                                                     Agreements
                            28 Liberty Street
                            10th Floor
                            NEW YORK, NY 10005

467 Instant Brands LLC       GRS Group                                                         Service and Supply    Corningware ESA.PCA proposal 08016022                                 ‐
                             1454 SHEPPERTON DRIVE                                             Agreements
                             WADSWORTH, OH 44281

468 Instant Brands Holdings GRUPO VASCONIA, S.AB.                                              Confidentiality       Non‐Disclosure Agreement                                              ‐
    Inc.                    #346, Colonia El Partidor                                          Agreements
                            Cuautitlan, C.P.
                            Cuautitlan, C.P. 54897
                            MEXICO

469 Instant Brands LLC       GS HomeShopping Inc.                                              Customer Agreements Non‐Exclusive Distributor Agreement                                     ‐
                             GS Gangseo Tower, 75, Seonyu‐ro, Yeongdeungpo‐Gu
                             Seoul 07280
                             Korea

470 Instant Brands Inc.      Guandong Xinbao Electrical Appliances Holdings Co, LTD            Confidentiality       Non‐Disclosure Agreement                                              ‐
                             LONGZHOU ROAD                                                     Agreements
                             LELIU TOWN
                             SHUNDE DISTRICT
                             FOSHAN CITY
                             CHINA

471 Instant Brands LLC       Guangdon Xinbao Electrical Appliance Holdings Co., Ltd            Service and Supply    3‐1 Coffee Development Agreement                                      ‐
                             LONGZHOU ROAD                                                     Agreements
                             LELIU TOWN
                             SHUNDE DISTRICT
                             FOSHAN CITY
                             CHINA

472 Instant Brands LLC       GuangDong Elec‐tech Retop LED Display Co., Ltd                    Service and Supply    Tooling Agreement_10 Cup Grind Brew dated 20221124                    ‐
                             FIRST PHASE PLANT, NO.1 ZHONGZHU SO                               Agreements
                             ZHUHAI 519005
                             CHINA

473 Instant Brands Inc.      Guangdong Enaiter Electrical Applainces. Co. Itd.                 Service and Supply    Supply Agreement                                              240,708.17
                             No. 5 Donghai road                                                Agreements
                             Dongfeng town
                             Zhongshan
                             CHINA

474 Instant Brands Holdings Guangdong Haixing Plastic & Rubber Co., Ltd                        Confidentiality       Non‐Disclosure Agreement                                              ‐
    Inc.                    Rd No. 3 Zhumei                                                    Agreements
                            Jiedong Economic Testing Zone
                            JIEYANG
                            CHINA

475 Instant Brands LLC       Guangdong Jinhui Knife and Scissors Incorporated company Ltd      Service and Supply    Supply Agreement                                                      ‐
                             Wanxiang Industrial District                                      Agreements
                             YANGJIANG
                             CHINA

476 Instant Brands LLC       Guangdong Jinhui Knife and Scissors                               Service and Supply    Supply Agreement                                                      ‐
                             Wanxiang Industrial District                                      Agreements
                             YANGJIANG
                             CHINA

477 Instant Brands Inc.      GuangDong Midea Consumer Electric Manufacturing Company Limited   Service and Supply    Agreement                                                  11,111,684.49
                             O.19 SAN LE ROAD BEIJIAO                                          Agreements
                             SHUNDE
                             FOSHAN CITY 528311
                             CHINA

478 Instant Brands LLC       GuangDong Midea Consumer Electric Manufacturing Company Limited   Service and Supply    Supply Agreement                                                      ‐
                             O.19 SAN LE ROAD BEIJIAO                                          Agreements
                             SHUNDE
                             FOSHAN CITY 528311
                             CHINA

479 Instant Brands Inc.      Guangdong Xinbao Electrical Appliances Holdings Co. Ltd           Confidentiality       NDA                                                                   ‐
                             LONGZHOU ROAD                                                     Agreements
                             LELIU TOWN
                             SHUNDE DISTRICT
                             FOSHAN CITY
                             CHINA

480 Instant Brands Inc.      Guangdong Xinbao Electrical Appliances Holdings Co., Ltd          License Agreements    Trademark License Agreement                                           ‐
                             LONGZHOU ROAD
                             LELIU TOWN
                             SHUNDE DISTRICT
                             FOSHAN CITY
                             CHINA

481 Instant Brands Inc.      Hachette Book Group, Inc.                                         License Agreements    1st Amendment to Trademark License                                    ‐
                             1290 AVENUE OF THE AMERICAS
                             ATTN: REAGAN ARTHUR
                             NEW YORK, NY 10104
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 #       Debtor Entity                                Counterparty                                       Agreement Type                            Agreement Description   Proposed Cure Costs
482 Instant Brands Inc.     Hachette Book Group, Inc.                                                License Agreements     1st Amendment to Trademark License                               ‐
                            1290 AVENUE OF THE AMERICAS
                            ATTN: REAGAN ARTHUR
                            NEW YORK, NY 10104

483 Instant Brands Inc.     HACHETTE BOOK GROUP, INC.                                                License Agreements     Trademark License                                               ‐
                            1290 AVENUE OF THE AMERICAS
                            ATTN: REAGAN ARTHUR
                            NEW YORK, NY 10104

484 Instant Brands Inc.     HACHETTE BOOK GROUP, INC.                                                License Agreements     Trademark License                                               ‐
                            1290 AVENUE OF THE AMERICAS
                            ATTN: REAGAN ARTHUR
                            NEW YORK, NY 10104

485 Instant Brands Inc.     Hachette Books, an imprint of Perseus Books, LLC, a subsidiary of Hachette License Agreements   Amendment 1 to Trademark License                                ‐
                            Book Group, Inc.
                            1290 AVENUE OF THE AMERICAS
                            ATTN: REAGAN ARTHUR
                            NEW YORK, NY 10104

486 Instant Brands LLC      Hamburg SUD A/S                                                          Service and Supply     Transportation Agreement                                        ‐
                            ESPLANADEN 50                                                            Agreements
                            COPENHAGEN 1263
                            DENMARK

487 Instant Brands Inc.     HarperCollins Publishers LLC                                             License Agreements     Trademark License Agreement                                     ‐
                            195 BROADWAY
                            ATTN: DEB BRODY
                            NEW YORK, NY 10007

488 Instant Brands LLC      Hays Companies                                                           Confidentiality        NDA                                                             ‐
                            1 S Wacker Dr                                                            Agreements
                            Ste 3350
                            CHICAGO, IL 60606

489 Instant Brands Holdings Hays Companies, Inc.                                                     Service and Supply     HIPAA Business Associate Agreement                              ‐
    Inc.                    1 S Wacker Dr                                                            Agreements
                            Ste 3350
                            CHICAGO, IL 60606

490 Instant Brands LLC      HEARST MAGAZINE MEDIA, INC.                                              Confidentiality        NDA                                                             ‐
                            300 West 57th Street                                                     Agreements
                            NEW YORK, NY 10019

491 Instant Brands Inc.     Heathland Corporation Limited                                            Service and Supply     Agreement                                                       ‐
                            BUILDING 1, YONGXIN INDUSTRY ZONE,                                       Agreements
                            SHENZHEN 518115
                            CHINA

492 Instant Brands LLC      Hebei MSD Glass technology Co., Ltd                                      Service and Supply     Agreement                                                       ‐
                            XINQU, HEJIAN                                                            Agreements
                            HEBEI
                            CHINA

493 Instant Brands Holdings Heck Inc.                                                                Confidentiality        Mutual NDA                                                      ‐
    Inc.                    534 MANDEVILLA DR.                                                       Agreements
                            BRENTWOOD, CA 94513

494 Instant Brands LLC      Heraeus Deutschland GmbH & Co KG                                         Confidentiality        NDA                                                             ‐
                            HeraeusstraBe 12‐14                                                      Agreements
                            HANAU 63450
                            GERMANY

495 Instant Brands Inc.     HFCC Limited                                                             Service and Supply     Consultancy Agreement                                           ‐
                            8A NEW ROAD                                                              Agreements
                            MEPAL, ELY
                            CAMBRIDGESHIRE CB6 2AP
                            UNITED KINGDOM

496 Instant Brands LLC      HFW Industries                                                           Confidentiality        Non‐Disclosure Agreement                                        ‐
                            196 Philadelphia Street                                                  Agreements
                            BUFFALO, NY 14207

497 Instant Brands LLC      High Peak Concepts, LLC                                                  Confidentiality        Mutual NDA                                                      ‐
                            PO BOX 1142                                                              Agreements
                            SARANAC LAKE, NY 12983

498 Instant Brands LLC      HighRadius Corporation                                                   IT Agreements          Change Order #1 to SOW #2                                       ‐
                            200 WESTLAKE PARK BLVD., SUITE 800
                            ATTN: LEGAL DEPARTMENT
                            HOUSTON, TX 77079

499 Instant Brands LLC      HighRadius Corporation                                                   IT Agreements          SOW/Order Form #201                                             ‐
                            200 WESTLAKE PARK BLVD., SUITE 800
                            ATTN: LEGAL DEPARTMENT
                            HOUSTON, TX 77079

500 Instant Brands LLC      HighRadius Corporation                                                   IT Agreements          1st Amendment to Schedule 102                                   ‐
                            200 WESTLAKE PARK BLVD., SUITE 800
                            ATTN: LEGAL DEPARTMENT
                            HOUSTON, TX 77079
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 #       Debtor Entity                                Counterparty            Agreement Type                            Agreement Description                       Proposed Cure Costs
501 Instant Brands LLC     HighRadius Corporation                         IT Agreements        Master Subscription Agreement and Order containing 2 Statements of             34,500.00
                           200 WESTLAKE PARK BLVD., SUITE 800                                  Work
                           ATTN: LEGAL DEPARTMENT
                           HOUSTON, TX 77079

502 Corelle Brands (Canada) Home Depot Canada                             Service and Supply   In Store Service Agreement                                                            ‐
    Inc.                    c/o Home Depot of Canada                      Agreements
                            2455 Paces Ferry Road
                            ATLANTA, GA 30339

503 Corelle Brands (Canada) Home Depot of Canada Inc.                     Service and Supply   Supplier Buying Agreement ‐ OLFA                                                      ‐
    Inc.                    c/o Home Depot of Canada                      Agreements
                            2455 Paces Ferry Road
                            ATLANTA, GA 30339

504 Instant Brands LLC     Home Depot of Canada                           Service and Supply   Canadian Rebate Agreement                                                             ‐
                           C/O HOME DEPOT OF CANADA                       Agreements
                           2455 PACES FERRY ROAD
                           ATLANTA, GA 30339

505 Instant Brands LLC     Home Depot of Canada,                          Service and Supply   Canadian Marketing Agreement                                                          ‐
                           c/o Home Depot of Canada                       Agreements
                           2455 Paces Ferry Road
                           ATLANTA, GA 30339

506 Instant Brands LLC     Home Depot Product Authority, LLC.,            Customer Agreements SBA_2079_corelle 12787                                                                 ‐
                           2455 Paces Ferry Rd SE
                           ATLANTA, GA 30339

507 Instant Brands LLC     Home Depot Product Authority, LLC.,            Customer Agreements SBA_17283_corelle 19621                                                                ‐
                           2455 Paces Ferry Rd SE
                           ATLANTA, GA 30339

508 Instant Brands LLC     Home Depot Product Authority, LLC.,            Customer Agreements SBA_38064_corelle 60010233                                                             ‐
                           2455 Paces Ferry Rd SE
                           ATLANTA, GA 30339

509 Instant Brands LLC     Home Depot Product Authority, LLC.,            Customer Agreements SBA_17432_world kitchen 19561                                                          ‐
                           2455 Paces Ferry Rd SE
                           ATLANTA, GA 30339

510 Corelle Brands (Canada) Home Hardware Stores Limited                  Customer Agreements Defective Product Agreement                                                            ‐
    Inc.                    34 Henry Street West St
                            Jacobs, ON NOB 2N0
                            CANADA

511 Corelle Brands (Canada) HOME HARDWARE STORES LIMITED                  Customer Agreements Partnership Agreement                                                                  ‐
    Inc.                    34 Henry Street West St
                            Jacobs, ON NOB 2N0
                            CANADA

512 Corelle Brands (Canada) Home Hardware Stores Limited                  Customer Agreements Supplier Guide                                                                         ‐
    Inc.                    34 Henry Street West St
                            Jacobs, ON NOB 2N0
                            CANADA

513 Corelle Brands (Canada) Home Hardware Stores Limited                  Customer Agreements Vendor Agreement                                                                       ‐
    Inc.                    34 Henry Street West St
                            Jacobs, ON NOB 2N0
                            CANADA

514 Instant Brands LLC     Home Union International Ltd.                  Service and Supply   Supply Agreement                                                                      ‐
                           RM1314A, LIPPO SUN PLAZA                       Agreements
                           28 CANTON ROAD
                           HONG KONG
                           CHINA

515 Instant Brands LLC     Horizon Solutions LLC                          Confidentiality      Non Disclosure Agreement                                                              ‐
                           175 Josons Drive                               Agreements
                           ROCHESTER, NY 14623

516 Instant Brands Inc.    HOUGHTON MIFFLIN HARCOURT PUBLISHING COMPANY   Confidentiality      Non‐Disclosure Agreement                                                              ‐
                           3 Park Avenue                                  Agreements
                           Floor 19
                           NEW YORK, NY 10016

517 Instant Brands LLC     Hubbard Enterprises                            Confidentiality      Mutual Non‐Disclosure Agreement                                                       ‐
                           1068 Winston Court                             Agreements
                           WESTLAKE VILLAGE, CA 91361

518 Instant Brands LLC     HUGE LLC                                       Service and Supply   Master Services Agreement                                                             ‐
                           45 MAIN STREET, THIRD FLOOR                    Agreements
                           ATTN: SCOTT SCHREIBER
                           BROOKLYN, NY 11201

519 Instant Brands LLC     Huntington Technology Finance                  Equipment Leases     Lease Agreement (GN Printer)                                                          ‐
                           ATTN: SMBX CONTRACTS
                           2285 FRANKLIN ROAD
                           BLOOMFIELD HILLS, MI 48302

520 Instant Brands LLC     Hydration Labs, Inc.                           Equipment Leases     Agreement                                                                       4,200.00
                           529 MAIN STREET
                           SUITE 304
                           CHARLESTOWN, MA 02129
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 #       Debtor Entity                                    Counterparty            Agreement Type                             Agreement Description               Proposed Cure Costs
521 Instant Brands LLC     IFG International Financial Group of Chicago, LLC   Independent           SOW                                                                    3,500.00
                           200 N. LASALLE SUITE 1930                           Contractor Agreements
                           CHICAGO, IL 60601

522 Instant Brands LLC     IHS Global Inc                                      Service and Supply    Agreement 00664309                                                           ‐
                           15 INVERNESS WAY EAST                               Agreements
                           ENGLEWOOD, CO 80112‐5710

523 Instant Brands LLC     Impact Logistics Inc                                Service and Supply    Rate Agreement 2022                                                          ‐
                           7980 N. BROTHER BLVD.                               Agreements
                           MEMPHIS, TN 38133

524 Instant Brands LLC     Impact Logistics, Inc                               Service and Supply    Services Agreement                                                     5,840.00
                           7980 N. BROTHER BLVD.                               Agreements
                           MEMPHIS, TN 38133

525 Instant Brands LLC     IMR Test Labs                                       Service and Supply    Services Agreement                                                           ‐
                           131 WOODSEDGE DR                                    Agreements
                           LANSING, NY 14882

526 Instant Brands LLC     inContact                                           Service and Supply    Standard Terms of Use                                                        ‐
                           75 WEST TOWN RIDGE PARKWAY, TOWER 1                 Agreements
                           SANDY, UT 84070

527 Instant Brands LLC     inContact, Inc.                                     IT Agreements         Service Agreement                                                     65,045.12
                           75 WEST TOWN RIDGE PARKWAY, TOWER 1
                           SANDY, UT 84070

528 Instant Brands LLC     Independent Contractor 1                            Independent           Amendment 1 to Independent Contractor Agreement and SOW                      ‐
                           3025 HIGHLAND PARKWAY                               Contractor Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

529 Instant Brands LLC     Independent Contractor 1                            Independent           Independent Contractor Agreement                                             ‐
                           3025 HIGHLAND PARKWAY                               Contractor Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

530 Instant Brands LLC     Independent Contractor 10                           Independent           Amendment No. 1 to Independent Contractor Agreement                          ‐
                           3025 HIGHLAND PARKWAY                               Contractor Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

531 Instant Brands LLC     Independent Contractor 10                           Independent           Independent Contractor Agreement                                             ‐
                           3025 HIGHLAND PARKWAY                               Contractor Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

532 Instant Brands LLC     Independent Contractor 11                           Independent           Amendment 2 to Independent Contractor Agreement                              ‐
                           3025 HIGHLAND PARKWAY                               Contractor Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

533 Instant Brands LLC     Independent Contractor 11                           Independent           Amendment 1 to Independent Contractor Agreement                              ‐
                           3025 HIGHLAND PARKWAY                               Contractor Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

534 Instant Brands LLC     Independent Contractor 11                           Independent           Independent Contractor Agreement                                             ‐
                           3025 HIGHLAND PARKWAY                               Contractor Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

535 Instant Brands LLC     Independent Contractor 12                           Independent           Independent Contractor Agreement (Social Media Moderator)                    ‐
                           3025 HIGHLAND PARKWAY                               Contractor Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

536 Instant Brands Holdings Independent Contractor 13                          Independent           Professional Services Agreement                                              ‐
    Inc.                    3025 HIGHLAND PARKWAY                              Contractor Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

537 Instant Brands LLC     Independent Contractor 14                           Independent           Independent Contractor Agreement                                             ‐
                           3025 HIGHLAND PARKWAY                               Contractor Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

538 Instant Brands LLC     Independent Contractor 15                           Independent           Independent Contractor Agreement (Social Media Moderator)                    ‐
                           3025 HIGHLAND PARKWAY                               Contractor Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

539 Instant Brands LLC     Independent Contractor 16                           Independent           Amendment No. 2 to Independent Contractor Agreement                          ‐
                           3025 HIGHLAND PARKWAY                               Contractor Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

540 Instant Brands LLC     Independent Contractor 17                           Independent           Amendment No. 1                                                              ‐
                           3025 HIGHLAND PARKWAY                               Contractor Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515
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 #       Debtor Entity                                      Counterparty            Agreement Type                               Agreement Description             Proposed Cure Costs
541 Instant Brands Holdings Independent Contractor 2                             Independent           Professional Services Agreement                                               ‐
    Inc.                    3025 HIGHLAND PARKWAY                                Contractor Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

542 Instant Brands LLC      Independent Contractor 3                             Independent           Independent Contractor Agreement (Retainer)                                  ‐
                            3025 HIGHLAND PARKWAY                                Contractor Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

543 Instant Brands LLC      Independent Contractor 4                             Independent           Independent Contractor Agreement (Social Media Moderator)                    ‐
                            3025 HIGHLAND PARKWAY                                Contractor Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

544 Instant Brands Inc.     Independent Contractor 5                             Independent           3rd Amendment                                                                ‐
                            3025 HIGHLAND PARKWAY                                Contractor Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

545 Instant Brands LLC      Independent Contractor 6                             Independent           Independent Contractor Agreement (Social Media Moderator)                    ‐
                            3025 HIGHLAND PARKWAY                                Contractor Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

546 Instant Brands LLC      Independent Contractor 7                             Independent           Independent Contractor Agreement                                             ‐
                            3025 HIGHLAND PARKWAY                                Contractor Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

547 Instant Brands LLC      Independent Contractor 8                             Independent           Independent Contractor Agreement (Social Media Moderator)                    ‐
                            3025 HIGHLAND PARKWAY                                Contractor Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

548 Instant Brands LLC      Independent Contractor 9                             Independent           Independent Contractor Agreement (Social Media Moderator)                    ‐
                            3025 HIGHLAND PARKWAY                                Contractor Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

549 Instant Brands Holdings Industrias Man de Mexico Sa De CV                    Confidentiality       Mutual NDA                                                                   ‐
    Inc.                    AVENIDA 5‐103                                        Agreements
                            COLONIA GRANJAS SAN ANTONIO
                            ISTAPALAPA 9070
                            MEXICO

550 Instant Brands Inc.     INFLOW TECHNOLOGY                                    IT Agreements         SOW for Solidworks PDM                                                       ‐
                            #33 & 34, Indiranagar 1st stage, off 100 feet road
                            Bangalore 560038
                            INDIA

551 Instant Brands LLC      Innovo Concepts, LLC                                 Confidentiality       Mutual NDA                                                                   ‐
                            1266 EVERGREEN AVE.                                  Agreements
                            DES PLAINES, IL 60016

552 Instant Brands Inc.     Instant Brands (Australia) Pty Ltd                   Intercompany          Distribution Agreement IB Inc with CB Australia                              ‐
                            3025 HIGHLAND PARKWAY                                Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

553 Instant Brands LLC      Instant Brands (Australia) Pty Ltd                   Intercompany          Intercompany Services Agreement CB LLC with CB Australia                     ‐
                            3025 HIGHLAND PARKWAY                                Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

554 Instant Brands LLC      Instant Brands (Australia) Pty Ltd                   Intercompany          Intercompany Services Agreement CB LLC with CB Australia                     ‐
                            3025 HIGHLAND PARKWAY                                Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

555 Instant Brands LLC      Instant Brands (Australia) Pty Ltd.                  Intercompany          Distribution Agreement CB LLC with CB Australia                              ‐
                            3025 HIGHLAND PARKWAY                                Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

556 Instant Brands LLC      Instant Brands (EMEA) Ltd                            Intercompany          2021 Intercompany Transfer Pricing True‐up Agreement                         ‐
                            3025 HIGHLAND PARKWAY                                Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

557 Instant Brands LLC      Instant Brands (EMEA) Ltd                            Intercompany          DA CB 4 Distributor Agreement ‐ US ‐ UK (unsigned)                           ‐
                            3025 HIGHLAND PARKWAY                                Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

558 Instant Brands LLC      Instant Brands (EMEA) Ltd                            Intercompany          Intercompany Services Agreement CB LLC with IB EMEA                          ‐
                            3025 HIGHLAND PARKWAY                                Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

559 Instant Brands Inc.     Instant Brands (EMEA) Ltd                            Intercompany          Intercompany Services Agreement IB Inc with IB EMEA                          ‐
                            3025 HIGHLAND PARKWAY                                Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515
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 #       Debtor Entity                                        Counterparty               Agreement Type                             Agreement Description                           Proposed Cure Costs
560 Instant Brands LLC       Instant Brands (Korea) Co. Ltd                          Intercompany           Intercompany Services Agreement CB LLC with CB Korea                                      ‐
                             3025 HIGHLAND PARKWAY                                   Agreements
                             SUITE 700
                             DOWNERS GROVE, IL 60515

561 Instant Brands Inc.      Instant Brands Acquisition Holdings Inc.                Intercompany           lntellectual Property Assignment Agreement                                               ‐
                             3025 HIGHLAND PARKWAY                                   Agreements
                             SUITE 700
                             DOWNERS GROVE, IL 60515

562 URS‐1 (Charleroi) LLC    Instant Brands Holdings Inc.                            Real Property Leases   Lease Agreement (PA)                                                                     ‐
                             3025 HIGHLAND PARKWAY
                             SUITE 700
                             DOWNERS GROVE, IL 60515

563 Corelle Brands (Canada) Instant Brands Holdings Inc.,                            Intercompany           Intercompany Note between Corelle Brands (Canada) Inc. and Corelle                       ‐
    Inc.                    3025 HIGHLAND PARKWAY                                    Agreements             Brands Holdings Inc
                            SUITE 700
                            DOWNERS GROVE, IL 60515

564 Corelle Brands (Canada) Instant Brands Holdings Inc.,                            Intercompany           Interest‐bearing promissory note by CB Canada in favor of CB Holdings                    ‐
    Inc.                    3025 HIGHLAND PARKWAY                                    Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

565 URS‐2 (Corning) LLC      Instant Brands LLC                                      Real Property Leases   Lease Agreement (NY)                                                                     ‐
                             3025 HIGHLAND PARKWAY
                             SUITE 700
                             DOWNERS GROVE, IL 60515

566 Instant Brands Holdings INTACT Insurance Company                                 Confidentiality        Non‐Disclosure Agreement                                                                 ‐
    Inc.                    4 Robert Speck Parkway                                   Agreements
                            Suite 100
                            Mississauga, ON L4X 1S1
                            CANADA

567 Instant Brands LLC       Integer Denver, A Division of The Integer Group, LLC.   Service and Supply     Agreement                                                                                ‐
                             7245 West Alaska Drive                                  Agreements
                             Attn: Jennifer Tyus
                             LAKEWOOD, CO 80226




568 Instant Brands Inc.      Intego Co. dba Clyde                                    Confidentiality        Mutual Non‐Disclosure Agreement                                                          ‐
                             579 Broadway #2C                                        Agreements
                             NEW YORK, NY 10012

569 Instant Brands Inc.      Intego Co. dba Clyde                                    Confidentiality        Non‐Disclosure Agreement                                                                 ‐
                             579 Broadway #2C                                        Agreements
                             NEW YORK, NY 10012

570 Instant Brands LLC       Intellinet Consulting, LLC                              Service and Supply     Master Agreement                                                                         ‐
                             ATTN: FINANCE DEPARTMENT                                Agreements
                             TWO CONCOURSE PARKWAY
                             SUITE 100
                             ATLANTA, GA 30328

571 Instant Brands LLC       International Financial Group of Chicago, LLC           Service and Supply     MSA                                                                                      ‐
                             200 N. LaSalle                                          Agreements
                             Suite 1930
                             CHICAGO, IL 606061

572 Instant Brands LLC       Intertek                                                Service and Supply     Qu‐01263104                                                                              ‐
                             545 E. ALGONQUIN ROAD                                   Agreements
                             ARLINGTON HEIGHTS, IL 60005

573 Instant Brands LLC       Intertek                                                Service and Supply     Qu‐01268425                                                                              ‐
                             545 E. ALGONQUIN ROAD                                   Agreements
                             ARLINGTON HEIGHTS, IL 60005

574 Instant Brands LLC       Ipsos‐Insight LLC                                       Confidentiality        NDA                                                                                      ‐
                             1271 Avenue of the Americas                             Agreements
                             15th Floor
                             NEW YORK, NY 10020

575 Instant Brands LLC       Iris Recruiting Solutions                               Service and Supply     Contingency Agreement                                                                    ‐
                             11611 N. MERIDIAN ST.                                   Agreements
                             SUITE 350
                             CARMEL, IN 46032

576 Instant Brands LLC       iSustain                                                Service and Supply     Recycling Services Agreement                                                             ‐
                             1521 Native Trail                                       Agreements
                             SODDY DAISY, TN 37379

577 Instant Brands LLC       ITERABLE, INC.                                          Service and Supply     Signed contracts for IB                                                           37,896.99
                             71 STEVENSON ST                                         Agreements
                             SUITE 300
                             SAN FRANCISCO, CA 94105

578 Instant Brands LLC       J. B. Hunt Transport, Inc.                              Service and Supply     Rate/Volume Agreement                                                                    ‐
                             615 J.B. HUNT CORPORATE DRIVE                           Agreements
                             LOWELL, AR 72745
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 #       Debtor Entity                                 Counterparty                                Agreement Type                             Agreement Description                       Proposed Cure Costs
579 Instant Brands LLC      J. B. Hunt Transport, Inc.                                          Confidentiality        Non‐Disclosure Agreement                                                             ‐
                            615 J.B. HUNT CORPORATE DRIVE                                       Agreements
                            LOWELL, AR 72745

580 Instant Brands LLC      JAMES CAMPBELL COMPANY LLC                                          Real Property Leases   First Amendment to Downers Grove Office Lease                                       ‐
                            425 California Street
                            Suite 500
                            Attn: Executive Vice President, Real Estate Investment Management
                            SAN FRANCISCO, CA 94101

581 Instant Brands LLC      JAMES CAMPBELL COMPANY LLC                                          Real Property Leases   Storage Agreement                                                                   ‐
                            425 California Street
                            Suite 500
                            Attn: Executive Vice President, Real Estate Investment Management
                            SAN FRANCISCO, CA 94101

582 Instant Brands LLC      JAMES CAMPBELL COMPANY LLC,                                         Real Property Leases   Downers Grove Office Lease                                                  146,323.35
                            425 California Street
                            Suite 500
                            Attn: Executive Vice President, Real Estate Investment Management
                            SAN FRANCISCO, CA 94101



583 URS‐1 (Charleroi) LLC   Jefferies Finance LLC                                               Financial Agreements   TL Pledge Agreement [Executed]                                                      ‐
                            520 Madison Ave
                            10th Floor
                            NEW YORK, NY 10022

584 Instant Brands LLC      Jensen Industrial Limited                                           Service and Supply     Supply Agreement                                                                    ‐
                            11/F, WANCHAI COMMERCIAL CENTRE                                     Agreements
                            JOHNSTON ROAD 194‐204
                            WANCHAI
                            HONG KONG
                            CHINA

585 Instant Brands Holdings Jiang Su Baoheng New Material Technology Co., Ltd.                  Confidentiality        Mutual Non‐Disclosure Agreement                                                     ‐
    Inc.                    No 777, North of Jinglong Road                                      Agreements
                            Sucheng Economic Development Zone
                            Suqian, Jiangsu
                             223800
                            CHINA

586 Instant Brands LLC      JK Adams Company                                                    Confidentiality        Non‐Disclosure Agreement                                                            ‐
                            1430 Route 30                                                       Agreements
                            DORSET, IA 05251

587 Instant Brands LLC      JMG SECURITY SYSTEMS, INC.                                          Service and Supply     Commercial Security Fire Alarm System Agreement                                     ‐
                            17150 NEWHOPE ST., 109                                              Agreements
                            FOUNTAIN VALLEY, CA 92708

588 Instant Brands LLC      JMG SECURITY SYSTEMS, INC.                                          Service and Supply     Software Maintenance Agreement                                                      ‐
                            17150 NEWHOPE ST., 109                                              Agreements
                            FOUNTAIN VALLEY, CA 92708

589 Instant Brands LLC      Joanne Collin Design Group                                          License Agreements     Invoice re: Assignment of Copyright                                                 ‐
                            4656 NINE MILE CREEK PARKWAY
                            MINNEAPOLIS, MN 55437

590 Instant Brands LLC      Joanne Collins Design Group                                         License Agreements     Design License Agreement                                                            ‐
                            4656 NINE MILE CREEK PARKWAY
                            MINNEAPOLIS, MN 55437

591 Instant Brands LLC      Jobot                                                               Service and Supply     Client Recruiting Agreement (Greencastle)                                           ‐
                            3101 West Coast Hwy                                                 Agreements
                            NEWPORT BEACH, CA 92663

592 Instant Brands (Canada) John Hancock Retirement Plan Services, LLC                          Service and Supply     Adoption Agreement for OnTarget Assignment and Amendment                            ‐
    Holding Inc.            690 Canton St.                                                      Agreements
                            Westwood, MA 02090

593 Instant Brands (Canada) John Hancock Retirement Plan Services, LLC                          Service and Supply     Service Agreement Assignment and Amendment for Retirement Income                228.53
    Holding Inc.            690 Canton St.                                                      Agreements             Plan
                            Westwood, MA 02090

594 Instant Brands LLC      John Mills Electric, Inc.                                           Service and Supply     Master Agreement                                                                    ‐
                            1836 GRAND CENTRAL AVE.                                             Agreements
                            ATTN: MANAGER
                            ELMIRA HEIGHTS, NY 14903

595 Instant Brands LLC      John Mills Electric, Inc.                                           Service and Supply     1st Amendment to MA                                                                 ‐
                            1836 GRAND CENTRAL AVE.                                             Agreements
                            ATTN: MANAGER
                            ELMIRA HEIGHTS, NY 14903

596 Instant Brands LLC      John Olson Design                                                   Confidentiality        Non‐Disclosure Agreement                                                            ‐
                            149 Rainbow Drive #4933                                             Agreements
                            LIVINGSTON, TX 77399

597 Instant Brands Inc.     John Wiley & Sons, Inc.                                             License Agreements     Publication Agreement (IP Cookbook For Dummies)                                     ‐
                            605 Third Ave
                            NEW YORK, NY 10158
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 #       Debtor Entity                                    Counterparty      Agreement Type                              Agreement Description                        Proposed Cure Costs
598 Instant Brands LLC     Johnson Controls Fire Protection LP           Service and Supply     Service Solution Agreement                                                             ‐
                           195 LIMEKILN ROAD                             Agreements
                           ATTN: PAUL M. SAVINO
                           NEW CUMBERLAND, PA 17070

599 Instant Brands LLC     Johnson Controls Fire Protection LP           Service and Supply     Service Agreement                                                                     ‐
                           195 LIMEKILN ROAD                             Agreements
                           ATTN: PAUL M. SAVINO
                           NEW CUMBERLAND, PA 17070

600 Instant Brands LLC     Johnson Controls Security Solutions LLC       Service and Supply     Commercial Sales Agreement‐ Card Access                                               ‐
                           400 RIVERWALK PKWY                            Agreements
                           ATTN: GARY SONNENBERGER
                           TONAWANDA, NY 14150‐5816

601 Instant Brands LLC     Johnson Controls Security Solutions LLC       Service and Supply     Commercial Sales Agreement‐ Fire Alarm                                                ‐
                           400 RIVERWALK PKWY                            Agreements
                           ATTN: GARY SONNENBERGER
                           TONAWANDA, NY 14150‐5816

602 Instant Brands LLC     JOHNSON CONTROLS SECURITY SOLUTIONS LLC       Service and Supply     Commercial Sales Agreement Rider ‐ Card Access                                        ‐
                           400 RIVERWALK PKWY                            Agreements
                           ATTN: GARY SONNENBERGER
                           TONAWANDA, NY 14150‐5816

603 Instant Brands LLC     Johnson Controls Security Solutions LLC       Service and Supply     Rider Printer WINPAK Conversion                                                       ‐
                           400 RIVERWALK PKWY                            Agreements
                           ATTN: GARY SONNENBERGER
                           TONAWANDA, NY 14150‐5816

604 Instant Brands LLC     Johnson Controls                              Service and Supply     Greencastle Rider                                                                     ‐
                           PO BOX 93107                                  Agreements
                           CHICAGO, IL 60673

605 Instant Brands LLC     Join the Dots (Research) Limited              Confidentiality        NDA                                                                                   ‐
                           The Hive, 51                                  Agreements
                           Lever Street
                           MANCHESTER M1 1FN
                           UNITED KINGDOM

606 Instant Brands Inc.    JPMorgan Chase Bank, N.A.                     Financial Agreements   JP Morgan Chase Bank & Royal Bank Canada ‐ Intercreditor Agreement                    ‐
                           111 POLARIS PARKWAY
                           SUITE N4 (OH1‐1085)
                           ATTN: OPERATIONS MANAGER
                           COLUMBUS, OH 43240

607 Instant Brands LLC     JPMORGAN CHASE BANK, N.A.                     Financial Agreements   Equipment Agreement                                                                   ‐
                           111 POLARIS PARKWAY
                           SUITE N4 (OH1‐1085)
                           ATTN: OPERATIONS MANAGER
                           COLUMBUS, OH 43240

608 Instant Brands LLC     JPMorgan Chase Bank, N.A.                     Equipment Leases       Master Lease Agreement                                                                ‐
                           111 POLARIS PARKWAY
                           SUITE N4 (OH1‐1085)
                           ATTN: OPERATIONS MANAGER
                           COLUMBUS, OH 43240

609 Instant Brands Inc.    JPMorgan Chase Bank, N.A.                     Financial Agreements   Master Stand‐By Claims Purchase Agreement ‐ Instant Brands                            ‐
                           111 POLARIS PARKWAY
                           SUITE N4 (OH1‐1085)
                           ATTN: OPERATIONS MANAGER
                           COLUMBUS, OH 43240

610 Instant Brands Holdings Jurado Hermanos S.L.                         Confidentiality        Mutual NDA                                                                            ‐
    Inc.                    POLIGONO IND PLA DE LA VALLONGA              Agreements
                            ALLE NIEVE 8
                            ALICANTE 3006
                            SPAIN

611 Instant Brands Holdings Kaleidoscope Inc                             Confidentiality        Non‐Disclosure Agreement                                                              ‐
    Inc.                    700 N. Sacramento Blvd                       Agreements
                            CHICAGO, IL 60612

612 Instant Brands LLC     KANTAR LLC                                    Service and Supply     Master Services Agreement                                                             ‐
                           11 MADISON AVE.                               Agreements
                           12TH FLOOR
                           NEW YORK, NY 10010

613 Instant Brands LLC     Kate Holloway Design, LLC                     Confidentiality        NDA                                                                                   ‐
                           35 Forrester Street                           Agreements
                           Salem, MA 01970

614 Corelle Brands (Canada) KDW Agency                                   Service and Supply     Independent Sales Representative Agreement                                            ‐
    Inc.                    5180 Grand Blvd                              Agreements
                            Montreal, QC H3X 354
                            CANADA

615 Instant Brands LLC     Kellogg USA Inc.                              Confidentiality        Mutual NDA                                                                            ‐
                           One Kellogg Square                            Agreements
                           BATTLE CREEK, MI 49017
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 #       Debtor Entity                                 Counterparty              Agreement Type                           Agreement Description            Proposed Cure Costs
616 Instant Brands LLC    KEN STORKOKKEN A/S                                  Customer Agreements Attachment B to Non‐Exclusive Distribution Agreement                       ‐
                          Runetoften 15‐17, 8210 Arhus V

                          DENMARK

617 Instant Brands LLC    KEN STORKOKKEN A/S                                  Customer Agreements Attachment A to Non‐Exclusive Distribution Agreement                      ‐
                          Runetoften 15‐17, 8210 Arhus V

                          DENMARK

618 Instant Brands LLC    Kent Consulting Engineers                           Service and Supply    Master Client Services Agreement and Proposal                           ‐
                          20 N. WACKER DRIVE                                  Agreements
                          SUITE 1900
                          ATTN: GENERAL COUNSEL
                          CHICAGO, IL 60606

619 Instant Brands LLC    Keyence Corp. of America                            Confidentiality       Non‐Disclosure Agreement                                                ‐
                          669 River Road                                      Agreements
                          Elmwood Park, NJ 07407

620 Instant Brands Holdings Kinect Energy, Inc.                               Confidentiality       CA ‐ Instant Brands Holdings                                            ‐
    Inc.                    11100 Wayzata Blvd                                Agreements
                            Suite 200
                            Minnetonka, MN 55305

621 Instant Brands LLC    King's Flair Development Limited                    Service and Supply    Manufacturing Agreement                                         136,591.40
                          12/F., Yardley Commercial Building                  Agreements
                          3 Connaught Road West

                          HONG KONG

622 Instant Brands LLC    King's Flair Development Limited                    Service and Supply    Pyrex Littles Baby Smaller Food Pouch                                   ‐
                          12/F., Yardley Commercial Building                  Agreements
                          3 Connaught Road West

                          HONG KONG

623 Instant Brands LLC    King's Flair Development Limited                    Service and Supply    Pyrex Little SOW agreement                                              ‐
                          12/F., Yardley Commercial Building                  Agreements
                          3 Connaught Road West

                          HONG KONG

624 Instant Brands LLC    King's Flair Development Limited                    Service and Supply    4th SOW (Pyrex Littles)                                                 ‐
                          12/F., Yardley Commercial Building                  Agreements
                          3 Connaught Road West

                          HONG KONG

625 Instant Brands LLC    King's Flair Development Limited                    Service and Supply    Tooling Agreement                                                       ‐
                          A12/F, Yardley Commercial Building                  Agreements
                          3 Connaught Road West

                          HONG KONG

626 Instant Brands LLC    KIRSHENBAUM BOND SENECAL + PARTNERS LLC             Service and Supply    Master Services Agreement                                               ‐
                          160 Varick Street                                   Agreements
                          NEW YORK, NY 10013

627 Instant Brands Inc.   Kitchen Collection, LLC                             Customer Agreements Vendor Setup Package                                                      ‐
                          71E Water Street
                          Chillicothe, OH 45601

628 Instant Brands LLC    Kmart Corporation                                   Customer Agreements Sears Holding Company ‐ Universal Terms and Conditions                    ‐
                          3333 Beverly Rd
                          Hoffman Estates, IL 60179

629 Instant Brands LLC    KnowBe4                                             IT Agreements         Renewal                                                                 ‐
                          33 N Garden Ave, Suite 1200, Clearwater, FL 33755
                          Suite 1200
                          Clearwater, FL 33755

630 Instant Brands Holdings Koblenz Electrica SA de CV                        Confidentiality       Mutual NDA                                                              ‐
    Inc.                    AVE. CIENCIA 28                                   Agreements
                            PARQUE INDUSTRIAL CUAMATIA
                            CUAUTITLAN IZCALLI
                            MEXICO

631 Instant Brands LLC    Kohl's                                              Customer Agreements 2020 BYR 12 D266 Vendor Contract 8.4.2020                                 ‐
                          N56W 17000 RIDGEWOOD DRIVE
                          MENOMONEE FALLS, WI 53051

632 Instant Brands LLC    KOHL'S                                              Customer Agreements Vendor Agreement (Dept 60)                                                ‐
                          N56W 17000 RIDGEWOOD DRIVE
                          MENOMONEE FALLS, WI 53051

633 Instant Brands LLC    Kohl's                                              Customer Agreements Vendor Agreement (Dept 266)                                               ‐
                          N56W 17000 RIDGEWOOD DRIVE
                          MENOMONEE FALLS, WI 53051

634 Instant Brands LLC    Konica Minolta Premier Finance                      Equipment Leases      Lease Agreement                                                  11,242.30
                          411 Newark Pompton Turnpike
                          Wayne, NJ 07470
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 #       Debtor Entity                                 Counterparty      Agreement Type                              Agreement Description                         Proposed Cure Costs
635 Instant Brands LLC    Konica Minolta Premier Finance              Equipment Leases       Lease Agreement                                                                         ‐
                          411 Newark Pompton Turnpike
                          Wayne, NJ 07470

636 Instant Brands LLC    Konica Minolta Premier Finance              Equipment Leases       Lease                                                                                  ‐
                          411 Newark Pompton Turnpike
                          Wayne, NJ 07470

637 Instant Brands LLC    Kount Inc.                                  Service and Supply     Services Agreement                                                               5,705.94
                          917 SOUTH LUSK                              Agreements
                          3RD FLOOR
                          BOISE, ID 83706

638 Instant Brands LLC    KPMG LLP                                    Service and Supply     Engagement Letter re Accounting Advisory Services                                      ‐
                          2323 ROSS AVENUE                            Agreements
                          SUITE 1400
                          DALLAS, TX 75201‐2721

639 Instant Brands Inc.   Kraft Foods Group Brands LLC                License Agreements     First Amendment to License Agreement                                                   ‐
                          ATTN: DEPUTY GENERAL COUNSEL
                          200 E. RANDOLPH STREET
                          CHICAGO, IL 60601

640 Instant Brands Inc.   Kraft Foods Group Brands LLC                License Agreements     Trademark License Agreement                                                            ‐
                          ATTN: DEPUTY GENERAL COUNSEL
                          200 E. RANDOLPH STREET
                          CHICAGO, IL 60601




641 Instant Brands Inc.   KRP PROPERTIES                              Real Property Leases   Lease Ottawa‐March Road                                                        116,419.02
                          555 LEGGET DRIVE
                          TOWER B, SUITE 300
                          OTTAWA, ON K2K 2X3
                          CANADA

642 Instant Brands Inc.   KRP Properties                              Confidentiality        Non‐Disclosure Agreement                                                               ‐
                          555 LEGGET DRIVE                            Agreements
                          TOWER B, SUITE 300
                          OTTAWA, ON K2K 2X3
                          CANADA

643 Instant Brands Holdings KTG SYSTEMS, INC.                         Confidentiality        Mutual NDA                                                                             ‐
    Inc.                    ATTN: PRESIDENT                           Agreements
                            STONEWOOD COMMONS SUITE 110
                            101 BRADFORD ROAD, SUITE 110
                            WEXFORD, PA 15090‐6909

644 Instant Brands LLC    KTG Systems, Inc.                           Service and Supply     Construction Agreement and Statement of Work and General Conditions                    ‐
                          ATTN: PRESIDENT                             Agreements
                          STONEWOOD COMMONS SUITE 110
                          101 BRADFORD ROAD, SUITE 110
                          WEXFORD, PA 15090‐6909

645 Instant Brands LLC    KTG Systems, Inc.                           Service and Supply     Services Agreement (Tank 52)                                                           ‐
                          ATTN: PRESIDENT                             Agreements
                          STONEWOOD COMMONS SUITE 110
                          101 BRADFORD ROAD, SUITE 110
                          WEXFORD, PA 15090‐6909

646 Instant Brands LLC    KUTAHYA PORSELEN SANAYIA.S.                 Confidentiality        Non‐Disclosure Agreement                                                               ‐
                          Eskisehir Yolu 8                            Agreements
                          KUTAHYA
                          TURKEY

647 Instant Brands LLC    L.E.K. Consulting LLC                       Service and Supply     Engagement Letter for Phase 2 Due Diligence                                            ‐
                          75 STATE STREET                             Agreements
                          19TH FLOOR
                          BOSTON, MA 02109

648 Instant Brands LLC    L.E.K. Consulting LLC                       Service and Supply     Corelle Brands Engagement Letter 1.18.19                                               ‐
                          75 STATE STREET                             Agreements
                          19TH FLOOR
                          BOSTON, MA 02109

649 Instant Brands Inc.   Lab651                                      Service and Supply     Mobile Application Support Agreement                                                   ‐
                          550 VANDALIA ST SUITE 224                   Agreements
                          SAINT PAUL, MN 55114

650 Instant Brands LLC    LaSalle Solutions                           Equipment Leases       Equipment Lease                                                                        ‐
                          6111 N River Rd
                          Fifth Floor
                          ROSEMONT, IL 60018

651 Instant Brands LLC    LaSalle Solutions                           Equipment Leases       Lease                                                                                  ‐
                          6111 N River Rd
                          Fifth Floor
                          ROSEMONT, IL 60018

652 Instant Brands LLC    LaSalle Solutions                           Equipment Leases       Schedule to Master Lease Agreement                                                     ‐
                          6111 N River Rd
                          Fifth Floor
                          ROSEMONT, IL 60018
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 #       Debtor Entity                                     Counterparty                    Agreement Type                             Agreement Description   Proposed Cure Costs
653 Instant Brands LLC     LaSalle Solutions                                            Equipment Leases     SCH 012 to MLA                                                     ‐
                           6111 N River Rd
                           Fifth Floor
                           ROSEMONT, IL 60018

654 Instant Brands LLC     LaSalle Solutions                                            Equipment Leases     SCH 008 to MLA                                                    ‐
                           6111 N River Rd
                           Fifth Floor
                           ROSEMONT, IL 60018

655 Instant Brands LLC     LaSalle Solutions                                            Equipment Leases     SCH 007 to MLA                                                    ‐
                           6111 N River Rd
                           Fifth Floor
                           ROSEMONT, IL 60018

656 Instant Brands LLC     LaSalle Solutions                                            Equipment Leases     1st Amendment to MLA                                              ‐
                           6111 N River Rd
                           Fifth Floor
                           ROSEMONT, IL 60018

657 Instant Brands LLC     LaSalle Solutions, a division of Fifth Third Bank            Equipment Leases     Schedule 1 to Master Agreement                                    ‐
                           6111 N River Rd
                           Fifth Floor
                           ROSEMONT, IL 60018

658 Instant Brands LLC     LaSalle Solutions, a division of MB Equipment Finance, LLC   Confidentiality      NDA                                                               ‐
                           6111 N River Rd                                              Agreements
                           Fifth Floor
                           ROSEMONT, IL 60018

659 Instant Brands LLC     LaSalle Systems Leasing, Inc.                                Equipment Leases     Master Lease Agreement                                            ‐
                           6111 N. RIVER ROAD
                           ROSEMONT, IL 60018

660 Instant Brands Inc.    Lawrence Merchandising Services,                             Service and Supply   Master Service Agreement                                          ‐
                           1405 XENIUM LANE NORTH                                       Agreements
                           SUITE 250
                           PLYMOUTH, MN 55441

661 Instant Brands LLC     LEATH GROUP                                                  Confidentiality      Non‐Disclosure Agreement                                          ‐
                           6101 Long Prairie Road                                       Agreements
                           Suite 744‐122
                           Flower Mound, TX 75028

662 Instant Brands Inc.    Les Viandes Premier R.D.                                     Confidentiality      NDA                                                               ‐
                           270 Blvd Joseph Carriel                                      Agreements
                           Vandervit, QC J7V 5V5
                           CANADA

663 Instant Brands LLC     Lewis Brisbois Bisgaard & Smith LLP                          Service and Supply   Class Action Engagement Letter 4811‐5334‐0857             109,369.91
                           633 WEST FIFTH STREET, SUITE 4000                            Agreements
                           LOS ANGELES, CA 90071

664 Instant Brands LLC     Lextant                                                      Confidentiality      Non‐Disclosure Agreement                                          ‐
                           250 S High St                                                Agreements
                           Suite 600
                           COLUMBUS, OH 43215

665 Instant Brands Holdings Liberty Mutual Insurance Company                            Confidentiality      NDA                                                               ‐
    Inc.                    175 Berkeley Street                                         Agreements
                            BOSTON, MA 02116

666 Instant Brands LLC     Lifestyle International India Pvt. Ltd                       Service and Supply   Purchase Agreement (India)                                        ‐
                           77 DEGREE TOWN CENTER                                        Agreements
                           BLDG NO. 3
                           WEST WING
                           YAMLUR 560037
                           INDIA

667 Instant Brands LLC     Lifestyle International Private Limited                      Service and Supply   Amendment of Purchase Agreement                                   ‐
                           77 DEGREE TOWN CENTER                                        Agreements
                           BLDG NO. 3
                           WEST WING
                           YAMLUR 560037
                           INDIA

668 Instant Brands Inc.    Lifetime Brands, Inc.                                        Service and Supply   2nd Amendment to LA                                               ‐
                           1000 STEWART AVE.                                            Agreements
                           GARDEN CITY, NY 11530

669 Instant Brands LLC     Linde                                                        Service and Supply   Product Supply Agreement                                    3,883.67
                           2570 BOULEVARD OF THE GENERALS                               Agreements
                           SUITE 212
                           ATTN: SALES MANAGER
                           NORRISTOWN, PA 19403

670 Instant Brands Holdings LinkedIn Corporation                                        IT Agreements        Order 7346939684                                           20,361.23
    Inc.                    1000 W. MAUDE AVENUE
                            SUNNYVALE, CA 94085
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 #       Debtor Entity                                   Counterparty                               Agreement Type                                  Agreement Description         Proposed Cure Costs
671 Instant Brands Inc.    LITTLE, BROWN AND COMPANY, A DIVISION OF HACHETTE BOOK GROUP, License Agreements              Trademark License                                                          ‐
                           INC.
                           1290 Avenue of the Americas
                           Attn: Reagan Arthur, SVP and Publisher, Little, Brown and Company, Attn:
                           EVP and General Counsel
                           NEW YORK, NY 10104

672 Instant Brands Inc.    Little, Brown and Company, a division of Hachette Book Group, Inc.       License Agreements   Trademark License                                                         ‐
                           1290 Avenue of the Americas
                           Attn: Reagan Arthur, SVP and Publisher, Little, Brown and Company, Attn:
                           EVP and General Counsel
                           NEW YORK, NY 10104

673 Instant Brands LLC     LIVERMORE PREMIUM OUTLETS II, LLC                                      Real Property Leases   Lease ‐ #280, Livermore, CA                                        93,739.95
                           C/O SIMON PROPERTY GROUP
                           225 WEST WASHINGTON STREET
                           INDIANAPOLIS, IN 46204‐3438

674 Instant Brands LLC     LOCERIA COLOMBIANA S.A.S                                               Confidentiality        Non‐Disclosure Agreement                                                  ‐
                           Carrera 54 # 129 Sur‐51                                                Agreements
                           Caldas, Antioquia

                           COLOMBIA

675 Instant Brands Holdings Lockton Companies                                                     Confidentiality        Nondisclosure Agreement                                                   ‐
    Inc.                    4725 Piedmont Row Dr.                                                 Agreements
                            Suite 510
                            CHARLOTTE, NC 28210

676 Instant Brands LLC     LONDON DRUGS LIMITED                                                   Customer Agreements Master Vendor Agreement                                                      ‐
                           12831 Horseshoe Place
                           Attn: President and General Counsel
                           RICHMOND, BC V7A 4X5
                           CANADA

677 Instant Brands LLC     London Drugs Limited                                                   Customer Agreements Vendor Electronic Commerce Agreement                                         ‐
                           12831 HORSESHOE PLACE
                           ATTN: PRESIDENT
                           RICHMOND, BC V7A 4X5
                           CANADA

678 Corelle Brands (Canada) Lowes Companies Canada                                                Service and Supply     Commercial Agreement and Vendor Information Sheet                         ‐
    Inc.                    5150 Spectrum Way                                                     Agreements
                            Suite 200
                            Mississauga, ON L4W 5G2
                            CANADA

679 Instant Brands LLC     LOWE'S COMPANIES CANADA, ULC                                           Confidentiality        Non‐Disclosure Agreement                                                  ‐
                           5150 Spectrum Way                                                      Agreements
                           Suite 200
                           Mississauga, ON L4W 5G2
                           CANADA

680 Corelle Brands (Canada) Lowe's Companies Canada,                                              Service and Supply     Vendor Information Sheet                                                  ‐
    Inc.                    5150 Spectrum Way                                                     Agreements
                            Suite 200
                            Mississauga, ON L4W 5G2
                            CANADA

681 Corelle Brands (Canada) LPF REALTY OFFICE INC.                                                Real Property Leases   Lease Burlington Ontario                                                  ‐
    Inc.                    C/O FENGATE PROPERTY MANAGEMENT LTD.
                            2275 UPPER MIDDLE ROAD
                            SUITE 700
                            OAKVILLE, ON L6H 0C3
                            CANADA

682 Instant Brands LLC     LPK Brands Inc.                                                        Service and Supply     Master Agreement                                                          ‐
                           19 GARFIELD PLACE, 8TH FLOOR                                           Agreements
                           CINCINNATI, OH 45202

683 Instant Brands LLC     LSINC Corporation                                                      Confidentiality        Marabu ‐ Non‐Disclosure Agreement                                         ‐
                           490 Discovery Dr, NW                                                   Agreements
                           HUNTSVILLE, AL 35806




684 Instant Brands LLC     Lubrication Engineers                                                  Confidentiality        NDA                                                                       ‐
                           1919 Tulsa                                                             Agreements
                           WICHITA, KS 67216

685 Instant Brands LLC     Luigi Finicelli                                                        Service and Supply     Manufacturer's Representative Agreement                                   ‐
                           VIA PIGNA 37 (FABBRICATO C)                                            Agreements
                           CAMPANIA 80014
                           ITALY

686 Instant Brands LLC     Lyons Consulting Group LLC                                             IT Agreements          Statement of Work for Monitoring and Support 2017                         ‐
                           20 N. WACKER DRIVE
                           SUITE 1750
                           ATTN: KATIE DUNLAP
                           CHICAGO, IL 60606

687 Instant Brands Inc.    M/A/R/C Research LLC                                                   Service and Supply     SOW 2 for Smart Product Concept Research December 2021                    ‐
                           7850 7850 NORTH BELT LINE ROAD                                         Agreements
                           IRVING, TX 75284‐4244
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 #       Debtor Entity                                   Counterparty            Agreement Type                              Agreement Description                   Proposed Cure Costs
688 Instant Brands Inc.    MACLEAN CREATIVE                                   Confidentiality        Mutual Non‐Disclosure Agreement                                                   ‐
                           2733 N. Hamlin Ave                                 Agreements
                           Unit 3
                           CHICAGO, IL 60647

689 Instant Brands LLC     Macy's Inc.                                        Customer Agreements Compliance Letter 2022                                                              ‐
                           1440 Broadway 7th Floor
                           7TH Floor
                           NEW YORK, NY 10018

690 Instant Brands LLC     Macy's Inc.                                        Customer Agreements Guaranty Letter                                                                     ‐
                           1440 Broadway 7th Floor
                           7TH Floor
                           NEW YORK, NY 10018

691 Instant Brands LLC     Macy's, Inc.                                       Confidentiality        NDA                                                                              ‐
                           1440 Broadway 7th Floor                            Agreements
                           NEW YORK, NY 10018

692 Instant Brands Inc.    MAGEE RESOURCE Group LLC                           Service and Supply     Engagement Letter                                                                ‐
                           620 Texas Street                                   Agreements
                           Suite 200
                           SHREVEPORT, LA 71101

693 Instant Brands LLC     Maid 2 Clean                                       Service and Supply     Services Agreement                                                               ‐
                           214 S Laramie Ave                                  Agreements
                           CHICAGO, IL 60644

694 Instant Brands LLC     Manufacturing Automation Systems, LLC              Confidentiality        Non‐Disclosure Agreement                                                         ‐
                           9183 Presho School Road                            Agreements
                           Painted Post, NY 14870

695 Instant Brands LLC     MARC GILL                                          Service and Supply     Host Engagement Agreement                                                        ‐
                           3132 WOLFE RD.                                     Agreements
                           CLEARWATER, FL 33759

696 Instant Brands LLC     Margle Media LLC                                   Service and Supply     PWA 001                                                                          ‐
                           320 E BUFFALO ST. SUITE 402                        Agreements
                           MILWAUKEE, WI 53202

697 Instant Brands LLC     Margle Media LLC                                   Service and Supply     MSA Final                                                                 40,000.00
                           320 E BUFFALO ST. SUITE 402                        Agreements
                           MILWAUKEE, WI 53202

698 Instant Brands         Markel Bermuda Limited                             Financial Agreements   Insurance Binder 3529412                                                         ‐
    Acquisition Holdings   Markel House 2 Front Street
    Inc.                   Hamilton HM 11
                           Bermuda

699 Instant Brands         Markel Bermuda Limited                             Financial Agreements   Insurance Binder 4705882                                                         ‐
    Acquisition Holdings   Markel House 2 Front Street
    Inc.                   Hamilton HM 11
                           Bermuda

700 Instant Brands LLC     Market Track, LLC,                                 Service and Supply     Master Services Agreement                                                        ‐
                           PO BOX 28781                                       Agreements
                           NEW YORK, NY 10087‐8781

701 Instant Brands LLC     MARSHALL COUNTY INDUSTRIAL DEVELOPMENT AUTHORITY   Service and Supply     Mississipi Development Authority ‐ Ace Grant Agreement (MMDC)                    ‐
                           520 J.M. Ash Drive                                 Agreements
                           Attn: Mr. Justin Hall
                           HOLLY SPRINGS, MS 38635




702 Instant Brands LLC     Marshall County Water Association, Inc.            Service and Supply     Water Users Agreement                                                      2,832.59
                           512 WINGO RD                                       Agreements
                           BYHALIA, MS 38611

703 Instant Brands Holdings MARVEL BRANDS LLC                                 License Agreements     Schedule to License Agreement                                             16,666.00
    Inc.                    C/O MARVEL ENTERTAINMENT, LLC
                            ATTN: MARVEL BUSINESS AND LEGAL AFFAIRS.
                            1290 AVENUE OF THE AMERICAS, 2ND FLOOR
                            NEW YORK, NY 10104

704 Instant Brands LLC     Matrix Antrim Partners LP                          Real Property Leases   Fifth Amendment to ERDC Lease                                                    ‐
                           c/o Matrix Realty, Inc.
                           Forsgate Drive
                           CN 4000
                           CRANBURY, NJ 08512

705 Instant Brands LLC     Matrix Antrim Partners LP                          Real Property Leases   Fourth Amendment to ERDC Lease                                                   ‐
                           c/o Matrix Realty, Inc.
                           Forsgate Drive
                           CN 4000
                           CRANBURY, NJ 08512

706 Instant Brands LLC     MATRIX ANTRIM PARTNERS LP                          Real Property Leases   Lease Agreement ERDC Distribution Center                               1,207,304.04
                           c/o Matrix Realty, Inc.
                           Forsgate Drive
                           CN 4000
                           CRANBURY, NJ 08512
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 #       Debtor Entity                             Counterparty                     Agreement Type                            Agreement Description   Proposed Cure Costs
707 Instant Brands LLC    MATRIX ANTRIM PARTNERS LP                              Real Property Leases   Third Amendment to ERDC Lease                                   ‐
                          c/o Matrix Realty, Inc.
                          Forsgate Drive
                          CN 4000
                          CRANBURY, NJ 08512

708 Instant Brands LLC    Mattel, Inc., Fisher‐Price, Inc., Mattel Europa B.V.   Confidentiality        NDA                                                            ‐
                          333 Continential Boulevard                             Agreements
                          EL SEGUNDO, CA 90245

709 Instant Brands LLC    McCormick & Company Inc.                               License Agreements     Amendment                                                      ‐
                          24 SCHILLING ROAD
                          SUITE 1
                          ATTN: CHIEF IP COUNSEL
                          HUNT VALLEY, MD 21031

710 Instant Brands Inc.   MCCORMICK & COMPANY, INCORPORATED                      License Agreements     License Agreement                                              ‐
                          ATTN: CHIEF IP COUNSEL
                          24 SCHILLING ROAD
                          SUITE 1
                          HUNT VALLEY, MD 21031

711 Instant Brands LLC    MCPP 191 NORFOLK SOUTHERN WAY, LLC                     Real Property Leases   Third Amendment to Lease (MMDC)                                ‐
                          (SUCCESSOR TO CP LOGISTICS MARSHALL BUILDING 7, LLC)
                          191 NORFOLK SOUTHERN WAY
                          BYHALIA, MS 38611

712 Instant Brands LLC    Mealthy Inc.                                           Confidentiality        Mutual NDA                                                     ‐
                          8839 N. Cedar Ave                                      Agreements
                          Ste 3
                          FRESNO, CA 93720

713 Instant Brands Inc.   MediaMonks Inc.                                        Service and Supply     Master Services Agreement                                      ‐
                          1214 ABBOT KINNEY BLVD                                 Agreements
                          VENICE, CA 90291

714 Instant Brands Holdings Mercer (US) Inc.                                     Service and Supply     Engagement Letter Agreement                                    ‐
    Inc.                    ATTN: MICK THOMPSON                                  Agreements
                            155 N. WACKER DRIVE
                            SUITE 1500
                            CHICAGO, IL 60606

715 Instant Brands Holdings Mercer                                               Service and Supply     Master Services Agreement                                      ‐
    Inc.                    ATTN: MICK THOMPSON                                  Agreements
                            155 N. WACKER DRIVE
                            SUITE 1500
                            CHICAGO, IL 60606

716 Instant Brands Holdings Mercer                                               Confidentiality        NDA                                                            ‐
    Inc.                    ATTN: MICK THOMPSON                                  Agreements
                            155 N. WACKER DRIVE
                            SUITE 1500
                            CHICAGO, IL 60606

717 Instant Brands Holdings MERCHANDISE MART L.L.C.                              Real Property Leases   Lease Guaranty                                                 ‐
    Inc.                    222 MERCHANDISE MART PLAZA
                            SUITE 470
                            ATTN: CHIEF OPERATING OFFICE
                            CHICAGO, IL 60654

718 Instant Brands LLC    MERCHANDISE MART L.L.C.                                Real Property Leases   Office Lease Merchandise Mart                                  ‐
                          222 MERCHANDISE MART PLAZA
                          SUITE 470
                          ATTN: CHIEF OPERATING OFFICE
                          CHICAGO, IL 60654

719 Instant Brands LLC    Meridian IT Inc.                                       IT Agreements          Equipment Maintenance Agreement                                ‐
                          509 Erie Blvd. West
                          SYRACUSE, NY 13204

720 Instant Brands LLC    Meridian IT Inc.                                       Service and Supply     Ad hoc Agreement                                               ‐
                          9 Parkway North                                        Agreements
                          Suite 500
                          DEERFILED, IL 60015‐2544

721 Instant Brands LLC    Meridian IT Inc.                                       Service and Supply     Assignment Assumption Agreement                         46,374.10
                          9 Parkway North                                        Agreements
                          Suite 500
                          DEERFILED, IL 60015‐2544

722 Instant Brands LLC    Meridian IT                                            IT Agreements          (Corning)                                                      ‐
                          9 Parkway North
                          Suite 500
                          DEERFILED, IL 60015‐2544

723 Instant Brands LLC    Meridian IT                                            IT Agreements          (Greencastle)                                                  ‐
                          9 Parkway North
                          Suite 500
                          DEERFILED, IL 60015‐2544

724 Instant Brands LLC    Messer LLC                                             Service and Supply     Oxygen agreement 2020‐2024                              91,400.76
                          2570 BOULEVARD OF THE GENERALS                         Agreements
                          SUITE 212
                          ATTN: SALES MANAGER
                          NORRISTOWN, PA 19403
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 #       Debtor Entity                             Counterparty      Agreement Type                             Agreement Description                        Proposed Cure Costs
725 Instant Brands LLC    Messer LLC                              Service and Supply   Bulk Term Sheet                                                                         ‐
                          2570 BOULEVARD OF THE GENERALS          Agreements
                          SUITE 212
                          ATTN: SALES MANAGER
                          NORRISTOWN, PA 19403

726 Instant Brands LLC    MESSER LLC                              Service and Supply   Purchase Agreement                                                                     ‐
                          2570 BOULEVARD OF THE GENERALS          Agreements
                          SUITE 212
                          ATTN: SALES MANAGER
                          NORRISTOWN, PA 19403

727 Instant Brands Inc.   MEYER CORPORATION, U.S.                 Confidentiality      Non‐Disclosure Agreement                                                               ‐
                          1 Meyer Plaza                           Agreements
                          Vallejo, CA 94590

728 Instant Brands LLC    Microban International Ltd.             License Agreements   Term sheet                                                                             ‐
                          11400 VANSTORY DRIVE
                          ATTN: PRESIDENT
                          HUNTERSVILLE, NC 28078

729 Instant Brands LLC    Microban International, Ltd.            License Agreements   License and Supply Agreement                                                           ‐
                          11400 VANSTORY DRIVE
                          ATTN: PRESIDENT
                          HUNTERSVILLE, NC 28078

730 Instant Brands LLC    MICROBAN INTERNATIONAL, LTD.            Confidentiality      NDA                                                                                    ‐
                          11400 VANSTORY DRIVE                    Agreements
                          ATTN: PRESIDENT
                          HUNTERSVILLE, NC 28078

731 Instant Brands LLC    Microsoft Corporation                   IT Agreements        Mosscrop1518672676WorldKitchenLLCEA54960216OptOutSigned                                ‐
                          DEPT 551
                          VOLUME LICENSING
                          6100 NEIL ROAD, SUITE 210
                          RENO, NV 89511‐1137

732 Instant Brands LLC    Microsoft Corporation                   IT Agreements        2013 Microsoft Business and Services Agreement (2012 General Terms)                    ‐
                          DEPT 551
                          VOLUME LICENSING
                          6100 NEIL ROAD, SUITE 210
                          RENO, NV 89511‐1137

733 Instant Brands LLC    Microsoft Corporation                   IT Agreements        Enterprise Services Work Order                                                         ‐
                          DEPT 551
                          VOLUME LICENSING
                          6100 NEIL ROAD, SUITE 210
                          RENO, NV 89511‐1137

734 Instant Brands LLC    Microsoft Corporation                   IT Agreements        Enterprise Services Work Order ‐ 2021                                                  ‐
                          DEPT 551
                          VOLUME LICENSING
                          6100 NEIL ROAD, SUITE 210
                          RENO, NV 89511‐1137

735 Instant Brands LLC    Microsoft Corporation                   IT Agreements        Enterprise Work Order                                                              629.47
                          DEPT 551
                          VOLUME LICENSING
                          6100 NEIL ROAD, SUITE 210
                          RENO, NV 89511‐1137

736 Instant Brands LLC    Microsoft Corporation                   IT Agreements        Signature Form                                                                         ‐
                          DEPT 551
                          VOLUME LICENSING
                          6100 NEIL ROAD, SUITE 210
                          RENO, NV 89511‐1137

737 Instant Brands LLC    Microsoft Corporation                   IT Agreements        ProgramSignForm(MSSign)(NA,LatAm)ExBRA,MLI(ENG)(May2020)(CR)                           ‐
                          DEPT 551
                          VOLUME LICENSING
                          6100 NEIL ROAD, SUITE 210
                          RENO, NV 89511‐1137

738 Instant Brands LLC    Microsoft Corporation                   IT Agreements        VL Order Adj End Customer Ackn Form_10032019_ENG.xlsx.pdf                              ‐
                          DEPT 551
                          VOLUME LICENSING
                          6100 NEIL ROAD, SUITE 210
                          RENO, NV 89511‐1137

739 Instant Brands LLC    Microsoft                               IT Agreements        Amendment to Contract Documents                                                        ‐
                          DEPT 551
                          VOLUME LICENSING
                          6100 NEIL ROAD, SUITE 210
                          RENO, NV 89511‐1137

740 Instant Brands LLC    Microsoft                               IT Agreements        Amendment ‐ 2021                                                                       ‐
                          DEPT 551
                          VOLUME LICENSING
                          6100 NEIL ROAD, SUITE 210
                          RENO, NV 89511‐1137
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 #       Debtor Entity                                    Counterparty          Agreement Type                            Agreement Description                  Proposed Cure Costs
741 Instant Brands LLC      Microsoft                                       IT Agreements        Enterprise Agreement                                                              ‐
                            DEPT 551
                            VOLUME LICENSING
                            6100 NEIL ROAD, SUITE 210
                            RENO, NV 89511‐1137

742 Instant Brands LLC      Microsoft                                       IT Agreements        M569 Amendment                                                                   ‐
                            DEPT 551
                            VOLUME LICENSING
                            6100 NEIL ROAD, SUITE 210
                            RENO, NV 89511‐1137

743 Instant Brands LLC      Microsoft                                       IT Agreements        M570 Change of Billing Amendment                                                 ‐
                            DEPT 551
                            VOLUME LICENSING
                            6100 NEIL ROAD, SUITE 210
                            RENO, NV 89511‐1137

744 Instant Brands LLC      Microsoft                                       IT Agreements        Program Signature form                                                           ‐
                            DEPT 551
                            VOLUME LICENSING
                            6100 NEIL ROAD, SUITE 210
                            RENO, NV 89511‐1137

745 Instant Brands LLC      Microsoft                                       IT Agreements        Renewal Form ‐ 2019                                                              ‐
                            DEPT 551
                            VOLUME LICENSING
                            6100 NEIL ROAD, SUITE 210
                            RENO, NV 89511‐1137

746 Instant Brands LLC      Microsoft                                       IT Agreements        EA Renewal PSF Final 05232019                                                    ‐
                            DEPT 551
                            VOLUME LICENSING
                            6100 NEIL ROAD, SUITE 210
                            RENO, NV 89511‐1137

747 Instant Brands LLC      Mid‐Atlantic Packaging & Specialties, LLC       Confidentiality      NDA                                                                              ‐
                            436 Stump Rod                                   Agreements
                            MONTGOMERYVILLE, PA 18936

748 Instant Brands LLC      MIDEA ELECTRIC TRADING (SINGAPORE) CO PTE LTD   Service and Supply   Tooling Agreement ‐ Midea Unibody                                                ‐
                            O.19 SAN LE ROAD BEIJIAO                        Agreements
                            SHUNDE
                            FOSHAN CITY 528311
                            CHINA

749 Instant Brands LLC      MIDEA                                           Service and Supply   Supply Agreement                                                                 ‐
                            O.19 SAN LE ROAD BEIJIAO                        Agreements
                            SHUNDE
                            FOSHAN CITY 528311
                            CHINA

750 Instant Brands Holdings Millo Appliances UAB                            Service and Supply   Memorandum of Understanding                                                      ‐
    Inc.                    MOKYKLOS STR. 36                                Agreements
                            BUKISKIS
                            LITHUANIA

751 Instant Brands LLC      Milo Appliances                                 Confidentiality      Mutual NDA                                                                       ‐
                            MANUFAKTURU STR. 20 ‐191                        Agreements
                            VILNIUS
                            LITHUANIA

752 Instant Brands LLC      Ming East‐West, LLC                             License Agreements   Amendment No. 1 to Promotion and Marketing Services Agreement                    ‐
                            4 Mechanic Street
                            Suite 200
                            Natick, MA 01760

753 Instant Brands LLC      MIZKAN AMERICA, INC.                            Confidentiality      NDA                                                                              ‐
                            1661 Feehanville Drive                          Agreements
                            Suite 300
                            MOUNT PROSPECT, IL 60056

754 Instant Brands LLC      Modern Picnic, INC.                             Confidentiality      Non‐Disclosure Agreement                                                         ‐
                            400 Park Avenue South                           Agreements
                            NEW YORK, NY 10016

755 Instant Brands LLC      Moxie Marketing LLC                             Confidentiality      FKA Mutual NDA 2022                                                              ‐
                            384 Northyards Blvd NW                          Agreements
                            Suite 300
                            ATLANTA, GA 30339

756 Instant Brands Holdings MRIGlobal                                       Confidentiality      Non‐Disclosure Agreement                                                         ‐
    Inc.                    425 Volker Blvd                                 Agreements
                            KANSAS CITY, MO 64110

757 Instant Brands LLC      MSC Industrial Direct Co                        Service and Supply   Supplier Handbook                                                                ‐
                            SID TOOL CO. INC.                               Agreements
                            D/B/A MSC INDUSTRIAL SUPPLY CO.
                            75 MAXESS ROAD
                            MELVILLE, NY 11747
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 #       Debtor Entity                                      Counterparty      Agreement Type                               Agreement Description                 Proposed Cure Costs
758 Instant Brands LLC      MSC Industrial Direct Co., Inc.                Service and Supply     Supplier Agreement                                                        1,033.04
                            525 HARBOUR PLACE DRIVE                        Agreements
                            ATTN: VP OF CATEGORY ENABLEMENT
                            DAVIDSON, NC 28036



759 Instant Brands Inc.     MUSTANG CUSTOM FOODS, LLC                      Confidentiality        Non‐Disclosure Agreement                                                        ‐
                            4020 Black Gold Dr                             Agreements
                            DALLAS, TX 75247

760 Instant Brands Inc.     MWM Graphics                                   Confidentiality        NDA                                                                             ‐
                            Matt W. Moore, MWM Graphics                    Agreements
                            150 Middle Street #4B
                            PORTLAND, ME 04101

761 Instant Brands Holdings Myplanet Internet Solutions Ltd.               Service and Supply     Services Agreement                                                              ‐
    Inc.                    252 Adelaide St E                              Agreements
                            TORONTO, ON M5A 1N1
                            CANADA

762 Instant Brands Holdings Myplanet                                       Service and Supply     SCH B to SA                                                                     ‐
    Inc.                    252 Adelaide St E                              Agreements
                            TORONTO, ON M5A 1N1
                            CANADA

763 Instant Brands LLC      MyRegistry, LLC,                               IT Agreements          License Agreement                                                               ‐
                            2050 Center Ave
                            Suite 100
                            FORT LEE, NJ 07024

764 Instant Brands LLC      Mystic Assembly & Decorating Co, Inc.          Confidentiality        Non‐Disclosure Agreement                                                        ‐
                            19 Vincent Cr                                  Agreements
                            Warminster, PA 18974

765 Instant Brands LLC      Nabico Enterprises LTD                         Customer Agreements Agreement Regarding Distribution ‐ Kenya                                           ‐
                            74 ENTERPRISE ROAD
                            ATTN: MR. MIRAV SHAH‐DIRECTOR
                            PO BOX 39639
                            NAIROBI 623
                            KENYA

766 Instant Brands LLC      NAI Hiffman                                    Confidentiality        Non‐Disclosure Agreement                                                        ‐
                            One Oakbrook Terrace #400                      Agreements
                            OAKBROOK TERRACE, IL 60181

767 Instant Brands LLC      National Cattlemen’s Beef Association          License Agreements     Letter of Authorization_FY22                                                    ‐
                            ATTN: Aimee Graugnard
                            9110 E. Nichols Ave
                            Suite 300
                            CENTENNIAL, CO 80112

768 Instant Brands Inc.     NCC Group Escrow Associates, LLC,              IT Agreements          Escrow as a Service Replicate+ Agreement                                  6,112.15
                            11675 Rainwater Drive
                            600 Northwinds
                            Suite 260
                            ALPHARETTA, GA 30009

769 Instant Brands Inc.     NDA Party 1                                    Confidentiality        Intellectual Property and Confidential Information Agreement                    ‐
                            3025 HIGHLAND PARKWAY                          Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

770 Instant Brands LLC      NDA Party 10                                   Confidentiality        Mutual NDA                                                                      ‐
                            3025 HIGHLAND PARKWAY                          Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

771 Instant Brands          NDA Party 11                                   Financial Agreements   Restrictive Covenant Agreement with Employee 29                                 ‐
    Acquisition Holdings    3025 HIGHLAND PARKWAY
    Inc.                    SUITE 700
                            DOWNERS GROVE, IL 60515

772 Instant Brands Inc.     NDA Party 11                                   Confidentiality        Intellectual Property and Confidential Information Agreement                    ‐
                            3025 HIGHLAND PARKWAY                          Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

773 Instant Brands Inc.     NDA Party 12                                   Confidentiality        Intellectual Property Information Agreement                                     ‐
                            3025 HIGHLAND PARKWAY                          Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

774 Instant Brands          NDA Party 12                                   Financial Agreements   Restrictive Covenant Agreement with Employee 30                                 ‐
    Acquisition Holdings    3025 HIGHLAND PARKWAY
    Inc.                    SUITE 700
                            DOWNERS GROVE, IL 60515

775 Instant Brands Inc.     NDA Party 13                                   Confidentiality        Intellectual Property Information Agreement                                     ‐
                            3025 HIGHLAND PARKWAY                          Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515
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 #       Debtor Entity                                   Counterparty                 Agreement Type                              Agreement Description                 Proposed Cure Costs
776 Instant Brands         NDA Party 13                                           Financial Agreements   Restrictive Covenant Agreement with Employee 31                                  ‐
    Acquisition Holdings   3025 HIGHLAND PARKWAY
    Inc.                   SUITE 700
                           DOWNERS GROVE, IL 60515

777 Instant Brands Inc.    NDA Party 2                                            Confidentiality        Intellectual Property and Confidential Information Agreement                    ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

778 Instant Brands LLC     NDA Party 3                                            Confidentiality        NDA                                                                             ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

779 Instant Brands LLC     NDA Party 4                                            Confidentiality        Mutual NDA                                                                      ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

780 Instant Brands Holdings NDA Party 5                                           Confidentiality        NDA                                                                             ‐
    Inc.                    3025 HIGHLAND PARKWAY                                 Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

781 Instant Brands LLC     NDA Party 6                                            Confidentiality        NDA                                                                             ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

782 Instant Brands Holdings NDA Party 7                                           Confidentiality        NDA                                                                             ‐
    Inc.                    3025 HIGHLAND PARKWAY                                 Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

783 Instant Brands Holdings NDA Party 8                                           Confidentiality        NDA                                                                             ‐
    Inc.                    3025 HIGHLAND PARKWAY                                 Agreements
                            SUITE 700
                            DOWNERS GROVE, IL 60515

784 Instant Brands LLC     NDA Party 9                                            Confidentiality        Mutual NDA                                                                      ‐
                           3025 HIGHLAND PARKWAY                                  Agreements
                           SUITE 700
                           DOWNERS GROVE, IL 60515

785 Instant Brands LLC     NEOFLAM INC                                            Confidentiality        Non‐Disclosure Agreement                                                        ‐
                           1, Gieopdosi‐ro, Jijeong‐myeon, Wonju‐si, Gangwon‐do   Agreements

                           KOREA

786 Instant Brands LLC     Nestlé USA, Inc.,                                      Confidentiality        Mutual NDA                                                                      ‐
                           NESTLE USA, INC. ‐ Legal                               Agreements
                           Legal 1812 North Moore Street
                           ARLINGTON, VA 22209

787 Instant Brands LLC     New York Power Authority                               Service and Supply     Rate Adjustment                                                                 ‐
                           30 SOUTH PEARL STREET                                  Agreements
                           10TH FLOOR
                           ALBANY, NY 12207‐3425

788 Instant Brands LLC     NHL ENTERPRISES, L.P.                                  License Agreements     Retail License Agreement                                                        ‐
                           ONE MANHATTAN WEST
                           395 NINTH AVENUE
                           NEW YORK, NY 10001

789 Instant Brands LLC     Nibek Limited                                          Confidentiality        NDA                                                                             ‐
                           Unit 5, Whieldon Rd                                    Agreements
                           Industrial Estate, Whieldon Rd.
                           Stoke On Trent
                           STAFFORSHIRE ST4 4JP
                           UNITED KINGDOM

790 Instant Brands LLC     Nik of Time, Inc.                                      Confidentiality        Mutual NDA                                                                      ‐
                           PO BOX 10248                                           Agreements
                           NEWPORT BEACH, CA 92658

791 Instant Brands LLC     Ningbo Xingwei Cutting‐ Tools Technplogy Co., Ltd      Service and Supply     XW Settlement Agreement                                                 103,142.03
                           2 XINYUAN NO. 1 ROAD, XIDIAN                           Agreements
                           NINGHAI 315613
                           CHINA

792 Instant Brands LLC     Noibu Technologies Inc.                                IT Agreements          Software Services Agreement                                                     ‐
                           979 Bank Street
                           Suite 500
                           OTTAWA, ON K1S 3W7
                           CANADA

793 Instant Brands LLC     NOL‐TEC SYSTEMS, INC                                   Confidentiality        Non‐Disclosure Agreement                                                        ‐
                           ATTN: LEGAL DEPT                                       Agreements
                           425 APOLLO DRIVE
                           LINO LAKES, MN 55014
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 #       Debtor Entity                                    Counterparty                   Agreement Type                              Agreement Description     Proposed Cure Costs
794 Instant Brands LLC     Nol‐Tec Systems, Inc.                                      Service and Supply   Supply and Installation Agreement                             14,125.05
                           ATTN: LEGAL DEPT                                           Agreements
                           425 APOLLO DRIVE
                           LINO LAKES, MN 55014

795 Instant Brands LLC     NORFOLK SOUTHERN RAILWAY COMPANY                           Service and Supply   Siding Agreement                                              44,978.11
                           Norfolk Southern Railway Company Division Superintendent   Agreements
                           4600 Deer Path Road
                           HARRISBURG, PA 17110

796 Instant Brands LLC     NORFOLK SOUTHERN RAILWAY COMPANY                           Service and Supply   Pacesetter Customer Demurrage Agreement                              ‐
                           Norfolk Southern Railway Company Division Superintendent   Agreements
                           4600 Deer Path Road
                           HARRISBURG, PA 17110

797 Instant Brands LLC     Norfolk Southern                                           Service and Supply   Enhanced Resolution Exhibit A to Siding Agreement                    ‐
                           110 FRANKLIN ROAD                                          Agreements
                           ROANOKE, VA 24042‐0020

798 Instant Brands Holdings North American Capacity Insurance Company                 Confidentiality      NDA                                                                  ‐
    Inc.                    650 Elm Street                                            Agreements
                            MANCHESTER, NH 03101

799 Instant Brands LLC     North American Corporation                                 Confidentiality      Confidentiality Agreement                                            ‐
                           2101 Clair Court                                           Agreements
                           GLENVIEW, IL 60025

800 Instant Brands LLC     NPD Group, Inc.                                            Confidentiality      NDA                                                                  ‐
                           ATTN: SUSAN BENNETT, CHIEF LEGAL OFFICER                   Agreements
                           900 WEST SHORE ROAD
                           PORT WASHINGTON, NY 11050

801 Instant Brands LLC     NSF International                                          Service and Supply   Agreement                                                            ‐
                           789 N. DIXBORO ROAD                                        Agreements
                           ANN ARBOR, MI 48105‐9723

802 Instant Brands LLC     NSF International                                          Service and Supply   1st Amendment to Agreement                                           ‐
                           789 N. DIXBORO ROAD                                        Agreements
                           ANN ARBOR, MI 48105‐9723

803 Instant Brands LLC     O’Hare Mechanical Contractors, Inc,                        Service and Supply   OHare Mechanical Contractors Inc ‐ Maintenance                 3,100.00
                           951 Oakton St.                                             Agreements
                           ELK GROVE VILLAGE, IL 60007

804 Instant Brands LLC     OCEAN NETWORK EXPRESS PTE. LTD.                            Service and Supply   Service Contract                                                     ‐
                           ATTN: ELIZABETH SMALL DIRECTOR                             Agreements
                           8730 STONY POINT PARKWAY
                           RICHMOND, VA 23235


805 Instant Brands Inc.    Oceanwing Service Limited                                  Service and Supply   Instant Brands Standard Agreement Dec 20 2022                        ‐
                           ROOM 1318‐19 HOLLYWOOD PLAZA, 610 N                        Agreements
                           KOWLOON
                           HONG KONG
                           CHINA

806 Instant Brands LLC     OFFICE DEPOT, LLC                                          Customer Agreements Trade Vendor Purchasing Agreement                                     ‐
                           PO BOX 88040
                           CHICAGO, IL 60680‐1040

807 Instant Brands LLC     Office H2O                                                 Equipment Leases     Lease Agreement (Ice Machines)                                       ‐
                           7402 E 90th St
                           INDIANAPOLIS, IN 46256

808 Instant Brands LLC     O‐I Packaging Solutions LLC                                Service and Supply   Supply Agreement                                                     ‐
                           ATTN: ASST. TREASURER                                      Agreements
                           5200 TENNYSON PKWY, SUITE 100
                           PLANO, TX 75024

809 Instant Brands LLC     Olivotto Glass Technologies, S.P.A.                        Service and Supply   Master Agreement                                              36,026.00
                           ATTN: MR. PUCCI MASSIMO                                    Agreements
                           VIALE GANDHI 22
                           AVIGLIANA (TO) 10051
                           ITALY

810 Instant Brands LLC     Olson Machining, Inc.                                      Confidentiality      Non‐Disclosure Agreement                                             ‐
                           1804 Hogan Dr.                                             Agreements
                           SPRING GROVE, IL 60081

811 Instant Brands LLC     One Mug Brewers                                            Confidentiality      Mutual NDA                                                           ‐
                           2573 HARVEST MOON COURT                                    Agreements
                           GREEN BAY, WI 54311

812 Instant Brands LLC     One Trust                                                  IT Agreements        DSAR + CC                                                            ‐
                           1200 Abernathy Rd NE
                           Bldg 600
                           ATLANTA, GA 30328

813 Instant Brands LLC     OneTrust                                                   IT Agreements        Cookie Consent Guided Onboarding Package SOW                         ‐
                           1200 Abernathy Rd NE
                           Bldg 600
                           ATLANTA, GA 30328
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 #       Debtor Entity                                   Counterparty       Agreement Type                              Agreement Description          Proposed Cure Costs
814 Instant Brands LLC      Onit, Inc.                                  IT Agreements         2023 Renewal                                                               ‐
                            1360 Post Oak Blvd.
                            Suite 2200
                            HOUSTON, TX 77056

815 Instant Brands LLC      Ontario Knife Co.                           Confidentiality       Non‐Disclosure Agreement                                                  ‐
                            26 Empire Street                            Agreements
                            FRANKLINVILLE, NY 14737

816 Instant Brands Holdings Open 4 Business Productions LLC             License Agreements    Vendor Tradeout Agreement                                                 ‐
    Inc.                    100 UNIVERSAL CITY PLAZA
                            UNIVERSAL CITY, CA 91608

817 Instant Brands Holdings Open Influence, Inc.                        Confidentiality       NDA                                                                       ‐
    Inc.                    8455 Beverly Blvd                           Agreements
                            Suite 300
                            LOS ANGELES, CA 90048

818 Instant Brands LLC      OpenText                                    Service and Supply    Cloud Services SOW                                                 22,697.91
                            24685 NETWORK PLACE                         Agreements
                            CHICAGO, IL 60673‐1246

819 Instant Brands Inc.     Optimal Design Co.                          Service and Supply    Master Services Agreement                                                 ‐
                            ATTN: JOSEPH Z. WASCOW                      Agreements
                            601 W. CAMUS DRIVE
                            SUITE B3
                            ARLINGTON HEIGHTS, IL 60004

820 Instant Brands (Canada) Oracle America, Inc.                        Service and Supply    Ordering Document                                                  59,462.45
    Holding Inc.            500 ORACLE PARKWAY                          Agreements
                            REDWOOD SHORES, CA 94065

821 Instant Brands LLC      ORACLE ELEVATOR                             Service and Supply    Service Agreement                                                         ‐
                            PO BOX 770                                  Agreements
                            HAGERSTOWN, MD 21741‐0770

822 Instant Brands LLC      Oracle Elevator                             Service and Supply    Elevator Service and Preventive Maintenance Agreement                 979.85
                            PO BOX 770                                  Agreements
                            HAGERSTOWN, MD 21741‐0770

823 Instant Brands LLC      OSF Global Services, Inc.                   Service and Supply    Change Order 1                                                      5,000.00
                            500 EDGEWATER DRIVE, SUITE 509              Agreements
                            WAKEFIELD, MA 01880

824 Instant Brands LLC      Otto Group                                  Customer Agreements Signed Code of Conduct                                                      ‐
                            1‐7 Werner‐otto‐str
                            Hamburg 22179
                            GERMANY

825 Instant Brands LLC      Overstock.com, Inc.                         Customer Agreements CLAIMS FILING AMENDMENT 20220606                                            ‐
                            799 W. Coliseum Way
                            Midvale, UT 84047

826 Instant Brands LLC      Overstock.com, Inc.                         Customer Agreements First Cost Supplier Agreement                                               ‐
                            799 W. Coliseum Way
                            Midvale, UT 84047

827 Instant Brands LLC      Owens‐Brockway Glass Container Inc.         Service and Supply    Mold Equipment Responsibility Form                                        ‐
                            5200 TENNYSON PKWY, STE 100                 Agreements
                            PLANO, TX 75024‐7159

828 Instant Brands LLC      Owens‐Brockway Glass Container Inc.         Confidentiality       Non‐Disclosure Agreement                                                  ‐
                            5200 TENNYSON PKWY, STE 100                 Agreements
                            PLANO, TX 75024‐7159

829 Instant Brands LLC      Packaging Consultants, Inc                  Confidentiality       Non‐Disclosure Agreement                                                  ‐
                                                                        Agreements
                            9 Welby Rd
                            NEW BEDFORD, MA 02745

830 Instant Brands LLC      PACKAGING CORPORATION OF AMERICA            Service and Supply    Purchase of 3rd Party Product for Displays (V 5‐28‐19)                    ‐
                            435 GITTS RUN ROAD                          Agreements
                            HANOVER, PA 17331

831 Instant Brands LLC      Packaging Corporation of America            Confidentiality       NDA                                                                       ‐
                            435 GITTS RUN ROAD                          Agreements
                            HANOVER, PA 17331

832 Instant Brands LLC      Packaging Corporation of America            Service and Supply    Office Space Improvement and Usage Agreement                              ‐
                            435 GITTS RUN ROAD                          Agreements
                            HANOVER, PA 17331

833 Instant Brands LLC      Packaging Corporation of America            Service and Supply    1st Amendment to Agreement on Terms and Conditions                        ‐
                            435 GITTS RUN ROAD                          Agreements
                            HANOVER, PA 17331

834 Instant Brands LLC      Packaging Corporation of America            Service and Supply    Warehouse Service Agreement                                               ‐
                            435 GITTS RUN ROAD                          Agreements
                            HANOVER, PA 17331

835 Instant Brands LLC      Packaging Corporation of America            Service and Supply    Second Amendment to T&C dtd 06‐07‐23                              902,177.67
                            435 GITTS RUN ROAD                          Agreements
                            HANOVER, PA 17331
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 #       Debtor Entity                                  Counterparty            Agreement Type                               Agreement Description             Proposed Cure Costs
836 Instant Brands Holdings Pancal Sycamore Canyon 257 LLC                   Real Property Leases   Consent to Sublease 2325 Cottonwood, Riverside                               ‐
    Inc.                    600 WASHINGTON AVENUE, SUITE 1100
                            ST. LOUIS, MO 63101

837 Instant Brands Holdings Pancal Sycamore Canyon 257 LLC                   Real Property Leases   2nd Amendment to Lease ‐ (Cottonwood, Riverside) 3.23.22                    ‐
    Inc.                    600 WASHINGTON AVENUE, SUITE 1100
                            ST. LOUIS, MO 63101

838 Instant Brands LLC       PANCAL SYCAMORE CANYON 257 LLC                  Real Property Leases   First Amendment to Lease                                                    ‐
                             600 WASHINGTON AVENUE, SUITE 1100
                             ST. LOUIS, MO 63101

839 Instant Brands LLC       PanCal Sycamore Canyon 257 LLC                  Real Property Leases   Lease Agreement                                                      71,468.42
                             600 WASHINGTON AVENUE, SUITE 1100
                             ST. LOUIS, MO 63101




840 Instant Brands LLC       Park Place Technologies                         IT Agreements          589034‐Instant Brands LLC ‐ New.pdf                                         ‐
                             5910 LANDERBROOK DRIVE
                             SUITE 300
                             MAYFIELD HEIGHTS, OH 44124

841 Instant Brands LLC       Partners & Napier Inc.                          Service and Supply     Services Agreement and Statement of Work                                    ‐
                             ATTN: LEGAL DEPARTMENT                          Agreements
                             192 MILL STREET
                             SUITE 600
                             ROCHESTER, NY 14614

842 Instant Brands LLC       Partners Personnel ‐ Management Services, LLC   Service and Supply     Standard Client Service Agreement                                           ‐
                             3820 State St.                                  Agreements
                             Ste. B.
                             SANTA BARBARA, CA 93105

843 Instant Brands LLC       Party City Holdings Inc                         Customer Agreements Vendor Participation Agreement                                                 ‐
                             80 Grasslands Road
                             Elmsford, NY 10523

844 Instant Brands LLC       PASABAHCE                                       Confidentiality        NDA                                                                         ‐
                             No: 44/A, D100                                  Agreements
                             Tuzla/Istanbul
                             TURKEY

845 Instant Brands LLC       Pauway Corporation                              Confidentiality        Non‐Disclosure Agreement                                                    ‐
                             63 N Cherry St, #2                              Agreements
                             Wallingford, CT 06492

846 Instant Brands LLC       Paymetric, Inc.                                 IT Agreements          Service Agreement                                                    28,428.00
                             8500 GOVERNORS HILL DR
                             SYMMES TOWNSHIP, OH 45249

847 Instant Brands Holdings PayPal, Inc.                                     Service and Supply     Quick Start_Original_Pricing Amendment_2022‐07‐18                           ‐
    Inc.                    2211 North First Street                          Agreements
                            SAN JOSE, CA 95131

848 Instant Brands LLC       PayPal, Inc.                                    Confidentiality        Non‐Disclosure Agreement                                                    ‐
                             2211 North First Street                         Agreements
                             SAN JOSE, CA 95131

849 Instant Brands LLC       PBS Software Americas, Inc.                     Service and Supply     Support Services Agreement ‐ Rev 3                                    5,270.00
                             2603 CAMINO RAMON                               Agreements
                             SUITE 200
                             SAN RAMON, CA 94583

850 Instant Brands LLC       PC Connection Sales Corp. d/b/a Connection      Service and Supply     NetAcctTermsConditionsNet45                                         314,468.93
                             PO BOX 4520                                     Agreements
                             WOBURN, MA 01888

851 Instant Brands LLC       PCHI‐Amscan Inc.                                Customer Agreements Vendor Participation Agreement                                                 ‐
                             1 Celebration Square
                             Woodcliff Lake, NJ 07677

852 Instant Brands LLC       PCHI‐Amscan, Inc.                               Customer Agreements Vendor Participation Agreement                                                 ‐
                             1 Celebration Square
                             Woodcliff Lake, NJ 07677

853 Instant Brands LLC       Peacock TV LLC                                  Confidentiality        Confidentiality Agreement                                                   ‐
                             30 Rockefeller Plaza                            Agreements
                             NEW YORK, NY 10112

854 Instant Brands LLC       Peak‐Ryzex, Inc.                                Service and Supply     Greencastle CK71 Scanner                                            136,249.00
                             8458 SOLUTIONS CENTER                           Agreements
                             CHICAGO, IL 60677‐8002

855 Instant Brands LLC       PEARL TRADING CO. LTD.                          Customer Agreements Non‐Exclusive Distributor Agreement                                            ‐
                             190 GOMYO
                             SANJO‐CITY
                             NIIGATA‐PREF 955‐8588
                             JAPAN
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 #       Debtor Entity                                       Counterparty                         Agreement Type                           Agreement Description        Proposed Cure Costs
856 Instant Brands Holdings PEARLFISHER, INC.                                                  Confidentiality      Non‐Disclosure Agreement                                              ‐
    Inc.                    455 Broadway                                                       Agreements
                            5th Floor
                            NEW YORK, NY 10013

857 Instant Brands LLC     PECO                                                                Confidentiality      NDA                                                                  ‐
                           571 Six Mile Rd NW                                                  Agreements
                           COMSTOCK PARK, MI 49321

858 Instant Brands LLC     Penmac Staffing Services, Inc.                                      Service and Supply   Memorandum of Understanding                                          ‐
                           447 SOUTH AVENUE                                                    Agreements
                           SPRINGFIELD, MO 65806

859 Instant Brands LLC     Pennwest Industrial Trucks, LLC                                     Equipment Leases     Toyota ICF ‐ Lease 8FD40U                                     79,483.08
                           168 Westec Dr, Mount Pleasant, PA 15666
                           Mount Pleasant, PA 15666

860 Instant Brands LLC     Pennwest Industrial Trucks, LLC                                     Equipment Leases     Toyota ICF ‐ Lease 8FDU30                                            ‐
                           168 Westec Dr, Mount Pleasant, PA 15666
                           Mount Pleasant, PA 15666

861 Instant Brands Inc.    PENSONIC INDUSTRIES SDN BHD                                         Confidentiality      NDA                                                                  ‐
                           Lot 11A, Jalan 51a/223, Sec 51A                                     Agreements
                           Petaling Jaya, Selangor 46100
                           Malaysia

862 Instant Brands Holdings PG Source Topco LLC                                                Service and Supply   SOW                                                                  ‐
    Inc.                    DBA SOURCE INTELLIGENCE                                            Agreements
                            ATTN: CONTRACTS ADMINISTRATION.
                            1921 PALOMAR OAKS WAY, STE 205
                            CARLSBAD, CA 92008

863 Instant Brands Holdings PG Source Topco LLC.                                               Service and Supply   Master Services Agreement                                            ‐
    Inc.                    DBA SOURCE INTELLIGENCE                                            Agreements
                            ATTN: CONTRACTS ADMINISTRATION.
                            1921 PALOMAR OAKS WAY, STE 205
                            CARLSBAD, CA 92008

864 Instant Brands LLC     Phoenix Business, Inc.                                              Service and Supply   Professional Services Agreement                               15,120.00
                           ATTN: HANIF SARANGI, PRESIDENT                                      Agreements
                           6021 MIDNIGHT PASS RD.
                           UNIT 3
                           SARASOTA, FL 34242‐3213

865 Instant Brands LLC     Phoenix Business, Inc., DBA Phoenix Business Consulting (Phoenix)   Service and Supply   RMK Upgrade SOW_IB November 2022                                     ‐
                           ATTN: HANIF SARANGI, PRESIDENT                                      Agreements
                           6021 MIDNIGHT PASS RD.
                           UNIT 3
                           SARASOTA, FL 34242‐3213

866 Instant Brands         PICC Property & Casualty Co.                                        Confidentiality      NDA                                                                  ‐
    Acquisition Holdings   No.50 Boai Wu Road                                                  Agreements
    Inc.                   East District Zhongshan
                           GUANGDONG
                           CHINA

867 Instant Brands LLC     Pitcairn LLC dba Chef's Catalog                                     Customer Agreements Vendor Direct to Consumer (V2C) Purchase Agreement                    ‐
                           215 Gateway Road West
                           Suite 101
                           NAPA, CA 94558

868 Instant Brands LLC     Pitcairn, LLC dba Chef’s Catalog                                    Customer Agreements Vendor Direct‐to‐Consumer Purchase Agreement                          ‐
                           215 Gateway Road West
                           Suite 101
                           NAPA, CA 94558

869 Instant Brands LLC     Pitney Bowes                                                        Equipment Leases     Lease Agreement                                                3,125.80

                           PO BOX 371887
                           PITTSBURGH, PA 15250‐7896

870 Instant Brands LLC     Pitt Ohio Express, LLC                                              Service and Supply   Service Agreement                                                    ‐
                           15 27TH STREET                                                      Agreements
                           PITTSBURGH, PA 15222

871 Instant Brands LLC     Pittsburg Steelers                                                  Confidentiality      NDA                                                                  ‐
                           3400 S Water Street                                                 Agreements
                           PITTSBURGH, PA 15203

872 Instant Brands LLC     Pixlee TurnTo                                                       Service and Supply   Service Order Form                                                   ‐
                           625 MARKET STREET                                                   Agreements
                           FLOOR 9
                           SAN FRANCISCO, CA 94105

873 Instant Brands LLC     Planisware USA, Inc                                                 IT Agreements        Master Services Agreement                                            ‐
                           300 MONTGOMERY STREET
                           SUITE 930
                           SAN FRANCISCO, CA 94104

874 Instant Brands LLC     Planisware                                                          IT Agreements        Enterprise SAAS Subscription Order                                   ‐
                           300 MONTGOMERY STREET
                           SUITE 930
                           SAN FRANCISCO, CA 94104
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 #       Debtor Entity                                     Counterparty      Agreement Type                            Agreement Description                        Proposed Cure Costs
875 Instant Brands LLC    PMR Inc.                                        Service and Supply   VIP PACKET 2022                                                                 3,395.27
                          1615 OGDEN AVENUE                               Agreements
                          OSWEGO, IL 60543

876 Instant Brands LLC    PMX Agency LLC                                  Service and Supply   Master Services Agreement                                                             ‐
                          5 HANOVER SQUARE                                Agreements
                          ATTN: RICHARD WULWICK
                          NEW YORK, NY 10004

877 Instant Brands LLC    PNC BANK, NATIONAL ASSOCIATION                  Service and Supply   Subordination Non‐Disturbance and Attornment Agreement (MMDC)                         ‐
                          THE TOWER AT PNC PLAZA 300, 5TH AVENUE          Agreements
                          PITTSBURGH, PA 15222

878 Instant Brands LLC    Pollyda Manufacturing Ltd                       Service and Supply   Supply Agreement                                                                      ‐
                          C1‐C4 RESIDENTAL QUARTER                        Agreements
                          ANNING ROAD
                          YANGJIANG CITY
                          CHINA

879 Instant Brands LLC    Pollyda Manufacturing Ltd                       Service and Supply   Supply Agreement                                                                      ‐
                          C1‐C4 RESIDENTAL QUARTER                        Agreements
                          ANNING ROAD
                          YANGJIANG CITY
                          CHINA

880 Instant Brands LLC    PORCELANAS ANFORA SRL CV                        Confidentiality      NDA                                                                                   ‐
                          Camino a Pozos Tellez, km. 1.5                  Agreements
                          Pachuca, HGO
                          42816
                          MEXICO

881 Instant Brands LLC    Power Authority of the State of New York        Service and Supply   1st Amendment to Agreement for the Sale of Supplemental Power and                     ‐
                          30 SOUTH PEARL STREET                           Agreements           Energy
                          10TH FLOOR
                          ALBANY, NY 12207‐3425

882 Instant Brands LLC    POWER AUTHORITY OF THE STATE OF NEW YORK        Service and Supply   Amendment to Agreement for the Sale of Recharge New York Power and                    ‐
                          30 SOUTH PEARL STREET                           Agreements           Energy
                          10TH FLOOR
                          ALBANY, NY 12207‐3425

883 Instant Brands LLC    Power Play Marketing Group LLC                  Customer Agreements Nonexclusive Distributor Agreement                                                     ‐
                          1300 Mendota Heights Rd
                          MENDOTA HEIGHTS, MN 55120

884 Instant Brands Inc.   PowerReviews, Inc                               Service and Supply   Service Order for IB                                                                  ‐
                          1 N. DEARBORN                                   Agreements
                          SUITE 800
                          ATTN: LEGAL
                          CHICAGO, IL 60602

885 Instant Brands LLC    PowerReviews, Inc.                              Service and Supply   Service Order for CB                                                                  ‐
                          1 N. DEARBORN                                   Agreements
                          SUITE 800
                          ATTN: LEGAL
                          CHICAGO, IL 60602

886 Instant Brands LLC    PowerStation Studios Ltd                        Confidentiality      Non‐Disclosure Agreement                                                              ‐
                          220 Queenstown Road                             Agreements
                          LONDON SW8 4LP
                          UNITED KINGDOM

887 Instant Brands LLC    Praxair, Inc.                                   Service and Supply   Extension Agreement                                                                   ‐
                          10 RIVERVIEW DRIVE                              Agreements
                          DANBURY, CT 06810

888 Instant Brands LLC    Praxair, Inc.                                   Service and Supply   1st Amendment to On‐Site Oxygen Supply Agreement                                      ‐
                          10 RIVERVIEW DRIVE                              Agreements
                          DANBURY, CT 06810

889 Instant Brands LLC    PRAXAIR, INC.                                   Service and Supply   On‐Site Oxygen Supply Agreement                                                       ‐
                          39 Old Ridgebury Road                           Agreements
                          DANBURY, CT 06810




890 Instant Brands LLC    Premier Employee Solutions LLC.                 Service and Supply   IBCB agreement                                                                        ‐
                          3596 MOUNTAIN VISTA PARKWAY 2                   Agreements
                          PROVO, UT 84606

891 Instant Brands LLC    Premier Employee Solutions LLC.                 Service and Supply   Placement Services Agreement                                                          ‐
                          3596 MOUNTAIN VISTA PARKWAY 2                   Agreements
                          PROVO, UT 84606

892 Instant Brands Inc.   Premier Meat                                    License Agreements   Co‐Branding and License Agreement                                                     ‐
                          5030 Gifford Ave
                          Vernon, CA 90058

893 Instant Brands LLC    PREMIER SERVICES, LLC,                          Service and Supply   Group Purchasing Agreement                                                            ‐
                          13034 Ballantyne Corporate Place                Agreements
                          CHARLOTTE, NC 28277

894 Instant Brands LLC    Premium Retail Services                         Service and Supply   Retail Services Planogram Setup Dinnerware                                            ‐
                          618 SPIRIT DRIVE                                Agreements
                          CHESTERFIELD, MO 63005
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 #       Debtor Entity                                 Counterparty      Agreement Type                              Agreement Description        Proposed Cure Costs
895 Instant Brands Holdings PREMIUM RETAIL SERVICES, INC              Service and Supply    Retail Services Agreement                                        2,356.00
    Inc.                    618 SPIRIT DRIVE                          Agreements
                            CHESTERFIELD, MO 63005

896 Instant Brands LLC     PriceSpider                                IT Agreements         Software as a Service Agreement                                        ‐
                           20 Pacifica
                           Suite 1000
                           Irvine, CA 92618

897 Instant Brands Holdings PriceWaterhouseCoopers LLC (PWC)          Service and Supply    AUP Audit Defense & Corporate Asset Recovery 4.6.23             21,210.41
    Inc.                    1075 PEACHTREE STREET                     Agreements
                            SUITE 2600
                            ATLANTA, GA 30309

898 Instant Brands LLC     Prime Durables Co WLL                      Customer Agreements Agreement Regarding Distribution                                         ‐
                           ATTN: MR. MOHAMED NAJEEB
                           MUSHEIREB STREET
                           PO BOX 16576
                           DOHA
                           QATAR

899 Instant Brands LLC     PRIME DURABLES CO WLL                      Customer Agreements Distribution Authorization Letter                                        ‐
                           ATTN: MR. MOHAMED NAJEEB
                           MUSHEIREB STREET
                           PO BOX 16576
                           DOHA
                           QATAR

900 Instant Brands LLC     PRIME WORLD ENTERPRISES LLC                Customer Agreements Agreement Regarding Distribution                                         ‐
                           ATTN: MR. MUNEER P.V.
                           PO BOX 1164
                           PC 130
                           RUWI
                           OMAN

901 Instant Brands LLC     PRIME WORLD ENTERPRISES OMAN               Customer Agreements Appointment Letter                                                       ‐
                           ATTN: MR. MUNEER P.V.
                           PO BOX 1164
                           PC 130
                           RUWI
                           OMAN

902 Instant Brands Inc.    Priority Designs Inc                       Service and Supply    Agreement re Sonic Signature                                           ‐
                           100 SOUTH HAMILTON ROAD                    Agreements
                           COLUMBUS, OH 43213

903 Instant Brands LLC     Priority Designs                           Confidentiality       Non‐Disclosure Agreement                                               ‐
                           100 SOUTH HAMILTON ROAD                    Agreements
                           COLUMBUS, OH 43213

904 Instant Brands LLC     Priority Designs, Inc.                     Service and Supply    Agreement re Measuring Cup Scale Hybrid                                ‐
                           100 SOUTH HAMILTON ROAD                    Agreements
                           COLUMBUS, OH 43213

905 Instant Brands Inc.    Priority Designs, Inc.                     Service and Supply    MSA                                                                    ‐
                           100 SOUTH HAMILTON ROAD                    Agreements
                           COLUMBUS, OH 43213

906 Instant Brands Inc.    PRIORITY DESIGNS, INC.                     Confidentiality       Non‐Disclosure Agreement                                               ‐
                           100 SOUTH HAMILTON ROAD                    Agreements
                           COLUMBUS, OH 43213

907 Instant Brands LLC     Procurement Advisors LLC                   Service and Supply    FCX Affiliation Agreement                                              ‐
                           3101 Towercreek Parkway                    Agreements
                           Suite 250
                           ATLANTA, GA 30339

908 Instant Brands LLC     Procurement Advisors LLC                   Service and Supply    By Laws                                                                ‐
                           3101 Towercreek Parkway                    Agreements
                           Suite 250
                           ATLANTA, GA 30339

909 Instant Brands LLC     PT Maspion                                 Service and Supply    Supply Agreement                                                       ‐
                           DESA SAWOTRATAP                            Agreements
                           GEDANGAN
                           SIDOARJO 61254
                           INDONESIA

910 Instant Brands LLC     Publications International, Ltd            License Agreements    Trademark License                                                      ‐
                           ATTN: LOUIS WEBER
                           8140 LEHIGH AVENUE
                           MORTON GROVE, IL 60053

911 Instant Brands LLC     Pullman Power LLC                          Service and Supply    PO Rider 624915 PO Rider                                               ‐
                           PO BOX 780056                              Agreements
                           PHILADELPHIA, PA 19178‐0056

912 Instant Brands LLC     PURPLE SQUIRREL, LLC                       Confidentiality       NDA                                                                    ‐
                           33490 Pin Oak Pkwy                         Agreements
                           AVON LAKE, OH 44012

913 Instant Brands LLC     Q4 Inc.                                    IT Agreements         Q4 ‐ Master Client Agreement                                           ‐
                           469a king St W
                           TORONTO, ON M5V 1K4
                           CANADA
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 #       Debtor Entity                               Counterparty      Agreement Type                            Agreement Description                    Proposed Cure Costs
914 Instant Brands LLC    Qingdao Conrun Industry&Trade Co., LTD    Service and Supply     Product Development Manufacturing and Supply Agreement (v2)                      ‐
                          NO.87 LONGTENG ROAD                       Agreements
                          LIXIANZHUANG INDUSTRIAL PARK SHANGMA
                          CHENGYANG
                          QINGDAO 266112
                          CHINA

915 Instant Brands LLC    Qualtrics                                 Service and Supply     Snapware Pet                                                                    ‐
                          333 W. RIVER PARK DR.                     Agreements
                          PROVO, UT 84604

916 Instant Brands LLC    Qualtrics, LLC                            Service and Supply     Order Form                                                                      ‐
                          333 W. RIVER PARK DR.                     Agreements
                          PROVO, UT 84604

917 Instant Brands LLC    Qualtrics, LLC                            Service and Supply     Order Form Snapware Pet License                                                 ‐
                          333 W. RIVER PARK DR.                     Agreements
                          PROVO, UT 84604

918 Instant Brands Holdings Quick Hand Logistics Inc.               Real Property Leases   2325 Cottonwood Avenue, Riverside, CA ‐ Sublease (Execution)                    ‐
    Inc.                    1420 E. COOLEY DR. SUITE 206
                            ATTENTION: JUAN C. RODRIGUEZ
                            COLTON, CA 92324




919 Instant Brands LLC    QVC, Inc.                                 License Agreements     Agreement                                                                       ‐
                          1200 WILSON DR. MC209
                          WEST CHESTER, PA 19380

920 Instant Brands LLC    R.D. NIVEN & ASSOCIATES, LTD.             Confidentiality        NDA                                                                             ‐
                          955 Kimberly Drive                        Agreements
                          CAROL STREAM, IL 60188

921 Instant Brands LLC    Radial                                    Service and Supply     Supplier Access Agreement                                                   141.86
                          PO BOX 204113                             Agreements
                          DALLAS, TX 75320‐4114

922 Instant Brands Inc.   Raffaella Caso                            License Agreements     Trademark License                                                               ‐
                          VIA NICOLA ROMEO 5
                          MILANO 20142
                          ITALY

923 Instant Brands LLC    Raffles & Company                         Customer Agreements Amendment and Renewal of Distributor Agreement                                     ‐
                          14/F Cyber One Plaza, Eastwood City
                          188 E, Rodriguez Jr. Avenue
                          Quezon City 1110
                          PHILLIPPINES

924 Instant Brands LLC    RAILWORKS Track Services, Inc.            Service and Supply     Proposal for Track Work                                                         ‐
                          39530 TREASURY CENTER                     Agreements
                          CHICAGO, IL 60694‐9500

925 Instant Brands LLC    Randstad General Partner (US), LLC        Service and Supply     Temporary Staffing Services Agreement                                           ‐
                          ONE OVERTON PARK                          Agreements
                          3625 CUMBERLAND BLVD
                          SUITE 600
                          ATLANTA, GA 30339

926 Instant Brands LLC    Ravago Americas LLC dba Muehlstein        Service and Supply     Muehlstein MSA 2023                                                     531,790.80
                          1900 SUMMIT TOWER BLVD.                   Agreements
                          SUITE 900
                          ORLANDO, FL 32810

927 Instant Brands LLC    RAVAGO AMERICAS, LLC dba MUEHLSTEIN       Confidentiality        NDA                                                                             ‐
                          1900 SUMMIT TOWER BLVD.                   Agreements
                          SUITE 900
                          ORLANDO, FL 32810

928 Instant Brands LLC    Raymond Handling Solutions Inc            Equipment Leases       Schedule A Certificate of Delivery #354184                                      ‐
                          9939 Norwalk Blvd
                          Santa Fe Springs, CA 90670

929 Instant Brands LLC    Raymond Handling Solutions Inc            Equipment Leases       SCH A continued to Equipment Master Lease Agreement #354184                     ‐
                          9939 Norwalk Blvd
                          Santa Fe Springs, CA 90670

930 Instant Brands LLC    Raymond Handling Solutions Inc            Equipment Leases       Schedule A                                                                      ‐
                          9939 Norwalk Blvd
                          Santa Fe Springs, CA 90670

931 Instant Brands LLC    RAYMOND LEASING CORPORATION               Equipment Leases       Equipment Master Lease Agreement                                         97,228.98
                          PO BOX 301590
                          DALLAS, TX 75303‐1590

932 Instant Brands LLC    RAYMOND LEASING CORPORATION               Equipment Leases       Schedule A                                                                      ‐
                          PO BOX 301590
                          DALLAS, TX 75303‐1590

933 Instant Brands LLC    RAYMOND LEASING CORPORATION               Equipment Leases       Schedule A‐1                                                                    ‐
                          PO BOX 301590
                          DALLAS, TX 75303‐1590
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 #       Debtor Entity                              Counterparty                                   Agreement Type                               Agreement Description              Proposed Cure Costs
934 Instant Brands LLC       RAYMOND LEASING CORPORATION                                        Equipment Leases      Schedule A #354187                                                             ‐
                             PO BOX 301590
                             DALLAS, TX 75303‐1590

935 Instant Brands LLC       RCN TELECOM SERVICES, LLC,                                         Service and Supply    Service Order ‐ Downers Grove, IL ‐ 250M DIA 3yr                              ‐
                             650 College Road East                                              Agreements
                             Princeton, NJ 08540

936 Instant Brands LLC       RCN TELECOM SERVICES, LLC,                                         Service and Supply    Service Order ‐ Riverside, CA ‐ 50M DIA 3yr                                   ‐
                             650 College Road East                                              Agreements
                             Princeton, NJ 08540

937 Instant Brands LLC       Real Time Staffing Services, LLC dba Remedy Intelligent Staffing   Service and Supply    Master Services Agreement for Temporary Placement Services                    ‐
                             1507 Lyndon B Johnson Freeway                                      Agreements
                             Suite 400
                             FARMERS BRANCH, TX 75234

938 Instant Brands LLC       Recruiter Advisors                                                 Service and Supply    Contingency Recruiting Master Services Agreement                              ‐
                             311 S. WACKER DRIVE                                                Agreements
                             SUITE 400
                             CHICAGO, IL 60606

939 Instant Brands LLC       Red Ridge Global Limited                                           Customer Agreements Distributor Agreement                                                           ‐
                             18 SUNG ON STREET
                             PENINSULA SQUARE
                             904, 9/F, HUNG HOM
                             HONG KONG KOWLOON
                             CHINA

940 Instant Brands LLC       REDEVELOPMENT AUTHORITY OF THE COUNTY OF WASHINGTON                Service and Supply    Cooperation Agreement Inserts                                                 ‐
                             50 N Franklin St                                                   Agreements
                             WASHINGTON, PA 15301

941 Instant Brands LLC       RedGear LLC                                                        IT Agreements         Master Services Agreement ‐ 2021                                              ‐
                             123 W. Mills Ave, Suite 503
                             Suite 503
                             El Paso, TX 79901

942 Instant Brands LLC       RedGear, LLC                                                       Service and Supply    Scope of Work ‐ WAN Analysis ‐ 2021                                           ‐
                             123 W. Mills Ave, Suite 503                                        Agreements
                             Suite 503
                             El Paso, TX 79901

943 Instant Brands Inc.      Redline Distribution Limited                                       Customer Agreements Letter of Authorization                                                         ‐
                             495 MARCH ROAD
                             SUITE 200
                             KANATA, ON K2K 3G1
                             CANADA

944 Instant Brands Inc.      Redline Distribution Ltd                                           Customer Agreements Distributor Agreement                                                           ‐
                             495 MARCH ROAD
                             SUITE 200
                             KANATA, ON K2K 3G1
                             CANADA

945 Instant Brands Inc.      Redline Distribution Ltd                                           Customer Agreements Distributor Agreement                                                           ‐
                             495 MARCH ROAD
                             SUITE 200
                             KANATA, ON K2K 3G1
                             CANADA

946 Instant Brands Holdings Reed Exhibitions                                                    Service and Supply    Agreement Order and Schedule A                                                ‐
    Inc.                    P.O. Box 9599                                                       Agreements
                            NEW YORK, NY 10087

947 Instant Brands LLC       Reese Group, Inc.                                                  Service and Supply    Domestic Manufacturers Representative Agreement                               ‐
                             2820 BRANSFORD AVENUE                                              Agreements
                             NASHVILLE, TN 37204

948 Instant Brands Holdings Refel S.p.A.                                                        Confidentiality       NDA                                                                           ‐
    Inc.                    Via Pescopagano 12                                                  Agreements
                            Z.I.P.R., 33078 San Vito al Tagliamento (PN)

                             ITALY

949 Instant Brands LLC       REFERSION                                                          IT Agreements         Service Agreement                                                             ‐
                             ATTN: PRESIDENT
                             1460 BROADWAY
                             NEW YORK, NY 10036

950 Instant Brands LLC       Reinhart Foodservice, LLC                                          Customer Agreements Reinhart Setup Documents                                                        ‐
                             100 HARBORVIEW PLAZA
                             SUITE 200
                             LA CROSSE, WI 54601

951 Instant Brands Inc.      Reliable Marketing Ltd                                             License Agreements    Instant Pot Cookbook Trademark License Agreement                              ‐
                             76 A Priory Street
                             Carmathen, Wales SA311NU
                             UNITED KINGDOM

952 Instant Brands Inc.      Reliable Marketing Ltd                                             License Agreements    Cookbook Trademark License Agreement                                          ‐
                             76 A Priory Street
                             Carmathen, Wales SA311NU
                             UNITED KINGDOM
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 #       Debtor Entity                                  Counterparty       Agreement Type                          Agreement Description             Proposed Cure Costs
953 Instant Brands Inc.   Reliable Marketing Ltd                       License Agreements   Cookbook Trademark License                                                 ‐
                          76 A Priory Street
                          Carmathen, Wales SA311NU
                          UNITED KINGDOM

954 Instant Brands Inc.   Reliable Marketing Ltd                       License Agreements   Instant Pot Cookbook Trademark License                                    ‐
                          76 A Priory Street
                          Carmathen, Wales SA311NU
                          UNITED KINGDOM

955 Instant Brands LLC    Republic Services                            Service and Supply   Service Agreement                                                         ‐
                          770 E. SAHARA AVENUE                         Agreements
                          98508
                          LAS VEGAS, NV 89193‐8508

956 Instant Brands LLC    Reveel, LLC                                  Confidentiality      NDA                                                                       ‐
                          4521 Campus Drive                            Agreements
                          Suite 400
                          Irvine, CA 92612

957 Instant Brands LLC    Rhenus Logistics (Corby) Limited             Service and Supply   Contract Extension to 9‐1‐2023                                            ‐
                          ATTN: GARY DODSWORTH                         Agreements
                          LIVERPOOL ROAD
                          ECCLES
                          MANCHESTER M30 7RF
                          UNITED KINGDOM

958 Instant Brands LLC    Rhenus Logistics (Corby) Limited,            Service and Supply   Agreement for the Supply of Warehousing & Distribution                    ‐
                          ATTN: GARY DODSWORTH                         Agreements
                          LIVERPOOL ROAD
                          ECCLES
                          MANCHESTER M30 7RF
                          UNITED KINGDOM

959 Instant Brands LLC    Rhenus Logistics Limited.                    Confidentiality      Non‐Disclosure Agreement                                                  ‐
                          ATTN: GARY DODSWORTH                         Agreements
                          LIVERPOOL ROAD
                          ECCLES
                          MANCHESTER M30 7RF
                          UNITED KINGDOM

960 Instant Brands LLC    RHM LLC                                      Service and Supply   RHM May 2021                                                              ‐
                          2301 W 22ND ST., STE 102                     Agreements
                          OAK BROOK, IL 60523

961 Instant Brands LLC    RHM Staffing Solutions                       Service and Supply   Exhibit A 5.5.2021                                                        ‐
                          Attn: JOEY CHAZINSKI                         Agreements
                          1933 N MEACHUM RD
                          SCHAUMBURG, IL 60067

962 Instant Brands LLC    RHM Staffing Solutions                       Service and Supply   Exhibit A 5.5.2021                                                        ‐
                          Attn: JOEY CHAZINSKI                         Agreements
                          1933 N MEACHUM RD
                          SCHAUMBURG, IL 60067

963 Instant Brands LLC    RHM, LLC                                     Service and Supply   Corelle Brands LLC Services Agreement                                     ‐
                          2301 W 22ND ST., STE 102                     Agreements
                          OAK BROOK, IL 60523

964 Instant Brands LLC    Rhude Designs, LLC                           License Agreements   Joint Promotion Agreement                                                 ‐
                          9200 W SUNSET BLVD, STE 600
                          LOS ANGELES, CA 90069

965 Instant Brands LLC    Rimini Street, Inc                           Service and Supply   2nd Amendments to 1st and 2nd SOW's                                       ‐
                          3993 HOWARD HUGHES PKWY SUITE 500            Agreements
                          ATTN: LEGAL DEPARTMENT
                          LAS VEGAS, NV 89169

966 Instant Brands LLC    Rimini Street, Inc.                          Service and Supply   SOW 4                                                                     ‐
                          3993 HOWARD HUGHES PKWY SUITE 500            Agreements
                          ATTN: LEGAL DEPARTMENT
                          LAS VEGAS, NV 89169

967 Instant Brands LLC    Rimini Street, Inc.                          Service and Supply   Master Services Agreement                                           9,720.00
                          3993 HOWARD HUGHES PKWY SUITE 500            Agreements
                          ATTN: LEGAL DEPARTMENT
                          LAS VEGAS, NV 89169

968 Instant Brands LLC    Rimini Street, Inc.                          Service and Supply   2nd SOW (OT)                                                              ‐
                          3993 HOWARD HUGHES PKWY SUITE 500            Agreements
                          ATTN: LEGAL DEPARTMENT
                          LAS VEGAS, NV 89169

969 Instant Brands LLC    Rimini Street, Inc.                          Service and Supply   3rd Amendment to 1st SOW (SAP)                                            ‐
                          3993 HOWARD HUGHES PKWY SUITE 500            Agreements
                          ATTN: LEGAL DEPARTMENT
                          LAS VEGAS, NV 89169

970 Instant Brands LLC    Rimini Street, Inc.                          Service and Supply   3rd SOW (RSI Watch SAP)                                                   ‐
                          3993 HOWARD HUGHES PKWY SUITE 500            Agreements
                          ATTN: LEGAL DEPARTMENT
                          LAS VEGAS, NV 89169
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 #       Debtor Entity                            Counterparty      Agreement Type                           Agreement Description       Proposed Cure Costs
971 Instant Brands LLC     Rimini Street, Inc.                   Service and Supply   1st Amendment to 2nd SOW (OT)                                        ‐
                           3993 HOWARD HUGHES PKWY SUITE 500     Agreements
                           ATTN: LEGAL DEPARTMENT
                           LAS VEGAS, NV 89169

972 Instant Brands LLC     Rimini Street, Inc.                   Service and Supply   1st Amendment to 1st SOW                                            ‐
                           3993 HOWARD HUGHES PKWY SUITE 500     Agreements
                           ATTN: LEGAL DEPARTMENT
                           LAS VEGAS, NV 89169

973 Instant Brands LLC     Rimini Street, Inc.                   Service and Supply   1st SOW (SAP)                                                       ‐
                           3993 HOWARD HUGHES PKWY SUITE 500     Agreements
                           ATTN: LEGAL DEPARTMENT
                           LAS VEGAS, NV 89169

974 Instant Brands LLC     RISI, Inc. (d/b/a Fastmarkets RISI)   Service and Supply   Purchase Order                                               12,650.00
                           D/B/A FASTMARKETS RISI                Agreements
                           1 VAN DE GRAAFF
                           SUITE 601
                           BURLINGTON, MA 01803

975 Instant Brands LLC     RISI, Inc. (d/b/a Fastmarkets RISI)   Service and Supply   Purchase Order                                                      ‐
                           D/B/A FASTMARKETS RISI                Agreements
                           1 VAN DE GRAAFF
                           SUITE 601
                           BURLINGTON, MA 01803

976 Instant Brands Inc.    Robert Davidson Inc.                  Service and Supply   Independent Sales Representative Agreement                          ‐
                           1350 rue des Cascades                 Agreements
                           Chateauguay, QC J6J 4Z2
                           CANADA

977 Instant Brands Inc.    Robert Rose Inc.                      License Agreements   Trademark License for Baby Food Cookbook                            ‐
                           120 EGLINTON AVE. EAST
                           SUITE 800
                           ATTN: ROBERT J. DEES
                           TORONTO, ON M4P 1E2
                           CANADA

978 Instant Brands Inc.    Robert Rose Inc.                      License Agreements   Trademark License for Vortex Cookbook                               ‐
                           120 EGLINTON AVE. EAST
                           SUITE 800
                           ATTN: ROBERT J. DEES
                           TORONTO, ON M4P 1E2
                           CANADA

979 Instant Brands LLC     Robert Rose                           License Agreements   Trademark License Agreement                                         ‐
                           120 EGLINTON AVE. EAST
                           SUITE 800
                           ATTN: ROBERT J. DEES
                           TORONTO, ON M4P 1E2
                           CANADA

980 Instant Brands Inc.    RongoMedia Inc.                       Service and Supply   Professional Services Agreement                                     ‐
                           31 Conniston Avenue                   Agreements
                           OTTAWA, ON K2H 5H9
                           CANADA

981 Instant Brands LLC     Rosewill Asia Company Limited         Service and Supply   Supply Agreement                                                    ‐
                           UNIT 901, 9/F, BILLION TRADE CENTRE   Agreements
                           31 HUNG TO ROAD
                           KWUN TONG, KOWLOON
                           HONG KONG
                           CHINA

982 Instant Brands Holdings RSM US LLP                           Service and Supply   Master Services Agreement                                   127,220.00
    Inc.                    201 FIRST STREET SE                  Agreements
                            ATTE: CLIENT RESOURCE CENTER
                            WASHINGTON, DC 20003



983 Instant Brands Inc.    Rubrik LLC                            Confidentiality      NDA                                                                 ‐
                           176 Northgate Rd                      Agreements
                           RIVERSIDE, IL 60506

984 Instant Brands Inc.    Rubrik LLC                            Confidentiality      NDA                                                                 ‐
                           176 Northgate Rd                      Agreements
                           RIVERSIDE, IL 60506

985 Instant Brands LLC     Rye Development, LLC                  Confidentiality      Mutual NDA                                                          ‐
                           100 S. OLIVE AVENUE                   Agreements
                           WEST PALM BEACH, FL 33401

986 Instant Brands Inc.    Ryland Peters & Small                 License Agreements   Instant Pot Trademark License                                       ‐
                           20‐21 Jockey's Fields
                           Holborn, London WC1R 4BW
                           UNITED KINGDOM

987 Instant Brands Inc.    Rylands Peters & Small Limited        License Agreements   Instant Pot Cookbook Trademark License Agreement                    ‐
                           20‐21 Jockey's Fields
                           Holborn, London WC1R 4BW
                           UNITED KINGDOM
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 #       Debtor Entity                                    Counterparty      Agreement Type                               Agreement Description        Proposed Cure Costs
988 Instant Brands LLC     S.P RICHARDS COMPANY                          Customer Agreements Indemnity Agreement                                                        ‐
                           40 Commerce Dr
                           Cranbury, NJ 08512

989 Instant Brands LLC     Saint Anthony industries inc                  Confidentiality      Mutual NDA                                                               ‐
                           36 West Fayette Ave #2                        Agreements
                           SALT LAKE CITY, UT 84101

990 Instant Brands LLC     salesforce.com, inc.                          IT Agreements        Commerce Cloud                                                   344,800.00
                           ATTN: TODD MACHTMES, GENERAL COUNSEL
                           415 MISSION STREET, 3RD FLOOR
                           SAN FRANCISCO, CA 94105

991 Instant Brands Holdings Saliya Wikramanayake                         Service and Supply   PSA (financial services)                                                 ‐
    Inc.                    2725 N DRAKE AVE                             Agreements
                            UNIT 3
                            CHICAGO, IL 60647

992 Instant Brands LLC     SAMA MASCHINENBAU GMBH                        Confidentiality      Mutual Confidentiality Agreement                                         ‐
                           Schillerstr. 21 ‐ D95163                      Agreements
                           Weissbenstadt
                           GERMANY

993 Instant Brands LLC     Samer Sweis                                   Service and Supply   Amendment No. 2 ‐ Samer Sweis                                            ‐
                           8638 Latrobe Ave.                             Agreements
                           BURBANK, IL 60459

994 Instant Brands LLC     Samer Sweis                                   Service and Supply   Consulting Agreement                                                     ‐
                           8638 Latrobe Ave.                             Agreements
                           BURBANK, IL 60459

995 Instant Brands Holdings SANDBOX, INC.                                Confidentiality      Non‐Disclosure Agreement                                                 ‐
    Inc.                    8265 Fountain Ave.                           Agreements
                            Ste 101
                            WEST HOLLYWOOD, CA 90046

996 Instant Brands LLC     Sanlida Electrical Technology Co., Ltd        Service and Supply   Letter Agreement (Exclusive License forSM3700)                   500,141.55
                           101 ‐ Building A — 27                         Agreements
                           Jiangjunmao Community
                           Longgang Street
                           Shenzhen
                           CHINA

997 Instant Brands LLC     Sanrio, Inc.                                  License Agreements   Merchandise License Agreement                                            ‐
                           2050 WEST 190TH STREET, SUITE 205
                           ATTN: CHIEF OPERATING OFFICER
                           TORRANCE, CA 90504

998 Instant Brands Holdings Sanrio, Inc.                                 Confidentiality      Non‐Disclosure Agreement                                                 ‐
    Inc.                    2050 WEST 190TH STREET, SUITE 205            Agreements
                            ATTN: CHIEF OPERATING OFFICER
                            TORRANCE, CA 90504

999 Instant Brands LLC     Sanrio, Inc.                                  License Agreements   AM1 to 34978 – MLA2021001 dated 1.1.21                            48,456.82
                           2050 WEST 190TH STREET, SUITE 205
                           ATTN: CHIEF OPERATING OFFICER
                           TORRANCE, CA 90504

1000 Instant Brands LLC    SAP America Inc.                              IT Agreements        Software License and Support Agreement                                   ‐
                           3999 WEST CHESTER PIKE
                           NEWTOWN SQUARE, PA 19073

1001 Instant Brands LLC    SAP America, Inc.                             License Agreements   Amendment 1 to End‐user License Agreement                                ‐
                           701 LEE ROAD
                           WAYNE, PA 19087

1002 Instant Brands LLC    SAP America, Inc.                             IT Agreements        SAP America ‐ R/3 Software End‐User License Agreement                    ‐
                           701 LEE ROAD
                           WAYNE, PA 19087

1003 Instant Brands LLC    SAP Concur                                    IT Agreements        Order Form                                                               ‐
                           62157 COLLECTIONS CENTER DRIVE
                           CHICAGO, IL 60693

1004 Instant Brands LLC    SAP                                           IT Agreements        General Terms and Conditions enUS v 8‐2014                               ‐
                           PO BOX 7780‐4024
                           PHILADELPHIA, PA 19182‐4024

1005 Instant Brands LLC    Sara Shakeel Limited                          License Agreements   Joint Promotion Agreement                                                ‐
                           ATTN: SARA SHAKEEL & ANUM BASHIR
                           PRINCIPAL TOWERS
                           2702 WORSHIP STREET, SHOREDITCH
                           LONDON EC2A 2FE
                           UNITED KINGDOM




1006 Instant Brands LLC    Sara Shakeel Limited                          Service and Supply   Agreement_IB x SS                                                        ‐
                           ATTN: SARA SHAKEEL & ANUM BASHIR              Agreements
                           PRINCIPAL TOWERS
                           2702 WORSHIP STREET, SHOREDITCH
                           LONDON EC2A 2FE
                           UNITED KINGDOM
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 #        Debtor Entity                                    Counterparty      Agreement Type                               Agreement Description         Proposed Cure Costs
1007 Instant Brands LLC   Schindler Elevator Corporation                  Service and Supply     Elevator Services Addendum                                               ‐
                          PO BOX 70433                                    Agreements
                          CHICAGO, IL 60673‐0433

1008 Instant Brands LLC   School Specialty, LLC                           Customer Agreements Supplier Terms and Conditions                                              ‐
                          ATTENTION: VP MERCHANDISING
                          W6316 DESIGN DRIVE
                          GREENVILLE, WI 54942

1009 Instant Brands LLC   School Specialty. LLC.                          Customer Agreements Supplier Forms                                                             ‐
                          ATTN: VENDOR COMPLIANCE
                          9801 ADAM DON PARKWAY
                          WOODRIDGE, IL 60517

1010 Instant Brands LLC   School Specialty. LLC.                          Customer Agreements 2023 Supplier Program                                                      ‐
                          ATTN: VENDOR COMPLIANCE
                          9801 ADAM DON PARKWAY
                          WOODRIDGE, IL 60517

1011 Instant Brands LLC   School Specialty. LLC.                          Customer Agreements Supplier Requirements Final 2019                                           ‐
                          ATTN: VENDOR COMPLIANCE
                          9801 ADAM DON PARKWAY
                          WOODRIDGE, IL 60517

1012 Instant Brands LLC   SCMI US INC                                     Service and Supply     Lease Agreement                                                         ‐
                          ATTN: DANIEL IZZO                               Agreements
                          300 MADISON AVENUE
                          NEW YORK, NY 10017

1013 Instant Brands LLC   SCMI US INC                                     Confidentiality        NDA                                                                     ‐
                          ATTN: DANIEL IZZO                               Agreements
                          300 MADISON AVENUE
                          NEW YORK, NY 10017

1014 Instant Brands Holdings SCMI US INC                                  Financial Agreements   Security Interest Acknowledgment from Citibank                          ‐
     Inc.                    ATTN: DANIEL IZZO
                             300 MADISON AVENUE
                             NEW YORK, NY 10017

1015 Instant Brands LLC   SCMI US INC                                     Financial Agreements   Security Interest Acknowledgment from JPMorgan Chase                    ‐
                          ATTN: DANIEL IZZO
                          300 MADISON AVENUE
                          NEW YORK, NY 10017

1016 Instant Brands LLC   SCMI US INC                                     Financial Agreements   Security Interest Acknowledgment                                        ‐
                          ATTN: DANIEL IZZO
                          300 MADISON AVENUE
                          NEW YORK, NY 10017

1017 Instant Brands LLC   SCMI US Inc.                                    Financial Agreements   SCMI US Inc. & BMO ‐ Intercreditor Agreement                            ‐
                          ATTN: DANIEL IZZO
                          300 MADISON AVENUE
                          NEW YORK, NY 10017




1018 Instant Brands LLC   SCMI US INC.                                    Financial Agreements   First Amendment to Lease Agreement                                      ‐
                          ATTN: DANIEL IZZO
                          300 MADISON AVENUE
                          NEW YORK, NY 10017

1019 Instant Brands Holdings SCMI US INC.                                 Financial Agreements   Guarantee                                                               ‐
     Inc.                    ATTN: DANIEL IZZO
                             300 MADISON AVENUE
                             NEW YORK, NY 10017
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 #        Debtor Entity                                  Counterparty          Agreement Type                             Agreement Description          Proposed Cure Costs
1020 Instant Brands LLC    SCMI US INC.                                    Financial Agreements   Master Agreement for Precious Metals Transactions                       ‐
                           ATTN: DANIEL IZZO
                           300 MADISON AVENUE
                           NEW YORK, NY 10017




1021 Instant Brands LLC    Seaman Corporation / Hiberlite                  Service and Supply     Area 9, 10, Kiln, Lehr Warranty                                         ‐
                           1000 Venture Blvd.                              Agreements
                           WOOSTER, OH 44691

1022 Instant Brands Holdings SecureDocs Inc.                               IT Agreements          Terms of Service                                                        ‐
     Inc.                    7127 HOLLISTER AVENUE
                             STE 25A‐320
                             GOLITA, CA 93117

1023 Instant Brands LLC    Securitas Security Services USA, Inc.           Service and Supply     Securitas Riverside Amendment SRS‐INVENTO21092211160                    ‐
                           6327 NORTH AVONDALE 2ND FLOOR                   Agreements
                           CHICAGO, IL 60631‐1958

1024 Instant Brands LLC    Securitas Security Services USA, Inc.           Service and Supply     Amendment                                                               ‐
                           6327 NORTH AVONDALE 2ND FLOOR                   Agreements
                           CHICAGO, IL 60631‐1958

1025 Instant Brands LLC    Securitas Security Services USA, Inc.           Service and Supply     Master Security Services Agreement                                      ‐
                           6327 NORTH AVONDALE 2ND FLOOR                   Agreements
                           CHICAGO, IL 60631‐1958

1026 Instant Brands LLC    Securitas Security Services USA, Inc.           Service and Supply     Service Agreement ‐ 2010                                        140,216.85
                           6327 NORTH AVONDALE 2ND FLOOR                   Agreements
                           CHICAGO, IL 60631‐1958

1027 Instant Brands LLC    Securitas Securjy Services USA, Inc             Service and Supply     Securitas GN 010123                                                     ‐
                           6327 NORTH AVONDALE 2ND FLOOR                   Agreements
                           CHICAGO, IL 60631‐1958

1028 Instant Brands LLC    Securitas Services USA Inc                      Service and Supply     Securitas Riverside 010123                                              ‐
                           6327 NORTH AVONDALE 2ND FLOOR                   Agreements
                           CHICAGO, IL 60631‐1958

1029 Instant Brands LLC    Securitas                                       Service and Supply     Securitas Addendum Corelle Brands ‐ Charleroi PA                        ‐
                           6327 NORTH AVONDALE 2ND FLOOR                   Agreements
                           CHICAGO, IL 60631‐1958

1030 Instant Brands LLC    Sedgwick Claims Management Services, Inc.       Service and Supply     Addendum to Extend Agreement for Additional Period                      ‐
                           Attn: General Counsel                           Agreements
                           8125 Sedgwick Way
                           MEMPHIS, TN 38125

1031 Instant Brands LLC    Sedgwick Claims Management Services, Inc.       Service and Supply     Addendum to Extend Agreement                                            ‐
                           Attn: General Counsel                           Agreements
                           8125 Sedgwick Way
                           MEMPHIS, TN 38125

1032 Instant Brands LLC    Serrala Solutions US Corporation                IT Agreements          Maintenance Renewal Quote                                               ‐
                           17485 MONTEREY RD., 201
                           MORGAN HILL, CA 95037

1033 Instant Brands LLC    Shandong Linuo Technical Glass Co.. Ltd.        Service and Supply     Supply Agreement                                                        ‐
                           ATTN: YANG ZHONGCHEN, VICE CHAIRMAN/PRESIDENT   Agreements
                           YU HUANG‐MIAO, SHANGHE COUNTY
                           SHANDONG 251604
                           CHINA

1034 Instant Brands Holdings SHARE MOBILITY                                Confidentiality        NDA                                                                     ‐
     Inc.                    3245 E. 5TH AVENUE                            Agreements
                             COLUMBUS, OH 43219

1035 Instant Brands LLC    Shaw Material Handling Systems, Inc.            Service and Supply     CFPM Agreement                                                   12,640.00
                           PO BOX 872700                                   Agreements
                           KANSAS CITY, MO 64187‐2700

1036 Instant Brands LLC    SHAW MATERIAL HDLG SYS Inc                      Equipment Leases       Schedule A‐3                                                            ‐
                           PO BOX 872700
                           KANSAS CITY, MO 64187‐2700
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  #       Debtor Entity                               Counterparty      Agreement Type                                Agreement Description                        Proposed Cure Costs
1037 Instant Brands LLC    SHAW MATERIAL HDLG SYS, Inc               Equipment Leases       Schedule A‐2                                                                             ‐
                           PO BOX 872700
                           KANSAS CITY, MO 64187‐2700

1038 Instant Brands LLC    Sho Recruiting,                           Service and Supply     Master Services Agreement for Permanent Placement Services                              ‐
                           15785 CEDAR RIDGE ROAD;                   Agreements
                           ATTN: SETH PHILIP BALDRY
                           EDEN PRAIRIE, MN 55347

1039 Instant Brands LLC    Shred‐it USA Inc.                         Service and Supply     Service Agreement and Addendum                                                    5,746.36
                           3811 Rose St                              Agreements
                           Schiller Park, IL 60176

1040 Instant Brands LLC    Shrink Packaging Systems Corporation      Service and Supply     Supply Agreement                                                                296,459.82
                           7881 Lehigh Crossing                      Agreements
                           VICTOR, NY 14564

1041 Instant Brands LLC    SIDE‐KICK INTERNATIONAL INC.              Service and Supply     Domestic Manufacturers Sales Rep Agreement                                              ‐
                           1157 PHOENIXVILLE PIKE                    Agreements
                           SUITE 108
                           ATTN: BEN LEVY
                           WEST CHESTER, PA 19380

1042 Instant Brands LLC    Siegel & Gale LLC                         Service and Supply     Master Agreement                                                                        ‐
                           ATTN: PETER COMPETELLO.                   Agreements
                           625 AVENUE OF THE AMERICAS
                           4TH FLOOR
                           NEW YORK, NY 10011




1043 Instant Brands LLC    Signature Glass Company                   Confidentiality        Non‐Disclosure Agreement                                                                ‐
                           10 Kehilat Venezia                        Agreements
                           TEL AVIV 6940014
                           ISRAEL

1044 Instant Brands Inc.   Siliker Canada Co.                        Confidentiality        Confidentiality and Non‐Disclosure Agreement                                            ‐
                           c/o Merieux NutriSciences                 Agreements
                           90 Gough Road
                           MARKHAM, ON L3R 5V5
                           CANADA

1045 Instant Brands LLC    Silver Star Int'l Ltd.                    Service and Supply     Supply Agreement                                                                        ‐
                           21/F, Excelsior Building                  Agreements
                           68 Sha Tsui Road
                           Tusen Wan
                           HONG KONG

1046 Instant Brands Inc.   Simon & Schuster, Inc.                    License Agreements     Trademark License ‐ Addendum                                                            ‐
                           ATTN: KAREN COOPER
                           57 LITTLEFIELD STREET
                           AVON, MA 02322

1047 Instant Brands LLC    SIMON/CHELSEA CHICAGO DEVELOPMENT, LLC    Real Property Leases   Lease ‐#282, Aurora, IL Lease                                                           ‐
                           C/O SIMON PROPERTY GROUP
                           225 WEST WASHINGTON STREET
                           INDIANAPOLIS, IN 46204‐3438

1048 Instant Brands LLC    SIMON/PREIT GLOUCESTER DEVELOPMENT, LLC   Real Property Leases   Simon/Preit Gloucester Development LLC ‐ Lease ‐ #281, Blackwood, NJ             68,761.43
                           C/O SIMON PROPERTY GROUP                                         Lease
                           225 WEST WASHINGTON STREET
                           INDIANAPOLIS, IN 46204‐3438

1049 Instant Brands Holdings Si‐Pur Consulting                       Service and Supply     Master Services Agreement                                                               ‐
     Inc.                    20 WINNERS CIRCLE                       Agreements
                             ATTN: ANDREE BRIERE
                             TORONTO, ON M4L 3Z7
                             CANADA

1050 Instant Brands Holdings Si‐Pur Consulting                       Confidentiality        Non‐Disclosure Agreement                                                                ‐
     Inc.                    20 WINNERS CIRCLE                       Agreements
                             ATTN: ANDREE BRIERE
                             TORONTO, ON M4L 3Z7
                             CANADA

1051 Instant Brands LLC    Sirius Computer Solutions, Inc.           IT Agreements          Solution Proposal                                                                       ‐
                           10100 REUNION PLACE, SUITE 500
                           SAN ANTONIO, TX 78216‐4159

1052 Instant Brands LLC    Sirius Computer Solutions, LLC,           Service and Supply     General Support Services SOW                                                     76,316.93
                           10100 REUNION PLACE, SUITE 500            Agreements
                           SAN ANTONIO, TX 78216‐4159

1053 Instant Brands LLC    SKJ Facilities Management                 Service and Supply     Janitorial Services                                                                     ‐
                           PO BOX 371                                Agreements
                           BIG FLATS, NY 14814‐0371

1054 Instant Brands LLC    Smart Paint                               Service and Supply     Exhibit B ‐ Revised                                                                     ‐
                           6171‐D Huntley Rd                         Agreements
                           COLUMBUS, OH 43229

1055 Instant Brands LLC    SmartPaint                                Confidentiality        Mutual NDA                                                                              ‐
                           6171‐D Huntley Rd                         Agreements
                           COLUMBUS, OH 43229
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 #        Debtor Entity                                     Counterparty              Agreement Type                            Agreement Description        Proposed Cure Costs
1056 Instant Brands (Canada) SmartPaint                                            Service and Supply   Retainer                                                               ‐
     Holding Inc.            6171‐D Huntley Rd                                     Agreements
                             COLUMBUS, OH 43229

1057 Instant Brands LLC     SmashBrand LLC                                         Confidentiality      NDA                                                                   ‐
                            6171‐D Huntley Rd                                      Agreements
                            COLUMBUS, OH 43229

1058 Instant Brands LLC     SMITH TRANSPORT, INC.                                  Service and Supply   Contract Carrier Agreement                                            ‐
                            ATTN: PRESIDENT                                        Agreements
                            153 SMITH TRANSPORT ROAD
                            ROARING SPRING, PA 16673

1059 Instant Brands LLC     SmithBucklin Corporation d/b/a Tech Image              Service and Supply   Master Letter of Agreement                                            ‐
                            330 N. Wabash                                          Agreements
                            CHICAGO, IL 60611

1060 Instant Brands LLC     SmithBucklin Corporation d/b/a Tech Image              Service and Supply   Statement of Work                                                     ‐
                            330 N. Wabash                                          Agreements
                            CHICAGO, IL 60611

1061 Instant Brands LLC     SmithBucklin Corporation d/b/a Tech Image              Service and Supply   Statement of Work                                                     ‐
                            330 N. Wabash                                          Agreements
                            CHICAGO, IL 60611

1062 Instant Brands Inc.    Smucker Natural Foods, Inc.                            License Agreements   License Agreement                                                     ‐
                            1 STRAWBERRY LANE
                            ATTN: TRUROOTS BRAND MARKETING
                            ORRVILLE, OH 44667

1063 Instant Brands LLC     Smyers Engineering                                     Confidentiality      NDA                                                                   ‐
                            611 Griffith Way                                       Agreements
                            Unit B
                            LAGUNA BEACH, CA 92651

1064 Instant Brands LLC     Social Works                                           Service and Supply   Partnership Agreement                                                 ‐
                            1811 W. North Ave                                      Agreements
                            Attn: Justin Cunningham & Essence Smith
                            CHICAGO, IL 60622

1065 Instant Brands LLC     SocialWorks                                            Confidentiality      Mutual NDA                                                            ‐
                            7859 South Shore Drive                                 Agreements
                            CHICAGO, IL 60649

1066 Instant Brands LLC     Software One, Inc.                                     Confidentiality      NDA                                                                   ‐
                            20875 Crossroads Circle                                Agreements
                            Suite 1
                            WAUKESHA, WI 53186

1067 Instant Brands LLC     SolarWinds                                             IT Agreements        Order Form 2021‐2022 renewal                                          ‐
                            PO BOX 730720
                            DALLAS, TX 75373‐0720

1068 Instant Brands LLC     Sophia Mendicino                                       Service and Supply   Amendment No. 1 to Professional Services Agreement                    ‐
                            158 ANNALISA CT.                                       Agreements
                            BLOOMINGDALE, IL 60108

1069 Instant Brands         SOUTHEAST SERIES OF LOCKTON COMPANIES, LLC             Service and Supply   Fee Agreement 2023_Fully Executed                                     ‐
     Acquisition Holdings   3280 Peachtree Road NE                                 Agreements
     Inc.                   Suite 250
                            Attn: Manoj Sharma Title: Chief Operating Officer
                            ATLANTA, GA 30305‐2430

1070 Instant Brands LLC     Southern Graphic System                                Confidentiality      Confidential Disclosure Agreement                                     ‐
                            626 West Main Street                                   Agreements
                            Suite 400
                            LOUISVILLE, KY 40202

1071 Instant Brands LLC     SOUTHERN GRAPHIC SYSTEMS, LLC                          Service and Supply   Statement of Work                                                     ‐
                            626 West Main Street                                   Agreements
                            Suite 400
                            LOUISVILLE, KY 40202

1072 Instant Brands LLC     Southern Tier Logistics                                Service and Supply   Contract and Rate Quotation                                           ‐
                            1800 INDUSTRIAL DR.                                    Agreements
                            PO BOX 952
                            FINDLAY, OH 45840

1073 Instant Brands Holdings Sovos Brands Intermediate, Inc.                       Confidentiality      Mutual NDA                                                            ‐
     Inc.                    168 Centennial Parkway                                Agreements
                             Suite 200
                             Attn: EVP & Group General Manager, Dinners & Sauces
                             LOUISVILLE, CO 80027

1074 Instant Brands LLC     Spadafy Professional Services                          Service and Supply   SOW ‐ Ivanti Endpoint Management Plus V2                              ‐
                            8228 Fairway Dr NE                                     Agreements
                            SEATTLE, WA 98115

1075 Instant Brands LLC     Spadafy                                                IT Agreements        Subscription Proposal                                         399,228.08
                            8228 Fairway Dr NE
                            SEATTLE, WA 98115

1076 Instant Brands LLC     Spadafy                                                Service and Supply   SOW ‐ Ivanti Endpoint Manager ‐ Premium                               ‐
                            8228 Fairway Dr NE                                     Agreements
                            SEATTLE, WA 98115
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 #        Debtor Entity                                       Counterparty      Agreement Type                              Agreement Description                           Proposed Cure Costs
1077 Instant Brands LLC      Specialty Technical Publishers                  Service and Supply   Service Agreement                                                                           ‐
                             2188 YUKON STREET                               Agreements
                             VANCOUVER, BC V5Y 3P1
                             CANADA

1078 Instant Brands LLC      Spinnaker Support LLC                           IT Agreements        Master Service Agreement                                                                   ‐
                             5445 DTC PARKWAY, SUITE 850
                             GREENWOOD VILLAGE, CO 80111

1079 Instant Brands LLC      Spinnaker Support LLC                           IT Agreements        SOW                                                                                        ‐
                             5445 DTC PARKWAY, SUITE 850
                             GREENWOOD VILLAGE, CO 80111

1080 Instant Brands LLC      SPRAGUE ENERGY CORP                             Service and Supply   Base Contract for Sale of Natural Gas                                              278,987.61
                             ATTN: NATURAL GAS ADMINISTRATION                Agreements
                             TWO INTERNATIONAL DRIVE
                             SUITE 200
                             PORTSMOUTH, NH 03801

1081 Instant Brands LLC      Sprague Operating Resources LLC                 Service and Supply   20221205000222885 CPA‐TCOMA835‐POOL (12‐05‐22) Market Based‐Basis                          ‐
                             ATTN: NATURAL GAS ADMINISTRATION                Agreements           Daily 0% DM
                             TWO INTERNATIONAL DRIVE
                             SUITE 200
                             PORTSMOUTH, NH 03801

1082 Instant Brands LLC      Sprague Operating Resources LLC                 Service and Supply   Instant Brands LLC (191300) ‐ 20221205000222885 CPA‐TCOMA835‐POOL                          ‐
                             ATTN: NATURAL GAS ADMINISTRATION                Agreements           (12‐05‐22) Trigger 01‐01‐23 to 12‐31‐23
                             TWO INTERNATIONAL DRIVE
                             SUITE 200
                             PORTSMOUTH, NH 03801

1083 Instant Brands LLC      SPRAGUE OPERATING RESOURCES LLC                 Service and Supply   NG NY Instant Brands LLC (202521) ‐ 20221116000221158 CORN‐DTI‐POOL‐                       ‐
                             ATTN: NATURAL GAS ADMINISTRATION                Agreements           DM (11‐16‐22) Market Based‐Basis Daily 0% DM
                             TWO INTERNATIONAL DRIVE
                             SUITE 200
                             PORTSMOUTH, NH 03801

1084 Instant Brands LLC      SPRAGUE OPERATING RESOURCES LLC                 Service and Supply   NY Instant Brands LLC (203097) ‐ 20221116000221158 CORN‐DTI‐POOL‐DM                        ‐
                             ATTN: NATURAL GAS ADMINISTRATION                Agreements           (11‐16‐22) Market Based‐Fixed Daily 0% DM
                             TWO INTERNATIONAL DRIVE
                             SUITE 200
                             PORTSMOUTH, NH 03801

1085 Instant Brands LLC      SPRAGUE OPERATING RESOURCES LLC                 Service and Supply   NG NY Trigger Instant Brands LLC (203097) ‐ 20221116000221158 CORN‐DTI‐                    ‐
                             ATTN: NATURAL GAS ADMINISTRATION                Agreements           POOL‐DM (11‐16‐22) Trigger 01‐01‐23 to 12‐31‐23
                             TWO INTERNATIONAL DRIVE
                             SUITE 200
                             PORTSMOUTH, NH 03801

1086 Instant Brands LLC      SPRAGUE OPERATING RESOURCES LLC                 Service and Supply   2023 Sprague Security Deposit Agreement 12‐15‐22                                           ‐
                             ATTN: NATURAL GAS ADMINISTRATION                Agreements
                             TWO INTERNATIONAL DRIVE
                             SUITE 200
                             PORTSMOUTH, NH 03801

1087 Instant Brands LLC      SPS Corporation                                 Confidentiality      NDA                                                                                        ‐
                             7881 Lehigh Crossing                            Agreements
                             VICTOR, NY 14564

1088 Corelle Brands (Canada) Square Deal Distributors                        Customer Agreements Distribution Agreement                                                                      ‐
     Inc.                    8506 Torbram Rd
                             Brampton, ON L6T 3T2
                             CANADA

1089 Instant Brands LLC      Squidgeon Studios LLC                           Service and Supply   Amendment to PSA                                                                           ‐
                             3039 W. EASTWOOD AVENUE                         Agreements
                             2ND FLOOR
                             CHICAGO, IL 60625

1090 Instant Brands LLC      STANTEC CONSULTING SERVICES INC.                Service and Supply   Master Agreement Stantec 4‐29‐21                                                     3,933.00
                             61 Commercial Street                            Agreements
                             Suite 100
                             ROCHESTER, NY 14614

1091 Instant Brands LLC      Stantec Consulting Services                     Service and Supply   Change Order                                                                               ‐
                             61 Commercial Street                            Agreements
                             Suite 100
                             ROCHESTER, NY 14614

1092 Instant Brands LLC      Staples Contract & Commercial LLC               Service and Supply   Purchase Agreement                                                                         ‐
                             500 STAPLES DRIVE                               Agreements
                             FRAMINGHAM, MA 01702

1093 Instant Brands LLC      STEL, LLC                                       Confidentiality      Non‐Disclosure Agreement                                                                   ‐
                             75 Aero Camino                                  Agreements
                             Suite 202
                             GOLETA, CA 93117

1094 Instant Brands LLC      Stephanie Izard, Inc.                           Service and Supply   Brand AmbassadorAgreement                                                                  ‐
                             939 W. RANDOLPH STREET                          Agreements
                             CHICAGO, IL 60607

1095 Instant Brands Holdings STEPHEN GOULD CORPORATION                       Confidentiality      Mutual NDA                                                                                 ‐
     Inc.                    1408‐c Roseneath Road                           Agreements
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 #        Debtor Entity                                    Counterparty      Agreement Type                              Agreement Description                         Proposed Cure Costs
1096 Instant Brands LLC    Stericycle, Inc                                Service and Supply   Steri‐Cycel Shred It agreement                                                            ‐
                           2355 WAUKEGAN ROAD                             Agreements
                           BANNOCKBURN, IL 60015

1097 Instant Brands LLC    Stericycle, Inc.                               Confidentiality      NDA                                                                                      ‐
                           2355 WAUKEGAN ROAD                             Agreements
                           BANNOCKBURN, IL 60015

1098 Instant Brands LLC    Stericycle, Inc.                               Service and Supply   Service Agreement                                                                        ‐
                           2355 WAUKEGAN ROAD                             Agreements
                           BANNOCKBURN, IL 60015

1099 Instant Brands LLC    Stericycle, Inc.                               Service and Supply   Services Agreement                                                                 4,210.86
                           2355 WAUKEGAN ROAD                             Agreements
                           BANNOCKBURN, IL 60015

1100 Instant Brands LLC    Sterling Consulting Group LLC                  Confidentiality      NDA                                                                                      ‐
                           PO BOX 5078                                    Agreements
                           NEW YORK, NY 10087‐5078

1101 Instant Brands Inc.   STERLING PUBLISHING CO., INC.                  License Agreements   Licensing Agreement for Good Housekeeping Instant Pot Cookbook                           ‐
                           PO BOX 5078
                           NEW YORK, NY 10087‐5078




1102 Instant Brands Inc.   STERLING PUBLISHING CO., INC.                  License Agreements   Trademark License Agreement for Good Housekeeping 400 Calorie Instant                    ‐
                           PO BOX 5078                                                         Pot Cookbook
                           NEW YORK, NY 10087‐5078

1103 Instant Brands Inc.   STERLING PUBLISHING CO., INC.                  License Agreements   Trademark Licensing Agreement for Instant Pot Kosher Cookbook                            ‐
                           PO BOX 5078
                           NEW YORK, NY 10087‐5078

1104 Instant Brands LLC    STERLING PUBLISHING CO., INC.                  License Agreements   Trademark Licensing Agreement for IP Holiday Cookbook                                    ‐
                           PO BOX 5078
                           NEW YORK, NY 10087‐5078


1105 Instant Brands LLC    STERLING PUBLISHING CO., INC.                  License Agreements   Trademark Licensing Agreement for IP Sous Vide Cookbook                                  ‐
                           PO BOX 5078
                           NEW YORK, NY 10087‐5078


1106 Instant Brands LLC    Steven Caruso Research & Development LLC       Confidentiality      Mutual NDA                                                                               ‐
                           77 MCMILLEN RD                                 Agreements
                           STE. 107A
                           ANTIOCH, IL 60002

1107 Instant Brands LLC    STOBBS IP                                      Confidentiality      NDA                                                                                      ‐
                           ATTN: JULIUS STOBBS                            Agreements
                           BUILDING 1000, CAMBRIDGE RESEARCH P
                           CAMBRIDGE CB25 9PD
                           UNITED KINGDOM

1108 Instant Brands LLC    StormBrands                                    Confidentiality      Non‐Disclosure Agreement                                                                 ‐
                           61 Charlotte Road                              Agreements
                           LONDON EC2A 3QT
                           UNITED KINGDOM

1109 Instant Brands LLC    StormWind LLC                                  IT Agreements        Order Agreement                                                                          ‐
                           DEPT 3602
                           123602
                           DALLAS, TX 75312‐3602

1110 Instant Brands LLC    StormWind, LLC                                 IT Agreements        Online Training Terms and Conditions of Use                                              ‐
                           DEPT 3602
                           123602
                           DALLAS, TX 75312‐3602

1111 Instant Brands LLC    StratPak, Inc.                                 Service and Supply   Sales Rep Agreement                                                                      ‐
                           1 Blue Hill Plaza                              Agreements
                           5th Floor, Suite 1521
                           Pearl River, NY 10965

1112 Instant Brands Holdings Streamline Design LLC                        License Agreements   License Agreement                                                                        ‐
     Inc.                    C/O DAVID YAKOS
                             10 INNOVATION LANE UNIT A
                             BOZEMAN, MT 59718

1113 Instant Brands LLC    SUCCESSFACTORS, INC                            IT Agreements        Subscription Agreement                                                                   ‐

                           1 TOWER PLACE
                           SUITE 1100
                           SOUTH SAN FRANCISCO, CA 94080

1114 Instant Brands LLC    SuccessFactors, Inc.                           IT Agreements        3062390541 (R) 5.17.2023 V1 FRP 2023 ‐ 2024                                              ‐
                           1 TOWER PLACE
                           SUITE 1100
                           SOUTH SAN FRANCISCO, CA 94080

1115 Instant Brands LLC    Supply America, Inc.,                          Customer Agreements Vendor Agreement                                                                          ‐
                           6425 YOUREE DRIVE, STE 220
                           SHREVEPORT, LA 71105
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 #        Debtor Entity                                    Counterparty                       Agreement Type                             Agreement Description   Proposed Cure Costs
1116 Instant Brands LLC     Syndigo LLC                                                   IT Agreements          Services Agreement                                                ‐
                            SUITE 1220 141 W JACKSON
                            CHICAGO, IL 60604

1117 Instant Brands Inc.    Synergy Trading Corporation                                   Customer Agreements Distributor Agreement                                               ‐
                            Yodoyabashi Flex Tower 4th Floor, 3‐11, Koraibashi 3‐chrome
                            Chuo‐Ku, Osaka 541‐0043
                            JAPAN

1118 Instant Brands LLC     Tailored Staff LLC                                            Service and Supply     Service Agreement                                                ‐
                            3639 NEW GETWELL RD.                                          Agreements
                            SUITE 2
                            MEMPHIS, TN 38128

1119 Instant Brands Inc.    Target Customs Brokers, Inc.                                  Confidentiality        Non‐Disclosure Agreement                                         ‐
                            7000 Target Parkway North NCD 4452                            Agreements
                            Brooklyn Park, MN 55445

1120 Instant Brands LLC     Target                                                        Customer Agreements Conditions of Contract                                              ‐
                            1000 NICOLLET MALL
                            ATTN: VICE PRESIDENT
                            MINNEAPOLIS, MN 55403

1121 Instant Brands LLC     Target                                                        Customer Agreements Conditions of Doing Business ‐ Rules of Use                         ‐
                            1000 NICOLLET MALL
                            ATTN: VICE PRESIDENT
                            MINNEAPOLIS, MN 55403

1122 Instant Brands LLC     Taulia LLC                                                    Confidentiality        Mutual NDA                                                       ‐
                            95 Third Street #284                                          Agreements
                            SAN FRANCISCO, CA 94103

1123 Instant Brands Holdings Taurus Espana Sa De CV                                       Confidentiality        Mutual NDA                                                       ‐
     Inc.                    JOSE ROSAS MORENO 4                                          Agreements
                             INT 202
                             COL. SAN RAFAEL
                             CUAUHTEMO
                             MEXICO

1124 Instant Brands LLC     TEAM WASTE                                                    Service and Supply     Service Agreement                                          2,686.68
                            850 WINGO ROAD                                                Agreements
                            BYHALIA, MS 38611

1125 Instant Brands LLC     Teams Design USA Inc.                                         Confidentiality        Non‐Disclosure Agreement                                         ‐
                            1812 West Hubbard Street                                      Agreements
                            Suite 200
                            CHICAGO, IL 60622

1126 Instant Brands LLC     Technicolor Global Logistics, LLC                             Confidentiality        NDA                                                              ‐
                            3233 East Mission Oaks Blvd                                   Agreements
                            Camarillo, CA 93012

1127 Instant Brands LLC     Technicolor Global Logistics, LLC                             Service and Supply     Broker Agreement                                                 ‐
                            3233 East Mission Oaks Blvd                                   Agreements
                            Camarillo, CA 93012

1128 Instant Brands LLC     Technicolor Global Logistics, LLC                             Confidentiality        NDA 2                                                            ‐
                            3233 East Mission Oaks Blvd                                   Agreements
                            Camarillo, CA 93012

1129 Instant Brands LLC     Tecnocap LLC                                                  Confidentiality        Non‐Disclosure Agreement                                         ‐
                            1701 Wheizling Ave                                            Agreements
                            GLEN DALE, WV 26038

1130 Instant Brands LLC     Tego Data Systems                                             IT Agreements          NetApp AFF C190                                                  ‐
                            8311 BRIER CREEK PKWY, SUITE 105‐51
                            RALEIGH, NC 27617

1131 Instant Brands LLC     Tego Data Systems                                             IT Agreements          NetApp AFF C190 12x960GB                                         ‐
                            8311 BRIER CREEK PKWY, SUITE 105‐51
                            RALEIGH, NC 27617

1132 Instant Brands LLC     Tego Data Systems                                             IT Agreements          Procurri FAS2240A Support Renewal                                ‐
                            8311 BRIER CREEK PKWY, SUITE 105‐51
                            RALEIGH, NC 27617

1133 Instant Brands LLC     Teknor Apex Company                                           Confidentiality        NDA                                                              ‐
                            505 CENTRAL AVENUE                                            Agreements
                            PAWTUCKET, RI 02861‐1945

1134 Instant Brands LLC     Tesla Motors                                                  Confidentiality        NDA                                                              ‐
                            3500 Deer Creek Road                                          Agreements
                            PALO ALTO, CA 94304

1135 Instant Brands LLC     The Beek Company                                              Service and Supply     Notice of Termination                                            ‐
                            ATTN: DOUG ALFORD                                             Agreements
                            7830 SOUTHWEST 40 TH AVENUE
                            PORTLAND, OR 97219

1136 Instant Brands LLC     The Corning Museum of Glass                                   Confidentiality        Non‐Disclosure Agreement                                         ‐
                            1 Museum Way                                                  Agreements
                            CORNING, NY 14831
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 #        Debtor Entity                                     Counterparty                      Agreement Type                               Agreement Description                 Proposed Cure Costs
1137 Instant Brands LLC       The Designers NYC dba Little Big Brands                      Confidentiality        NDA                                                                              ‐
                              1 N Broadway                                                 Agreements
                              White Plains, NY 10601

1138 Instant Brands LLC       The ExOne Company                                            Confidentiality        Non‐Disclosure Agreement                                                        ‐
                              27 Industry Boulevard                                        Agreements
                              NORTH HUNTINGDON, PA 15642

1139 Instant Brands LLC       THE GOLUB CORPORATION                                        Financial Agreements   Indemnification and Insurance                                                   ‐
                              461 NOTT STREET
                              SCHENECTADY, NY 12308

1140 Instant Brands LLC       The Golub Corporation                                        Service and Supply     Product Purchase Agreement                                                      ‐
                              461 NOTT STREET                                              Agreements
                              SCHENECTADY, NY 12308

1141 Instant Brands LLC       The Hanover Research Council, LLC                            Confidentiality        NDA                                                                             ‐
                              4401 Wilson Blvd                                             Agreements
                              4th Floor
                              ARLINGTON, VA 22203

1142 Instant Brands LLC       THE KROGER CO                                                Confidentiality        Confidential Non‐Disclosure Agreement                                           ‐
                              3800 SE 22nd Avenue                                          Agreements
                              PORTLAND, OR 97202

1143 Instant Brands LLC       THE KROGER CO                                                Confidentiality        NDA                                                                             ‐
                              3800 SE 22nd Avenue                                          Agreements
                              PORTLAND, OR 97202

1144 Instant Brands Inc.      The Kroger Co.                                               Customer Agreements Addendum to Standard Vendor Agreement                                              ‐
                              3800 SE 22nd Avenue
                              PORTLAND, OR 97202

1145 Instant Brands LLC       The Kroger Co.                                               Customer Agreements Standard Vendor Agreement                                                          ‐
                              3800 SE 22nd Avenue
                              PORTLAND, OR 97202

1146 Instant Brands LLC       THE KROGER CO.                                               Confidentiality        Non‐Disclosure Agreement                                                        ‐
                              3800 SE 22nd Avenue                                          Agreements
                              PORTLAND, OR 97202

1147 Instant Brands LLC       The Lincoln National Life Insurance Company                  Service and Supply     Leave Management Services Agreement                                             ‐
                              Attn: VP Absence Management & Integrated Health Strategies   Agreements
                              8801 Indian Hills Drive
                              OMAHA, NE 68114




1148 Instant Brands LLC       THE MISSION PRODUCTIONS, LP                                  License Agreements     Vendor Tradeout Agreement                                                       ‐
                              6255 Sunset Blvd
                              Suite 1600
                              LOS ANGELES, CA 90028

1149 Instant Brands LLC       THE NPD GROUP, INC.                                          Service and Supply     SOW (Appliances 2021‐2023)                                            1,200,000.00
                              ATTN: SUSAN BENNETT, CHIEF LEGAL OFFICER                     Agreements
                              900 WEST SHORE ROAD
                              PORT WASHINGTON, NY 11050

1150 Instant Brands LLC       THE NPD GROUP, INC.                                          Service and Supply     SOW (Housewares 2021‐2023)                                                      ‐
                              ATTN: SUSAN BENNETT, CHIEF LEGAL OFFICER                     Agreements
                              900 WEST SHORE ROAD
                              PORT WASHINGTON, NY 11050

1151 Instant Brands LLC       The Power Authority of the State of New York                 Service and Supply     Agreement for the Sale of Recharge New York Power and Energy                    ‐
                              30 South Pearl Street                                        Agreements
                              10th Floor
                              ALBANY, NY 12207‐3425

1152 Instant Brands LLC       The Raymond Corporation                                      Confidentiality        Non‐Disclosure Agreement                                                        ‐
                              22 S. Canal Street                                           Agreements
                              GREENE, NY 13778

1153 Instant Brands LLC       The Reserves Network                                         Service and Supply     Staffing Terms and Conditions                                                   ‐
                              4749 W. LINCOLN MALL DRIVE, SUITE 1                          Agreements
                              MATTESON, IL 60443

1154 Instant Brands LLC       The Resource Group National,                                 Service and Supply     Independent Sales Representative Agreement                                      ‐
                              721 Armstrong Drive                                          Agreements
                              BUFFALO GROVE, IL 60089

1155 Instant Brands Holdings The Scratch Collective,                                       Service and Supply     Master Services Agreement                                                       ‐
     Inc.                    Live Oak Ave                                                  Agreements
                             Menlo Park, CA 94025

1156 Instant Brands LLC       THE SHARPER EDGE LTD                                         Customer Agreements Non‐Exclusive Distributor Agreement                                                ‐
                              FLAT P
                              13/F, YUE CHEUNG CENTRE
                              1‐3 WONG CHUK YEUNG STREET
                              HONG KONG
                              CHINA
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 #        Debtor Entity                               Counterparty                     Agreement Type                         Agreement Description         Proposed Cure Costs
1157 Instant Brands LLC      The Sharper Edge Ltd.                                  Customer Agreements Amendment of Non‐Exclusive Distributor Agreement                      ‐
                             FLAT P
                             13/F, YUE CHEUNG CENTRE
                             1‐3 WONG CHUK YEUNG STREET
                             HONG KONG
                             CHINA

1158 Instant Brands LLC      The SMB Help Desk, Inc.                                IT Agreements         Salesforce Proactive Support Agreement Addendum                    ‐
                             4147 N. RAVENSWOOD AVENUE, SUITE 10
                             CHICAGO, IL 60613

1159 Instant Brands LLC      The SMB Help Desk, Inc.                                IT Agreements         Statement of Work                                                  ‐
                             4147 N. RAVENSWOOD AVENUE, SUITE 10
                             CHICAGO, IL 60613

1160 Instant Brands LLC      The TIX Companies, Inc.                                Customer Agreements Web Site Terms of Use                                                ‐
                             770 Cochituate Road
                             FRAMINGHAM, MA 01701

1161 Instant Brands LLC      ThinkFoodGroup                                         Confidentiality       NDA                                                                ‐
                             717 D St NW                                            Agreements
                             6th Floor
                             WASHINGTON, DC 20004

1162 Instant Brands (Canada) Thinnovations, LLC dba SmartPaint                      License Agreements    Product Development and Licensing Agreement                 30,000.00
     Holding Inc.            6171‐D HUNTLEY RD.
                             ATTN: ANDY DICKSON
                             COLUMBUS, OH 43229

1163 Instant Brands LLC      Thompson & Johnson Equipment Co., Inc.                 Equipment Leases      Equipment Lease Schedule 45                                128,599.42
                             3000 LAKE ROAD
                             ELMIRA, NY 14903

1164 Instant Brands Inc.     Thrive Consulting LLC.                                 Confidentiality       Mutual Non‐Disclosure Agreement                                    ‐
                             1000 Marietta St NW                                    Agreements
                             Suite 290
                             ATLANTA, GA 30318

1165 Instant Brands Inc.     TI Inc. Books                                          Service and Supply    First Amendment to Master Agreement                                ‐
                             814 N Franklin St                                      Agreements
                             CHICAGO, IL 60610

1166 Instant Brands LLC      Tiendas Soriana S.A. C.V.                              Customer Agreements Vendor Agreement                                                     ‐
                             3102‐a Alejandro De Rodas
                             Monterrey, NL 64610
                             MEXICO

1167 Instant Brands LLC      TMF Plastic Solutions LLC                              Confidentiality       Non‐Disclosure Agreement                                           ‐
                             12127B Galena Road                                     Agreements
                             PLANO, IL 60545

1168 Instant Brands Holdings TMF Plastic Solutions                                  Confidentiality       Non‐Disclosure Agreement                                           ‐
     Inc.                    12127B Galena Road                                     Agreements
                             PLANO, IL 60545

1169 Instant Brands LLC      TOLEDO ENGINEERING CO., INC.                           Confidentiality       Non‐Disclosure Agreement                                           ‐
                             3400 Executive Parkway                                 Agreements
                             TOLEDO, OH 43606

1170 Instant Brands LLC      TOPIM INTELLIGENT MANUFACTURING (SHAO YANG) CO., LTD   Service and Supply    Supply Agreement (EPC)                                   1,092,091.00
                             TOPIM INTELLIGENT MANUFACTURING INDUSTRIAL PARK        Agreements
                             BAIMA AVENUE, SHUANG QING DISTRICT
                             SHAO YANG CITY
                             HUNAN PROVINCE
                             CHINA

1171 Instant Brands LLC      Town of Byhalia, Mississippi                           Service and Supply    Natural Gas Agreement (Large Commercial)                           ‐
                             PO BOX 412                                             Agreements
                             161 MISSISSIPPI HIGHWAY 309 SOUTH
                             BYHALIA, MS 38611

1172 Instant Brands LLC      Town of Byhalia, Mississippi                           Service and Supply    Natural Gas Sales Agreement (Large Industrial)               2,826.38
                             PO BOX 412                                             Agreements
                             161 MISSISSIPPI HIGHWAY 309 SOUTH
                             BYHALIA, MS 38611

1173 Instant Brands Inc.     TPG Rewards Inc.                                       Service and Supply    Master Service Agreement                                           ‐
                             19790 WEST DIXIE HIGHWAY                               Agreements
                             SUITE 808
                             AVENTURA, FL 33180

1174 Instant Brands LLC      TRANS ATLANTIC                                         Customer Agreements Non‐Exclusive Distributor Agreement ‐ Pakistan                       ‐
                             G/F. 41‐W/1
                             PECHS BLK 6
                             KARACHI 75400
                             PAKISTAN

1175 Instant Brands LLC      TransImpact, LLC                                       Confidentiality       NDA                                                                ‐
                             8921 Crew Drive                                        Agreements
                             EMERALD ISLE, NC 28594

1176 Instant Brands LLC      Trident Invents                                        Confidentiality       Mutual NDA                                                         ‐
                             4484 LOOS CIR E.                                       Agreements
                             COLUMBUS, OH 43214
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 #        Debtor Entity                                   Counterparty        Agreement Type                            Agreement Description      Proposed Cure Costs
1177 Corelle Brands (Canada) Tri‐Mor International Inc.                    Service and Supply   Independent Sales Representative Agreement                           ‐
     Inc.                    4471 No. 6 Rd Unit 125                        Agreements
                             Richmond, BC V6V 1P8
                             CANADA

1178 Instant Brands LLC       Tri‐Mor Sales (1992) Ltd.                    Service and Supply   Independent Sales Representative Agreement                          ‐
                              4471 No. 6 Rd Unit 125                       Agreements
                              Richmond, BC V6V 1P8
                              CANADA

1179 Instant Brands LLC       True Value Company                           Customer Agreements Housewares Elevated Partnership Agreement                            ‐
                              PO BOX 95107
                              CHICAGO, IL 60694

1180 Instant Brands LLC       True Value Company                           Customer Agreements Housewares ‐ 2022 Updated VBA 8‐4‐22                                 ‐
                              PO BOX 95107
                              CHICAGO, IL 60694

1181 Instant Brands LLC       True Value Company                           Customer Agreements PAF_663044                                                           ‐
                              PO BOX 95107
                              CHICAGO, IL 60694

1182 Instant Brands LLC       TS CRM Consulting Limited                    Service and Supply   Professional Services Agreement                                     ‐
                              30 BLAKE APARTMENTS                          Agreements
                              NEW RIVER AVENUE
                              LONDON N8 7QF
                              UNITED KINGDOM

1183 Instant Brands Inc.      Tuya Global Inc.                             IT Agreements        Platform Services Agreement                                         ‐
                              3979 Freedom Circle
                              Suite 340
                              Santa Clara, CA 95054

1184 Instant Brands LLC       U.S. Borax, Inc.                             Service and Supply   Product Purchase Agreement 2022 to 2023                             ‐
                              14486 BORAX ROAD                             Agreements
                              BORON, CA 93516

1185 Instant Brands LLC       U.S. Borax, Inc.                             Confidentiality      Non‐Disclosure Agreement                                            ‐
                              400‐1190, Avenue des Canadiens‐de‐Montreal   Agreements
                              MONTREAL, QC H3B 0E3
                              CANADA

1186 Instant Brands LLC       U.S. SILICA COMPANY                          Service and Supply   Amendment to Supply and Pricing Agreement                           ‐
                              24275 KATY FREEWAY                           Agreements
                              SUITE 600
                              KATY, TX 77494

1187 Instant Brands LLC       U.S. SILICA COMPANY                          Equipment Leases     Railcar Sublease Agreement                                          ‐
                              24275 KATY FREEWAY
                              SUITE 600
                              KATY, TX 77494

1188 Instant Brands LLC       U.S. Silica Company                          Equipment Leases     Schedule 1 to Railcar Sublease Agreement                            ‐
                              24275 KATY FREEWAY
                              SUITE 600
                              KATY, TX 77494

1189 Instant Brands LLC       U.S. SILICA COMPANY                          Service and Supply   Second Amendment to Supply and Pricing Agreement                    ‐
                              24275 KATY FREEWAY                           Agreements
                              SUITE 600
                              KATY, TX 77494

1190 Instant Brands LLC       U.S. SILICA COMPANY                          Equipment Leases     Sublease Amendment 2                                                ‐
                              24275 KATY FREEWAY
                              SUITE 600
                              KATY, TX 77494

1191 Instant Brands Inc.      UL Company                                   Service and Supply   Global Services Agreement                                           ‐
                              C/O UL LLC                                   Agreements
                              ATTN: GENERAL COUNSEL
                              333 PFINGSTEN ROAD
                              NORTHBROOK, IL 60062

1192 Instant Brands LLC       Umicore AG & Co. KG                          Confidentiality      Fourth Amendment to NDA                                             ‐
                              Rodenbacher Chaussee 4                       Agreements
                              Hanau‐Wolfgang 63457
                              GERMANY

1193 Instant Brands LLC       Umicore AG & Co. KG,                         Confidentiality      Confidentiality Agreement                                           ‐
                              Rodenbacher Chaussee 4                       Agreements
                              Hanau‐Wolfgang 63403
                              GERMANY

1194 Instant Brands LLC       Umicore AG                                   Service and Supply   Master Terms and Conditions of Sale                                 ‐
                              Rodenbacher Chaussee 4                       Agreements
                              Hanau‐Wolfgang 63457
                              GERMANY

1195 Instant Brands LLC       UniFirst Corporation                         Service and Supply   Corporate Textile Rental Service Agreement                          ‐
                              NATIONAL ACCOUNTS DEPARTMENT                 Agreements
                              ATTN: CUSTOMER SERVICE MANAGER
                              68 JONSPIN ROAD
                              WILMINGTON, MA 01887
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 #        Debtor Entity                                Counterparty                                       Agreement Type                                 Agreement Description   Proposed Cure Costs
1196 Instant Brands LLC       UniFirst Corporation                                                     Service and Supply     Rental Service Agreement                                     93,803.31
                              NATIONAL ACCOUNTS DEPARTMENT                                             Agreements
                              ATTN: CUSTOMER SERVICE MANAGER
                              68 JONSPIN ROAD
                              WILMINGTON, MA 01887

1197 Instant Brands LLC       United Conveyor Corporation                                              Confidentiality        NDA                                                                 ‐
                              2100 Norman Dr                                                           Agreements
                              Waukegan, IL 60085

1198 Instant Brands LLC       United Displaycraft                                                      Confidentiality        NDA                                                                 ‐
                              333 East Touhy Ave                                                       Agreements
                              DES PLAINES, IL 60018

1199 Instant Brands Holdings United Legwear Company LLC                                                Real Property Leases   Sublease                                                            ‐
     Inc.                    117 SUNFIELD AVENUE
                             EDISON, NJ 08837




1200 Instant Brands LLC       United Parcel Service Inc.                                               Service and Supply     Addendum to Carrier Agreement                                       ‐
                              LOCKBOX 577                                                              Agreements
                              CAROL STREAM, IL 60132‐0577

1201 Instant Brands LLC       United Parcel Service Inc.,                                              Service and Supply     Carrier Agreement                                           513,366.75
                              LOCKBOX 577                                                              Agreements
                              CAROL STREAM, IL 60132‐0577

1202 Instant Brands LLC       United Parcel Service, Inc.                                              Service and Supply     Addendum to Pay MOU                                                 ‐
                              LOCKBOX 577                                                              Agreements
                              CAROL STREAM, IL 60132‐0577

1203 Instant Brands LLC       United Refrigeration Inc.                                                Service and Supply     Terms Credit Application                                      3,873.76
                              2301 MEACHAM BLVD.                                                       Agreements
                              FORT WORTH, TX 76106‐2232

1204 Instant Brands LLC       United States Sales Corporation                                          Customer Agreements Amendment to DMRA                                                      ‐
                              PO BOX 2688
                              VIRGINIA BEACH, VA 23450‐2688

1205 Instant Brands LLC       United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied   Service and Supply    2019 Greencastle Contract                                           ‐
                              Industrial and Service Workers International Union, AFL‐CIO‐CLC and Local Agreements
                              Union No. 1024
                              Local Union 1024
                              312 Wilson St
                              Martinsburg, WV 25401

1206 Instant Brands LLC       Universal Plastic Mold                                                   Confidentiality        Non‐Disclosure Agreement                                            ‐
                              13245 Los Angeles St                                                     Agreements
                              Baldwin Park, CA 91706

1207 Instant Brands Inc.      Universal Television, LLC                                                License Agreements     Tradeout Agreement                                                  ‐
                              100 Universal City Plaza
                              UNIVERSAL CITY, CA 91608

1208 Instant Brands LLC       Unstoppable Entertainment                                                Service and Supply     Amendment 3 to MSA                                           18,645.99
                              2800 PLAZA DEL AMO UNIT 472                                              Agreements
                              TORRANCE, CA 90503

1209 Instant Brands Holdings UPS Professional Services, Inc.                                           Service and Supply     Carbon Neutral Agreement                                            ‐
     Inc.                    PACKAGE TEST LAB                                                          Agreements
                             ROSWELL, GA 30076

1210 Instant Brands LLC       UPS Professional Services, Inc.                                          Service and Supply     SOW under PSA                                                       ‐
                              PACKAGE TEST LAB                                                         Agreements
                              ROSWELL, GA 30076

1211 Instant Brands LLC       UPS SUPPLY CHAIN SOLUTIONS, INC.                                         Confidentiality        NDA                                                                 ‐
                              12380 Morris Road                                                        Agreements
                              ALPHARETTA, GA 30005

1212 Instant Brands LLC       Upshot LLC                                                               Confidentiality        Non‐Disclosure Agreement                                            ‐
                              620 N. LaSalle Street                                                    Agreements
                              CHICAGO, IL 60654

1213 Instant Brands LLC       US Assets Recovery                                                       Confidentiality        Mutual NDA                                                          ‐
                              300 N. BLACKCAT RD                                                       Agreements
                              JOPLIN, MO 64801

1214 Instant Brands Inc.      US Environmental Protection Agency (EPA)                                 Service and Supply     Energy Star Partnership Agreement                                   ‐
                              OFFICE OF GENERAL COUNSEL 2310A                                          Agreements
                              1200 PENNSYLVANIA AVENUE, NW
                              WASHINGTON, DC 20460

1215 Instant Brands LLC       US SILICA COMPANY                                                        Equipment Leases       Greenbrier ‐ Full Service Master Lease Agreement                    ‐
                              20837 NORTH HURON RIVER DR
                              ROCKWOOD, MI 48173

1216 Instant Brands LLC       USA Staffing Solutions dba Bailey Technical Services                     Service and Supply     Hourly Service Agreement (Marty Pappasergi)                         ‐
                              135 Technology Drive ‐ Suite 400                                         Agreements
                              CANONSBURG, PA 15317

1217 Instant Brands LLC       USA Staffing Solutions dba Bailey Technical Services                     Service and Supply     Hourly Service Agreement (William Clint Cooper)                     ‐
                              135 Technology Drive ‐ Suite 400                                         Agreements
                              CANONSBURG, PA 15317
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 #        Debtor Entity                                   Counterparty      Agreement Type                             Agreement Description    Proposed Cure Costs
1218 Instant Brands LLC     VAT Rep B.V.,                                Service and Supply   Agreement General Fiscal Representation                             ‐
                            Leenderweg 331, 5643 AL                      Agreements
                            Eindhoven
                            THE NETHERLANDS

1219 Instant Brands LLC     Vazza Beverage System                        Equipment Leases     Rental Agreement                                                   ‐
                            1143 W. Lincoln Street
                            Suite 24
                            BANNING, CA 92220

1220 Instant Brands LLC     VeggiDome, SPC                               Confidentiality      Mutual NDA                                                         ‐
                            171 PIER AVE. SUITE 258                      Agreements
                            SANTA MONICA, CA 90405

1221 Instant Brands Inc.    Ventis SpA                                   License Agreements   Cookbook Trademark License Agreement                               ‐
                            Magnere 1540 of 406 Providencia
                            Santiago
                            CHILE

1222 Instant Brands LLC     VeriFone, Inc.                               IT Agreements        Point Direct Merchant Agreement                                540.00
                            4060 SOLUTIONS CENTER
                            CHICAGO, IL 60677

1223 Instant Brands LLC     VERITIV OPERATING COMPANY                    Confidentiality      Mutual Confidentiality Agreement                                   ‐
                            1000 Abernathy Road, NE Bldg 400             Agreements
                            Ste 1700
                            ATLANTA, GA 30328‐5658

1224 Instant Brands LLC     Vertiv Corporation                           IT Agreements        Proposal for Service                                               ‐
                            1050 DEARBORN DRIVE
                            COLUMBUS, OH 43085

1225 Instant Brands LLC     Vertiv Corporation                           IT Agreements        Statement of Work for IR Scan                               24,014.88
                            1050 DEARBORN DRIVE
                            COLUMBUS, OH 43085

1226 Instant Brands LLC     Village Decoration Ltd.                      Confidentiality      Non‐Disclosure Agreement                                           ‐
                            20 Corporate Cir                             Agreements
                            Syracuse, NY 13057

1227 Instant Brands LLC     Virtual Marketing Inc                        Confidentiality      Non‐Disclosure Agreement                                           ‐
                            C/O FRANK NICODEM                            Agreements
                            440 W ONTARIO ST
                            CHICAGO, IL 60654

1228 Instant Brands LLC     Virtual Marketing Inc. dba Fusion92          Service and Supply   Master Services Agreement                                          ‐
                            C/O FRANK NICODEM                            Agreements
                            440 W ONTARIO ST
                            CHICAGO, IL 60654

1229 Instant Brands Holdings Vistra (UK) Limited                         Service and Supply   SOW re GFA between Vistra UK and Instant Brands                    ‐
     Inc.                    3RD FLOOR, 11‐12 ST JAMES'S SQUARE          Agreements
                             LONDON, LO SW1Y 4LB
                             UNITED KINGDOM


1230 Instant Brands Holdings Vistra (UK) Limited                         Service and Supply   SOW re GFA between Vistra UK and Instant Brands                    ‐
     Inc.                    3RD FLOOR, 11‐12 ST JAMES'S SQUARE          Agreements
                             LONDON, LO SW1Y 4LB
                             UNITED KINGDOM

1231 Instant Brands Holdings VISTRA (UK) LIMITED                         Service and Supply   Global Framework Agreement                                         ‐
     Inc.                    3RD FLOOR, 11‐12 ST JAMES'S SQUARE          Agreements
                             LONDON, LO SW1Y 4LB
                             UNITED KINGDOM



1232 Instant Brands Holdings Vistra (UK) Limited                         Service and Supply   Revised SOW China                                                  ‐
     Inc.                    3RD FLOOR, 11‐12 ST JAMES'S SQUARE          Agreements
                             LONDON, LO SW1Y 4LB
                             UNITED KINGDOM

1233 Instant Brands LLC     Visual Lease LLC                             IT Agreements        Software Agreement                                                 ‐
                            100 WOODBRIDGE CENTER DR, SUITE 200
                            WOODBRIDGE, NJ 07095

1234 Instant Brands Holdings Vox Media, LLC                              Confidentiality      NDA                                                                ‐
     Inc.                    1201 Connecticut Ave., NW                   Agreements
                             11th Floor
                             Attn: CEO
                             WASHINGTON, DC 20036

1235 Instant Brands LLC     W.W. Grainger, Inc.                          Service and Supply   2nd Amendment to Supplier Agreement                                ‐
                            100 GRAINGER PARKWAY                         Agreements
                            LAKE FOREST, IL 60045‐5201

1236 Instant Brands LLC     W.W. Grainger, Inc.                          Service and Supply   1st Amendment to Supplier Agreement                                ‐
                            100 GRAINGER PARKWAY                         Agreements
                            LAKE FOREST, IL 60045‐5201

1237 Corelle Brands (Canada) Walmart Canada Corp                         Customer Agreements WM CA Advertising Allowance ‐ D14.pdf                               ‐
     Inc.                    1940 Argentia Road
                             Mississauga, ON L5N 1P9
                             CANADA
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 #        Debtor Entity                                  Counterparty      Agreement Type                        Agreement Description               Proposed Cure Costs
1238 Corelle Brands (Canada) Walmart Canada Corp                        Customer Agreements WM CA Dinnerware Addendum.pdf                                              ‐
     Inc.                    1940 Argentia Road
                             Mississauga, ON L5N 1P9
                             CANADA

1239 Corelle Brands (Canada) Walmart Canada Corp                        Customer Agreements WMCA_D14_SORT addendum_032317.pdf                                         ‐
     Inc.                    1940 Argentia Road
                             Mississauga, ON L5N 1P9
                             CANADA

1240 Corelle Brands (Canada) Walmart Canada                             Customer Agreements Signed_Curtis Roffers                                                     ‐
     Inc.                    1940 Argentia Road
                             Mississauga, ON L5N 1P9
                             CANADA

1241 Instant Brands LLC     Walmart.com                                 Customer Agreements Marketplace_Retailer_Agreement_Intl                                       ‐
                            702 SW 8th St
                            Bentonville, AR 72712

1242 Instant Brands (Canada) Warner Bros. Consumer Products Inc.        Confidentiality       Non‐Disclosure Agreement                                                ‐
     Holding Inc.            4000 WARNER BOULEVARD                      Agreements
                             BURBANK, CA 91522

1243 Instant Brands LLC     Warner Bros. Consumer Products Inc.         Confidentiality       NDA                                                                     ‐
                            4000 WARNER BOULEVARD                       Agreements
                            BURBANK, CA 91522

1244 Instant Brands LLC     Warner Bros. Consumer Products Inc.         License Agreements    Prohibition of Recording, Reproduction and Reporting                    ‐
                            4000 WARNER BOULEVARD
                            BURBANK, CA 91522

1245 Instant Brands Holdings Warner Bros. Consumer Products Inc.        Confidentiality       NDA                                                                     ‐
     Inc.                    4000 WARNER BOULEVARD                      Agreements
                             BURBANK, CA 91522

1246 Instant Brands LLC     Waste Management of Pennsylvania, Inc.      Service and Supply    GN WM Agreement Executed 2021                                    13,124.42
                            65 CHERRINGTON PKWY                         Agreements
                            MOON TOWNSHIP, PA 15108‐4314

1247 Instant Brands LLC     Wayfair                                     Customer Agreements Freight Damage Agreement                                                  ‐
                            177 HUNTINGTON AVENUE
                            SUITE 6000
                            BOSTON, MA 02115

1248 Instant Brands LLC     Wayfair                                     Customer Agreements Supplier Packing Guide                                                    ‐
                            177 HUNTINGTON AVENUE
                            SUITE 6000
                            BOSTON, MA 02115

1249 Instant Brands LLC     Wayfair                                     Customer Agreements Co‐op Ad agreement                                                        ‐
                            4 Copley Place
                            Floor 7
                            BOSTON, MA 02116

1250 Instant Brands LLC     Weber‐Stephen Products LLC                  Confidentiality       NDA                                                                     ‐
                            1415 South Roselle Road                     Agreements
                            PALATINE, IL 60067

1251 Instant Brands LLC     WEDO Inc,                                   Service and Supply    Brasil ‐ Sales Rep Agreement‐Corelle Brands                             ‐
                            4700 NW 2nd Ave                             Agreements
                            Ste 202
                            Boca Raton, FL 33431

1252 Instant Brands (Canada) WEICHERT RELOCATION RESOURCES INC.         Service and Supply    Amendment #2 to Agreement                                               ‐
     Holding Inc.            8001 FORBES PLACE                          Agreements
                             SUITE 103
                             SPRINGFIELD, VA 22151

1253 Instant Brands (Canada) WEICHERT RELOCATION RESOURCES INC.         Service and Supply    Amendment #1 to Agreement                                               ‐
     Holding Inc.            8001 FORBES PLACE                          Agreements
                             SUITE 103
                             SPRINGFIELD, VA 22151

1254 Instant Brands Holdings WEICHERT RELOCATION RESOURCES INC.         Service and Supply    Amendment #2 to Agreement (with attachments)                            ‐
     Inc.                    8001 FORBES PLACE                          Agreements
                             SUITE 103
                             SPRINGFIELD, VA 22151

1255 Instant Brands Holdings WEICHERT WORKFORCE MOBILITY INC.           Service and Supply    Amendment #3 to Agreement                                               ‐
     Inc.                    1625 ROUTE 10 EAST                         Agreements
                             MORRIS PLAINS, NJ 07950

1256 Instant Brands LLC     WEICHERT WORKPLACE MOBILITY INC             Confidentiality       Non‐Disclosure Agreement                                                ‐
                            8001 FORBES PLACE                           Agreements
                            SUITE 103
                            SPRINGFIELD, VA 22151

1257 Instant Brands (Canada) Weichert                                   Service and Supply    Exhibit‐ Scope of Services                                              ‐
     Holding Inc.            8001 FORBES PLACE                          Agreements
                             SUITE 103
                             SPRINGFIELD, VA 22151
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  #       Debtor Entity                                  Counterparty          Agreement Type                           Agreement Description                       Proposed Cure Costs
1258 Instant Brands LLC     WELD TECH INC.                                  Confidentiality      Non‐Disclosure Agreement                                                             ‐
                            3581 Centre Circle                              Agreements
                            Suite 102
                            FORTMILL, SC 29715

1259 Instant Brands Inc.    Welden‐Owen                                     License Agreements   Trademark License for multiple books                                                ‐
                            A DIVISION OF BONNIER PUBLISHING USA
                            ATTN: ROGER SHAW
                            1045 SANSOME STREET, SUITE 100
                            SAN FRANCISCO, CA 94111

1260 Instant Brands LLC     Weldon Owen                                     License Agreements   Trademark License for Williams Sonoma ‐ The Instant Pot Cookbook                    ‐
                            A DIVISION OF BONNIER PUBLISHING USA
                            ATTN: ROGER SHAW
                            1045 SANSOME STREET, SUITE 100
                            SAN FRANCISCO, CA 94111

1261 Instant Brands LLC     Wellbase Industrial Ltd.                        Service and Supply   Supply Agreement                                                                    ‐
                            1117 CHUNJIANG ROAD EAST                        Agreements
                            TONGLU
                            ZHEJIANG
                            CHINA

1262 Instant Brands LLC     Wellbase Industrial LTD.                        Service and Supply   Supply Agreement                                                                    ‐
                            1117 CHUNJIANG ROAD EAST                        Agreements
                            TONGLU
                            ZHEJIANG
                            CHINA

1263 Instant Brands LLC     Wellbase                                        Service and Supply   Supply Agreement                                                             93,375.97
                            1117 CHUNJIANG ROAD EAST                        Agreements
                            TONGLU
                            ZHEJIANG
                            CHINA

1264 Instant Brands LLC     WellSpan Medical Group                          Service and Supply   Onsite Vaccination Agreement                                                        ‐
                            3421 CONCORD ROAD                               Agreements
                            ATTN: ANDY SEEBOLD
                            YORK, PA 17402




1265 Instant Brands LLC     WERNER ENTERPRISES, INC.                        Service and Supply   Appendix A1                                                                         ‐
                            10251 CALABASH AVE.                             Agreements
                            FONTANA, CA 92335

1266 Instant Brands LLC     Werner Enterprises, Inc.                        Service and Supply   Transportation Agreement                                                        733.26
                            10251 CALABASH AVE.                             Agreements
                            FONTANA, CA 92335

1267 Instant Brands LLC     Wessel & Vett, Magasin du Nord                  Customer Agreements Wholesale Agreement (Denmark)                                                        ‐
                            A/S TH. WESSEL & VTT
                            MAGASIN DU NOR
                            KONGENS NYTORV 13
                            COPENHAGEN K 1095
                            DENMARK

1268 Instant Brands LLC     West Penn Power Company                         Service and Supply   Electric Service Tariff                                                      40,059.11
                            800 CABIN HILL DRIVE                            Agreements
                            GREENSBURG, PA 15606‐0001

1269 Instant Brands Holdings Westchester Surplus Lines Insurance Company,   Confidentiality      Non‐Disclosure Agreement                                                            ‐
     Inc.                    500 Colonial Center Pkwy                       Agreements
                             Ste 200
                             Roswell, GA 30076

1270 Instant Brands LLC     Widen Enterprises LLC                           Service and Supply   WIDENQ‐10833 ‐ 11_17_2022 ‐ Corelle Brands                                          ‐
                            PO BOX 8801                                     Agreements
                            CAROL STREAM, IL 60197‐8801

1271 Instant Brands LLC     Williams‐Sonoma Inc                             Customer Agreements Vendor Code of Conduct 09302015                                                      ‐
                            3250 VAN NESS AVENUE
                            ATTN: LEGAL DEPARTMENT
                            SAN FRANCISCO, CA 94109

1272 Instant Brands LLC     Williams‐Sonoma Inc.                            Customer Agreements Direct Ship Terms                                                                    ‐
                            3250 VAN NESS AVENUE
                            ATTN: LEGAL DEPARTMENT
                            SAN FRANCISCO, CA 94109

1273 Instant Brands LLC     Williams‐Sonoma, Inc.                           Customer Agreements Domestic MPA                                                                         ‐
                            3250 VAN NESS AVENUE
                            ATTN: LEGAL DEPARTMENT
                            SAN FRANCISCO, CA 94109

1274 Instant Brands LLC     Williams‐Sonoma, Inc.                           Customer Agreements Master Purchase Agreement                                                            ‐
                            3250 VAN NESS AVENUE
                            ATTN: LEGAL DEPARTMENT
                            SAN FRANCISCO, CA 94109
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 #        Debtor Entity                            Counterparty                   Agreement Type                          Agreement Description                       Proposed Cure Costs
1275 Instant Brands LLC   WINDS GULF TRADING EST.                              Customer Agreements Distribution Agreement                                                               ‐
                          ATTN: MR. SAMEER THEKKEVALAPPIL
                          SULAY, EXIT 16
                          NEAR DALLAH DRIVING SCHOOL
                          RIYADH 11616
                          SAUDI ARABIA

1276 Instant Brands LLC   WINTHROP RESOURCES CORPORATION                       Equipment Leases      Lease                                                                             ‐
                          11100 WAYZATA BLVD, STE 800
                          MINNETONKA, MN 55305

1277 Instant Brands LLC   Wintrust Commercial Finance                          Equipment Leases      Financing Lease and Related Documents                                             ‐
                          9700 W Higgins Rd
                          ROSEMONT, IL 60018

1278 Instant Brands LLC   Woolworths Limited Group                             Customer Agreements Responsible Sourcing Policy                                                         ‐
                          1 Woolworths
                          BELLA VISTA, NSW 2153
                          AUSTRALIA

1279 Instant Brands Holdings Workiva Inc.                                      Service and Supply    Master Subscription & Services Agreement                                          ‐
     Inc.                    ATTN: WORKIVA LEGAL DEPARTMENT                    Agreements
                             2900 UNIVERSITY BLVD.
                             AMES, IA 50010

1280 Instant Brands Holdings Workiva Inc.                                      Service and Supply    Order Document                                                                    ‐
     Inc.                    ATTN: WORKIVA LEGAL DEPARTMENT                    Agreements
                             2900 UNIVERSITY BLVD.
                             AMES, IA 50010

1281 Instant Brands LLC   Works Design Group LLC                               Confidentiality       NDA                                                                               ‐
                          7905 Browning Rd                                     Agreements
                          Ste 104
                          Pennsauken, NJ 08109

1282 Instant Brands LLC   World Kitchen (Shanghai) Co. Ltd., Shenzhen Branch   Intercompany          Intercompany Service Agreement World Kitchen LLC & WK Shanghai                    ‐
                          3025 HIGHLAND PARKWAY                                Agreements            Shenzhen Branch
                          SUITE 700
                          DOWNERS GROVE, IL 60515

1283 Instant Brands LLC   World Kitchen Canada (EHI), Inc.                     Intercompany          DA CB 5 Distributor Agreement Amendment ‐ US Canada                               ‐
                          3025 HIGHLAND PARKWAY                                Agreements
                          SUITE 700
                          DOWNERS GROVE, IL 60515

1284 Instant Brands LLC   World Kitchen Canada (EHI), Inc.                     Intercompany          DA CB 5 Distributor Agreement ‐ US Canada                                         ‐
                          3025 HIGHLAND PARKWAY                                Agreements
                          SUITE 700
                          DOWNERS GROVE, IL 60515

1285 Instant Brands LLC   World Kitchen Korea Co. Ltd.                         Intercompany          DA CB 3 Distributor Agreement Amendment ‐ US ‐ Korea                              ‐
                          3025 HIGHLAND PARKWAY                                Agreements
                          SUITE 700
                          DOWNERS GROVE, IL 60515

1286 Instant Brands LLC   World Kitchen Korea Co. Ltd.                         Intercompany          DA CB 3 Distributor Agreement ‐ US ‐ Korea                                        ‐
                          3025 HIGHLAND PARKWAY                                Agreements
                          SUITE 700
                          DOWNERS GROVE, IL 60515

1287 Instant Brands LLC   World Kitchen Manufaturing (M) Sdn. Bhd.             Intercompany          DA CB 2 Distributor Agreement Amendment ‐ US Malaysia                             ‐
                          3025 HIGHLAND PARKWAY                                Agreements
                          SUITE 700
                          DOWNERS GROVE, IL 60515

1288 Instant Brands LLC   World Kitchen Manufaturing (M) Sdn. Bhd.             Intercompany          DA CB 2 Distributor Agreement ‐ US Malaysia                                       ‐
                          3025 HIGHLAND PARKWAY                                Agreements
                          SUITE 700
                          DOWNERS GROVE, IL 60515

1289 Instant Brands LLC   WORLD KITCHEN, LLC,                                  Intercompany          Settlement Agreement re OSHA Citations @ Corning Plant                            ‐
                          3025 HIGHLAND PARKWAY                                Agreements
                          SUITE 700
                          DOWNERS GROVE, IL 60515

1290 Instant Brands LLC   Worldwide TV Products LLC                            Service and Supply    Host Engagement Agreement                                                  26,098.94
                          ATTN: GUS IBRAHIM                                    Agreements
                          131200 56TH COURT SUITE706
                          CLEARWATER, FL 33760

1291 Instant Brands LLC   WW Grainger, Inc.                                    Service and Supply    3rd AMD                                                                    45,603.57
                          100 GRAINGER PARKWAY                                 Agreements
                          LAKE FOREST, IL 60045‐5201

1292 Instant Brands LLC   Yang Ming Marine Transport Corporation               Service and Supply    Ocean Service Contract 493223                                                     ‐
                          3250 BRIARPARK DTR                                   Agreements
                          HOUSTON, TX 77042

1293 Instant Brands LLC   Yangjiang Andeli Kitchen Knives Enterprise Co.,Ltd   Service and Supply    Supply Agreement                                                                  ‐
                          No.5 Middle Road Ma Yan Industrial Zone              Agreements
                          YANGJIANT
                          CHINA
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 #        Debtor Entity                                   Counterparty                            Agreement Type                             Agreement Description   Proposed Cure Costs
1294 Instant Brands LLC     Yangjiang Andeli Kitchen Knives Enterprises Co. Ltd                Service and Supply   Supply Agreement                                                   ‐
                            No.5 Middle Road Ma Yan Industrial Zone                            Agreements
                            YANGJIANT
                            CHINA

1295 Instant Brands LLC     Yangjiang Futong Industries Co.,Ltd                                Service and Supply   Supply Agreement                                           55,894.95
                            No.3 Jintian Rd.                                                   Agreements
                            Nahuo Industrial Zone
                            YangDong
                            YANGJIANG
                            CHINA

1296 Instant Brands LLC     YASH Technologies Inc.                                             IT Agreements        SAP BW Support_Staffing_Statement Of Work                         ‐
                            ATTN: REGHU NAIR
                            841 AVENUE OF THE CITIES
                            EAST MOLINE, IL 61244

1297 Instant Brands LLC     YASH Technologies, Inc.                                            Service and Supply   SOW_RPA_Maintenance_2023                                          ‐
                            ATTN: REGHU NAIR                                                   Agreements
                            841 AVENUE OF THE CITIES
                            EAST MOLINE, IL 61244

1298 Instant Brands LLC     YASH Technologies, Inc.                                            IT Agreements        Master Services Agreement                                 118,260.00
                            ATTN: REGHU NAIR
                            841 AVENUE OF THE CITIES
                            EAST MOLINE, IL 61244

1299 Instant Brands LLC     Yick Bo Metal Manufactory                                          Service and Supply   Supply Agreement                                                  ‐
                            NO.29, RONGZAI ROAD                                                Agreements
                            GAOYING, DALANG TOWN
                            DONGGUAN CITY
                            CHINA

1300 Instant Brands LLC     Younts Innovations                                                 Confidentiality      Mutual NDA                                                        ‐
                            17690 FM 1929 W                                                    Agreements
                            MILES, TX 76861

1301 Instant Brands Inc.    Zhejiang Aishida Household Equipment Co., Ltd.                     Service and Supply   Supply Agreement                                        1,687,010.29
                            NO.69 HUANGHE ROAD                                                 Agreements
                            JIASHAN 314100
                            CHINA

1302 Instant Brands LLC     Zhejiang Aishida Household Equipment Co.,Ltd                       Service and Supply   Tooling Agreement                                                 ‐
                            NO.69 HUANGHE ROAD                                                 Agreements
                            JIASHAN 314100
                            CHINA

1303 Instant Brands Holdings Zhejiang Leku Cookware Co, Ltd.                                   Confidentiality      Leku.pdf                                                          ‐
     Inc.                    No. 188, Haifeng North Road                                       Agreements
                             Binhai Economic development Zone
                             Cixi
                             ZHEJIANG
                             CHINA

1304 Instant Brands Inc.    Zhejiang Shaoxing Supor Domestic Electrical Appliance Co., Ltd.,   Service and Supply   Supply Agreement                                                  ‐
                            NO.3 SHIJIXI STREET                                                Agreements
                            XHEJIANG PROVINCE
                            SHAOXING CITY
                            CHINA

1305 Instant Brands Inc.    Zhejiang Shaoxing Supor Domestic                                   Service and Supply   Assignment of Supply Agreement 2019 03 18                         ‐
                            ELECTRICAL APPLIANCE CO., LTD.                                     Agreements
                            NO.3 SHIJIXI STREET
                            XHEJIANG PROVINCE
                            SHAOXING CITY
                            CHINA

1306 Instant Brands LLC     Zhejiang Tianxi Kitchen Appliance Co, Ltd                          Service and Supply   6QT Slim Plastic Air Fryer Tooling Agreement                      ‐
                            No. 8,Shanyan Road, Huzhen Town                                    Agreements
                            Jinyun County, Lishui City
                            Zhejiang Province

                            CHINA

1307 Instant Brands LLC     Zhejiang Tianxi Kitchen Appliance Co, Ltd                          Service and Supply   Tooling Agreement                                                 ‐
                            No. 8,Shanyan Road, Huzhen Town                                    Agreements
                            Jinyun County, Lishui City
                            Zhejiang Province

                            CHINA

1308 Instant Brands Inc.    Zhejiang Tianxi Kitchen Appliance Co., Ltd                         Service and Supply   Supply Agreement                                        6,970,104.98
                            No. 8,Shanyan Road, Huzhen Town                                    Agreements
                            Jinyun County, Lishui City
                            Zhejiang Province

                            CHINA

1309 Instant Brands LLC     Zhejiang Tianxi Kitchen Appliance Co., Ltd                         Service and Supply   097 VersaZone 9qt SS CC_Tooling Agreement                         ‐
                            No. 8,Shanyan Road, Huzhen Town                                    Agreements
                            Jinyun County, Lishui City
                            Zhejiang Province

                            CHINA
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 #        Debtor Entity                                     Counterparty               Agreement Type                            Agreement Description   Proposed Cure Costs
1310 Instant Brands LLC      Zhejiang Tianxi Kitchen Appliance Co., Ltd             Service and Supply   IN23‐005 13QT AFO Tooling Agreement                               ‐
                             No. 8,Shanyan Road, Huzhen Town                        Agreements
                             Jinyun County, Lishui City
                             Zhejiang Province

                             CHINA

1311 Instant Brands LLC      Zhejiang Tianxi Kitchen Appliance Co., Ltd             Service and Supply   Tooling Agreement                                                ‐
                             No. 8,Shanyan Road, Huzhen Town                        Agreements
                             Jinyun County, Lishui City
                             Zhejiang Province

                             CHINA

1312 Instant Brands Inc.     Zhejiang Tianxi Kitchen Appliance Co., Ltd.            Service and Supply   Manufacturing and Supply Agreement                               ‐
                             No. 8,Shanyan Road, Huzhen Town                        Agreements
                             Jinyun County, Lishui City
                             Zhejiang Province

                             CHINA

1313 Instant Brands LLC      Zhong Shan Rnice Electric Co., Ltd                     Service and Supply   Tooling agreement Rnice Duo WB                                   ‐
                             NO. 17 TONGJI WEST ROAD, NANTOU TOW                    Agreements
                             ZHONG SHAN 528427
                             CHINA

1314 Instant Brands LLC      Zhong Shan Rnice Electronic Co., Ltd                   Service and Supply   Tooling Agreement                                                ‐
                             NO. 17 TONGJI WEST ROAD, NANTOU TOW                    Agreements
                             ZHONG SHAN 528427
                             CHINA

1315 Instant Brands LLC      Zhong Shan Rnice Electronic Co., Ltd                   Service and Supply   Tooling Amortization_Superior Slow Cooker                        ‐
                             NO. 17 TONGJI WEST ROAD, NANTOU TOW                    Agreements
                             ZHONG SHAN 528427
                             CHINA

1316 Instant Brands LLC      Zhongshan Camry Electronic Co., Ltd                    Confidentiality      Non‐Disclosure Agreement                                         ‐
                             Baishawan Industrial Park, Qiwan Road, East District   Agreements
                             Zhongshan, Guangdong
                             CHINA

1317 Instant Brands Holdings Zmags Corporation                                      Service and Supply   Services Order Form                                              ‐
     Inc.                    332 Congress St, 2nd Floor, Boston, MA 02210           Agreements
                             2nd Floor
                             Boston, MA 02110

1318 Instant Brands Holdings Zmags                                                  IT Agreements        zmags_renewal                                                    ‐
     Inc.                    332 Congress St, 2nd Floor, Boston, MA 02210
                             2nd Floor
                             Boston, MA 02110

1319 Instant Brands LLC      Zola, Inc.                                             Customer Agreements Drop Ship Vendor Agreement                                        ‐
                             7 WORLD TRADE CENTER
                             250 GREENWICH STREET
                             39TH FLOOR
                             NEW YORK, NY 10007

1320 Instant Brands LLC      Zorin Resources Inc.                                   IT Agreements        SOW Basis Backfill for SAP Environment 2023               21,114.00
                             18811 FORTROSE GARDEN CT.
                             TOMBALL, TX 77377

1321 Instant Brands LLC      Zoro Tools, Inc.                                       Customer Agreements Supplier Engagement Agreement                                     ‐
                             909 ASBURY DR
                             BUFFALO GROVE, IL 60089

1322 Instant Brands LLC      Zscaler                                                IT Agreements        End User Subscription Agreement                                  ‐
                             120 Holger Way
                             SAN JOSE, CA 95134
